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15
16 LOS ANGELES PRESS CLUB,
17 STATUS COUP,                                Case No. 2:25-CV-05423-HDV-E
18               PLAINTIFFS,
19
                 v.                            HON. HERNÁN D. VERA
20
21 CITY OF LOS ANGELES, a municipal            VOLUME SIX OF PLAINTIFFS’
   entity, JIM MCDONNELL, LAPD                 EXHIBITS TO’ EX PARTE
22 CHIEF, sued in his official capacity;
                                               APPLICATION FOR A TEMPORARY
23                                             RESTRAINING ORDER AND ORDER
               DEFENDANTS.
24                                             TO SHOW CAUSE RE
                                               PRELIMINARY INJUNCTION
25
26
27
28



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                           Exhibit 24




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  Report. Sworn and civilian personnel from all ranks of the Department contributed through
  interviews and research. They provided candid input regarding their experiences and
  recommendations for improvements. Specifically, the Department would like to thank Sergeant
  Eric Lee, Sergeant Rachel Rodriguez, Detective Nicholas Sinclair, Police Officer Arrin Harty, and
  Police Officer Michael Putrah, the authors of this Report. The Department believes that the
  recommendations for reform developed as a result of this process will help the LAPD to implement
  meaningful and lasting change, and the Department is in debt to the contributors and authors of
  this Report.




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 INTRODUCTION
 The death of George Floyd in Minneapolis, Minnesota served as a catalyst for demonstrations against
 police brutality and racial inequality everywhere. The sentiment behind those demonstrations
 reverberated across the nation and the world. Law enforcement’s responsibility in contributing to that
 sentiment and response to these demonstrations needs to be scrutinized.

 This Report is one prong in that examination. It is meant to provide context to those reading it today
 and in the future. It is also meant to assess the strengths, and more importantly, the weaknesses in the
 response of the Los Angeles Police Department (LAPD or Department) to those protests. Finally, this
 Report is written to provide the Department with a realistic path forward, recognizing the unique
 confluence of events during which the Civil Unrest arose and the finite resources and other limitations
 of the Department and the City.

 On May 27, 2020, people gathered for their regularly scheduled protest of the County’s failure to
 prosecute law enforcement officers. While this protest had been occurring every Wednesday for years,
 May 27, 2020 was the beginning of a 10-day period of large-scale civil unrest in the City. Many people
 exercised their constitutional rights to decry inequality, police brutality, and a loss of connection to
 their community. Some individuals, however, used the protesting crowd as “cover” to conduct criminal
 acts, destroy property, loot stores, and assault law enforcement officers.

 Previously unseen tactics and communication methods were used by protesters and criminal
 opportunists to organize themselves, and in some cases, thwart law enforcement’s efforts to facilitate
 the protest or enforce the law. Some of the individuals within the crowd also used social media
 platforms which later formed the sole or predominate narrative picked up by the traditional press.
 These narratives often created the impression that the violent and destructive elements could have been
 easily identified, isolated, and extracted from the otherwise peaceful crowd. The truth is not nearly so
 simple.

 Given its status as the police department in the second biggest city in the United States, the LAPD was
 well-versed in handling large-scale demonstrations, that were organized, single-purpose, pre-planned,
 and aimed at entities other than local law enforcement. The City’s recent history of peaceful protests
 had allowed the Department to form relationships with protest organizations such as the National
 Lawyers’ Guild and others and to contact protest organizers to facilitate peaceful demonstrations. But
 training related to static, short-term, pre-planned, single location demonstrations was not helpful when
 spontaneous and leaderless groups emerged throughout the City and violence broke out from within the
 crowd.

 It had been 28 years since a similar protest had erupted in Los Angeles and since the Department had
 been fully mobilized. At that time, however, the Department was not asked to respond to an anti-pol ice
 protest during a pandemic. The Department had not specifically prepared for this confluence of events,
 and its resources were strained to respond to it. The pandemic and economic aftermath of it are
 ongoing. Reimagining the way law enforcement responds to this and future events, both anticipated
 and unanticipated, needs to be done with an analysis of costs and benefits.

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 Despite the uniqueness of the time, throughout the 10-day period of civil unrest, the Department
 learned to adjust and obtain a level of agility to deal with the new tactics. The Department engaged in
 diverse policing strategies, from press conferences, to towing the vehicles of looting caravans, to
 carrying small fire extinguishers to put out fires set to obstruct their path. The Department used the Air
 Unit to deploy a squad of officers to find looted locations. This provided a nimble response to curb
 criminal behavior while allowing lawful protests to continue. As the violence de-escalated, the
 Department deftly moved to a largely unseen protective and speech-facilitating force. The ingenuity
 and inventiveness of Departmental personnel remains its greatest resource.

 Although there was some disorder in the first few days, by the morning of May 29, 2020, as the count ry
 began to see large demonstrations in major cities, Chief Michel Moore conducted a debrief with senior
 staff to clearly form the commander’s intent and review the situational status from the previous two
 nights. Overarching objectives and strategies were identified. The Department would concentrate on
 facilitating demonstrations, targeting response efforts towards preventing violence and property damage
 and, if necessary, declaring unlawful assemblies. Chief Moore encouraged community outreach.

 Still, this Report is necessary as it gives the Department an opportunity to examine its own actions and
 engage in meaningful reform. This Report highlights and concentrates on deficiencies while providing
 factual framework that brought those shortfalls to light. Although some reform began even before the
 period of Civil Unrest finished, it is and should be continuing. This Report memorializes what
 happened during the Civil Unrest and the current reforms. It also provides a path forward, including
 the recognition that we cannot rely solely on improving old techniques – we must find new ones.

 Of specific concern addressed in the critique and best practices section of this Report are inadequacies
 in command and control training especially within the Incident Command System; communication
 deficiencies; responding to new tactics and the need to learn from and train to these new tactics; mass
 arrests, transportation and field jails; and poor or antiquated recordkeeping.

 Moreover, just as crowds and individuals within them develop new ways to express themselves and
 sometimes take opportunistic measures, the Department must be open to new ways of thinking about
 crowds. The Department must consider whether control is the best option, and what new technologies
 can be used in times of civil unrest. This Report highlights known techniques the Department could
 have used during the period of Civil Unrest, and what it should use in the future. The Department,
 however, will not stop there, but will continue to seek and create new ideas for policing and what it
 means in this century. While this Report may not have identified what those new ideas are, it
 understands the need to find them and to be open to them.

 The readers of this Report, including the City Council, Board of Police Commissioners (BOPC), the
 community, and the Department itself will need to prioritize and fund these innovations and resource
 intensive endeavors so that the Department can live up to its own and the City’s expectations. Through
 this Report and other critical reviews, the Department seeks to improve on both its strengths and
 shortcomings and to continue to be an innovative leader in redefining policing. The Department has
 worked extensively in the past to implement positive change by building relationships with the
 communities it serves and developing leading initiatives and training within the law enforcement
 profession. It will continue to do so by embracing the lessons learned in this Report.


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 NARRATIVE
 This narrative is an overview of what led up to and transpired during the period of Civil Unrest from
 May 25 through June 7, 2020. It gives the reader context for the critique and recommendations that
 follow and allows the reader to assess and evaluate those recommendations based on the realities of
 the event and the finite resources of the City. It is supplemented by a detailed chronology of events
 that occurred in Los Angeles.


      January 20, 2020 – May 24, 2020



          The Beginning of a Pandemic Meant Department Resources Were Being Pulled in Many
          Directions

 On January 20, 2020, when the first case of COVID-19 was diagnosed in the United States, the LAPD
 had 10,049 sworn personnel on its roster, or 2.5 officers per 1,000 Los Angeles City residents. This
 was substantially less than its counterparts in other large cities such as the 4.2 officers per 1,000
                                               residents in New York and 4.5 per 1,000 residents in
                                               Chicago.1

                                                On March 4, 2020, Mayor Eric Garcetti proclaimed a local
                                                state of emergency and the City’s Emergency Operations
                                                Center (EOC) was activated to a Level 1. 2 Representatives
                                                from many City Departments started coordinating efforts
                                                from one location to minimize redundancy and increase
                                                efficiency. The City EOC also began coordinating with
                                                County agencies such as the Los Angeles County
 Department of Public Health and the Los Angeles County Sheriff’s Department (LASD).
 Additionally, an LAPD Staff Officer assumed the position of Deputy Director of the EOC. One of the
 chief functions of the EOC was to prioritize the distribution of personal protective equipment (PPE) as
 there were insufficient supplies to fill City needs. The Department also continued to acquire PPE for
 officers and others.




 1
  The New York Police Department has a total of 35,010 sworn officers with a population of 8,336,816 residents and
 Chicago Police Department has a total of 12,138 officers with a population of 2,693,976 city residents. See Federal Bureau
 of Investigation Crime in United States Reports 2019.
 2
  The City’s EOC has three levels of readiness and is activated depending on the scope, size, and complexity of an incident.
 Level 1 is the highest level and is considered a full activation usually reserved for major disasters. The EOC team includes
 personnel from all assisting agencies who support the response to the major incident.
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 In addition to their regular duties, LAPD personnel were also assigned to the EOC to fill management,
 operations, and liaison positions. Personnel were also assigned to the Department’s Operations Center
 (DOC) to serve the City by answering questions and providing advice related to COVID-19 exposures
 as well as logistical support.

                                                      City officials asked the Department to deploy to
                                                      various locations throughout the City for
                                                      COVID-19 related functions. The Department
                                                      became responsible for transporting people
                                                      experiencing homelessness to and from what
                                                      grew to be 23 shelter locations and 15 hotels.
                                                      Additionally, Department personnel were tasked
                                                      with providing round-the-clock security for
                                                      shelter/hotel locations, testing sites, and medical
                                                      staff. The Department also transported test kits
                                                      from the testing sites to laboratories and
 provided extra patrol at schools where lunches were being distributed. To accommodate these
 additional pandemic-related demands and maintain public safety, the Department created a COVID-19
 command post (CP) at each geographic Bureau. Approximately 422 total sworn personnel were
 reassigned daily to support COVID-19 functions. Finally, LAPD employees tracked COVID-19
 exposures for each Area and Bureau and reported numbers to City officials daily.

 By March 12, 2020, Mayor Garcetti and the Department of Public Health approved and encouraged
 working from home for various professions within the City. The requirements of police work
 however, meant that few Department personnel could work from home.

 Following the Mayor’s directives for the pandemic, the Department de-centralized briefings and
 canceled non-essential training and gatherings. The senior staff of the Department gathered
 telephonically each morning and evening to exchange information. At those briefings, staff reported
 any new or unusual occurrences so that the Department could react quickly and nimbly to an unfolding
 public health crisis. While LAPD officers and other first responders, made attempts to keep
 themselves socially distanced when possible, they had no choice but to come into contact with the
 community they served. Thus, as Department employees were exposed to COVID-19 and had to
 quarantine, the LAPD’s deployment numbers shrank further. As of May 25, 2020, approximately 22
 LAPD personnel were unable to work due to COVID-19 symptoms.

 While the nation was coming to terms with COVID-19, on March 13, 2020, Breonna Taylor, a 26-
 year-old Black emergency medical technician, was fatally shot by Louisville Metropolitan Police
 Department officers serving a search warrant at her residence. When officers entered the front
 doorway, gunfire was exchanged between Taylor's boyfriend and several officers. The officers fired
 over 20 shots, some potentially from outside. Taylor was shot eight times and died shortly thereafter.
 There was little initial response from government officials and all three officers involved in the




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 shooting were placed on administrative reassignment pending the outcome of an investigation by their
 department.3


     Monday, May 25, 2020 – Tuesday, May 26, 2020



         Outside of Los Angeles – George Floyd was Killed in Minneapolis, Minnesota

 On Monday, May 25, 2020, at 5:27 p.m. Pacific Time (PT)4, George Floyd, a 46-year-old Black man,
 was killed in Minneapolis, Minnesota for allegedly using a counterfeit bill. Derek Chauvin, a White
 Minneapolis Police Department (MPD) officer, knelt on Floyd's neck for over eight minutes while
 Floyd was handcuffed and lying face down. Floyd
 repeatedly said, "I can't breathe" while two other
 MPD officers further restrained Floyd, and a
 fourth prevented bystanders from intervening.

 Later that evening at 7:25 p.m., Floyd was
 pronounced dead at the Hennepin County Medical
 Center. At 10:41 p.m., the MPD issued a
 statement that “Floyd had died during a medical
 incident involving police interaction. During the
 incident, Floyd physically resisted officers and                Source: Hennepin County Medical Examiner’s Office
 was placed into handcuffs.”5

 By 4:45 a.m. the following day, cellphone videos from witnesses and security camera footage became
 public. At 8:30 a.m., a makeshift memorial was created where Floyd’s arrest occurred. By noon, all
 four officers were fired, and by 3:00 p.m. Minneapolis began experiencing large-scale protests. At
 3:55 p.m., the Hennepin County Medical Examiner released its first report stating Floyd died at 7:25
 p.m., the previous day, and the cause of death had not been determined. By 4:30 p.m. the protests in




 3
   In September 2020, one officer was indicted for Breonna Taylor’s death.
 4
   Unless otherwise indicated, all times are approximate and converted to Pacific Time to reflect when things happened in
 Los Angeles.
 5
   https://www.insidempd.com/2020/05/26/man-dies-after-medical-incident-during-police-interaction

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 Minneapolis had turned violent. Protesters marched to the MPD’s Third Precinct and began damaging
 police vehicles.

          In Los Angeles – the LAPD Monitored the Events in Minneapolis for Relevant Information

 On May 25 and 26, 2020, members of the LAPD Major Crimes Division (MCD) reviewed the footage
 of the police actions taken against George Floyd as well as the response in Minneapolis. As early as
 May 26, 2020, MCD anticipated public demonstrations regarding the death of George Floyd could start
 appearing in Los Angeles. The size and tenor of any possible protests in Los Angeles, a City almost
 2,000 miles away and with different policies was unclear. 6 The MCD analysts shared information
 related to protests and community response they were seeing with command staff in the Department.

 In Los Angeles, there were no scheduled events on May 25 or 26, 2020, regarding George Floyd’s
 death in Minneapolis.

 No spontaneous protests erupted in Los Angeles on those days.




 6
   The Department’s policies and training ensure officers understand inherent dangers related to restraining individuals for
 longer periods of time as well as applying pressure to the back and neck area and requiring officers to place individuals in a
 lateral recumbent position and limiting the use of the carotid, modified carotid, and locked carotid holds to only deadly
 force situations. See Memorandum No. 6 dated August 13, 1982. See also, Use of Force Tactics Directive No. 2.2 dated
 November 2017 (addressing the positioning of an arrestee who is on the ground and the acceptable location of an officer’s
 knee in relation to the suspect, seated position or on his or her left side (left lateral recumbent position) after handcuffing
 and searching the individual). See also Training Bulletin, Volume L, Issue 1 revised January 2021.

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         Wednesday, May 27, 2020


        Outside of Los Angeles – Events in Minneapolis Intensify

 In Minneapolis, protesters gathered around the MPD Station chanting “No justice! No peace!” and “I
 can’t breathe.” The MPD used tear gas, plastic bullets, and concussion grenades – meant to disorient
 protesters with deafening blasts – to keep crowds at bay.


        Inside Los Angeles – The Regularly-Scheduled Anti-Jackie Lacey Protest Turned Violent

 On May 27, 2020, there was one scheduled protest in Los Angeles – a recurring Anti-Jackie Lacey (the
 then-District Attorney) rally by Black Lives Matter (BLM). Anti-Jackie Lacey rallies began in
 November 2017 and occurred in front of the Los Angeles County Hall of Justice every Wednesday
 thereafter. Protesters claimed that Lacey refused to prosecute law enforcement personnel involved in
 lethal force incidents within Los Angeles County.

 Both MCD and DOC analysts assessed the rally
 considering the significant events happening in
 Minneapolis. Analysts reviewed several media
 platforms and found no information to suggest large
                                                            Source: LAist
 crowds would be coming to the Downtown Area.
 As of 2:00 p.m., an hour before the anti-Lacey
 protest was scheduled to begin, there had been no
 sizeable protests outside of Minneapolis.

 As it had done every week since November 2017, the Department prepared for the Anti-Jackie Lacey
 protest. Generally, the protest involved about 30 individuals and lasted from 3:00 p.m. to 5:00 p.m.,
 during which time the protesters stayed on the steps of the Los Angeles County Hall of Justice. One
 bicycle sergeant and three bicycle officers were usually scheduled to monitor the protest without
 directly engaging the protestors. Bicycle officers have been used by the LAPD for crowd management
 and control with great success for years. Bicycles officers have the unique capability of navigating
 around the City avoiding obstacles and other potential hazards that would stop a patrol vehicle.
 Additionally, bicycle officers can easily approach community members to build rapport while helping
 defuse situations before they escalate.




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 In addition, due to the violence and events occurring in Minneapolis, a foot-beat sergeant and three
 officers were added to the event deployment. The Captain told all assigned officers that the objectives
 for this event were to facilitate free speech and provide traffic control to ensure the safety of both
 protesters and uninvolved persons.

 At 2:30 p.m., the expected crowd of 30 assembled at the Hall of Justice. The crowd began marching
 around the Civic Center. As the march progressed, more people began to join the crowd. By 5:30
 p.m., the crowd of 100 individuals marched eastbound on East Aliso Street and attempted to enter the
 southbound 101 Freeway at Los Angeles Street. Officers were successful in blocking that freeway
 entrance at that time. The Civic Center, however, sits at the convergence of the 60, 5, and 101
 Freeways where multiple on-ramps and off-ramps exist. The crowd blocked traffic at the intersection
 of North Alameda and East Aliso Streets and held a brief and peaceful rally. The rally, while larger
 and in a different place than it had been in the preceding months, was of the type of demonstration
 LAPD had come to expect from this protest.

 At the end of the rally, the group (which had grown to 200 individuals) marched north on Alameda
 Street and began entering the off-ramp to the northbound 101 Freeway. While this tactic was not
 expected at this protest, it was not new in Los Angeles and LAPD officers are trained in freeway
 incursions. Consistent with that training, the officers began blocking protesters from entering the
 freeway. Commander 1B requested additional LAPD units and California Highway Patrol (CHP) units
 to provide support for traffic control. 7 The demonstrators blocked both the north and southbound lanes
 of traffic. Two CHP units arrived in the southbound lanes of the 101 Freeway to clear a lane of traffic
 for the vehicles that were trapped by the sudden demonstration on the freeway. This maneuver was
 supposed to protect pedestrians on the freeway as well as the occupants of vehicles. Upon the CHP’s
 arrival, however, a demonstrator immediately used a skateboard to smash the back window of one of
 the CHP vehicles. Another demonstrator, who had jumped on the front of the vandalized CHP vehicle,
 was injured when he fell off as the CHP officers attempted to drive away.




 7
   All LAPD divisions have a number. Divisions with two Command Staff Officers are differentiated by “A” or “B” with
 the senior officer designated as “A” and the junior officer as “B”. No designation of “A” or “B” is an indication of no
 designation or the Command Staff officer failed to provide his/her entire call sign.
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 At 6:00 p.m., Chief Moore issued a statement reacting to the circumstances and death of George Floyd:

                   “The actions I watched in the video were incredibly disturbing and go against
                   the basic law enforcement principle of preservation of life. The lack of
                   compassion, use of excessive force, or going beyond the scope of the law, doesn’t
                   just tarnish our badge-it tears at the very fabric of race relations in this country.
                   Knowing that we have experienced our own high-profile incidents here in Los
                   Angeles, I can assure you the LAPD strives each day to build trust and these
                   events are sobering reminders of how quickly that can be lost.”
                                                           -Michel R. Moore, Chief of Police, LAPD

 Recognizing that the protesters’ actions moved from peaceful to lawless, and that additional resources
 were needed, Commander 1B assumed the role of Incident Commander (IC) and established a Staging
 Area on Judge John Aiso Street between Temple and 1st Streets. At about 6:15 p.m., the Operations
 Central Bureau (OCB) Deputy Chief (DC) arrived at Alameda and the 101 Freeway. The DC of OCB
 assumed the role of IC and directed Commander 1B to establish a check-in location. By 7:00 p.m.,
 both a CP and a Staging Area were established. 8

 The demonstrators eventually left the freeway. Most gathered on Aliso Street where they burned a
 United States Flag in the middle of the intersection at Los Angeles and Aliso Streets. From there, the
 group spread out and occupied numerous intersections around the Civic Center. The LAPD’s initial
 tactic was to attempt to address each crowd at various locations simultaneously. However, due to the
 spontaneous nature of the event, the lack of available resources and communication issues, the IC
 decided to address one problematic location at a time and then transition resources to the next location
 of concern. This tactic aided in the command and control of resources but allowed some groups to
 block intersections while officers were dealing with separate groups elsewhere.




 8
     Appendix N includes a glossary of terms such as Incident Commander, Deputy Chief, Staging Area, and Command Post.
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 By 8:15 p.m., there were at least two large groups of protesters. One group, at the corner of East
 Temple and Los Angeles Streets blocked a LASD jail bus from traversing the intersection. Bicycle
 and foot-beat officers were dispatched to clear the intersection for the bus.

 Officers assigned to protect the Police Administration
 Building (PAB) reported that a protester had vandalized it
 with graffiti. The graffiti was spray-painted on the building
 stating “1312” and “ACAB” both of which stand for “All
 Cops Are Bastards.” Several protesters threw objects at
 officers who were assigned to protect PAB. Other buildings
 were vandalized as well.

 While responding to the demonstrations, personnel received
 multiple and conflicting directions from supervisors and
 command personnel. Officers were directed by one supervisor to deploy as a skirmish line and hold a
 specific location and then moments later were directed by another supervisor at scene to conduct
 another mission. The directions came in the form of in-person communications, cellular telephone
 calls, and radio broadcasts. The various methods in which directions were communicated caused
 further confusion.

 By 10:20 p.m., the protesters had marched throughout Downtown for over seven hours. The Air Unit
 and IC coordinated a containment of protesters at the intersection at 2 nd and Hill Streets. The IC then
 directed officers on the scene to give a dispersal order. The order directed the crowd to disperse west
 on 2nd Street away from Hill Street within five minutes, or they would be subject to arrest. The crowd
 complied with the dispersal order.

 As the night ended, the Department assessed whether the events 2,000 miles away might have further
 impacts on the City of Los Angeles. On the one hand, outside of Minneapolis, no other major cities
 were experiencing mass protests and there was no hard intelligence indicating additional or violent
 protests. For example, cities such as New York and Chicago showed minimal protests evolving into
 violence. On the other hand, the City had been quarantined for over two months and the photos and
 videos from Minneapolis had gone viral in known but unquantifiable ways. This made it difficult to
 assess what impact of the events in Minneapolis would have on Los Angeles.




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 Based on the protest on May 27, 2020, the Department started preparing for additional protests
 centered on police brutality and racial inequity. Because PAB, City Hall, the County Hall of Justice,
 the Federal Building and Courthouses, and a major state criminal court building were all within blocks
 of each other in the Downtown Area, the Department believed that most of the events would occur in
 the Downtown Area. The OCB IC requested an increase of resources and coordinated an operational
 plan for the Downtown Area to prepare for what the next day might bring.


        Analysis

 The LAPD followed the evolving situation locally and nationally and planned accordingly. With the
 benefit of 20/20 hindsight, the Department may be criticized for not having more personnel on hand
 for this first protest. However, numerous indicators at the time called for the lower-profile and
 progressive tactics used by the LAPD to address the weekly Anti-Jackie Lacey event.

 On May 27, 2020, most of the crowds were peaceful and managed effectively. The IC recognized
 when the event became lawless and hostile. Despite this recognition, the IC did not take the most
 appropriate action for the situation. Specifically, the IC did not respond to the CP but remained
 deployed in the field coordinating and directing resources, communicating with the Air Unit, and
 requesting additional personnel.




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 An established CP aids an IC with the necessary oversight to manage an event effectively. A CP also
 provides a central location to coordinate resources with assisting agencies; operationally track and
                                   deploy resources assigned to the incident; monitor the location of
                                   protest groups; improve situational awareness; and make decisions.
                                   The IC can then continually evaluate the effectiveness of the
                                   objectives for the incident and update or modify them as necessary.
                                   Because the IC remained in the field and had communications
                                   problems, he lost situational awareness and was unable to track and
                                   deploy resources in an effective manner. (See Chapter 8 – Critique
                                   Nos. 1, 2, and 6.)

                                   There were several conflicting communications and direction issues.
                                   As stated earlier, multiple informal communication systems were
                                   used. It was not clear to officers where the directions were coming
                                   from or which ones to follow. Primary formal communication via
                                   radio would have provided direction to the officers and allowed other
                                   assigned personnel monitoring the frequency to hear the plan.
 However, as was seen in subsequent days of the event, the protesters also tuned into LAPD’s
 unencrypted radio transmissions thereby learning of and effectively thwarting officers’ movements.
 Moreover, only one tactical frequency was used for this incident although there were multiple protest
 groups spread throughout the Downtown Area. This proved to be problematic, as too many officers
 tried to use it simultaneously. Thus, given the new tactics used by the demonstrators, the LAPD did
 not have the ideal equipment for law enforcement communication, such as encrypted radios. (See
 Chapter 8 – Critique No. 3.)

 In addition, the Department’s two trained videographers from the Office of Operations film unit were
 assigned to administrative duties at the DOC and station security. As a result, Technical Investigation
 Division (TID) dispatched their civilian photographers to film the demonstrations. Officers from
 various assignments were also tasked with filming the demonstrations. The personnel tasked to film
 the incident had not received any training in proper video documentation or procedures. Many of the
 pictures and videos that were filmed did not depict street signs or have narrations as to the significance
 of the information. Briefings, commander’s intent, narration of crowd size and behavior, officer
 response, uses of force, and dispersal orders were not captured. Department personnel did not follow
 the proper procedures for video retention. (See Chapter 8 – Critique Nos. 7 and 10.)

 After the Los Angeles demonstrations of May 27, 2020, the OCB DC made plans at the Bureau level
 should a spontaneous event occur again in the Downtown Area. The Department did not fully
 mobilize as, outside of Minneapolis, no other major city in the United States was experiencing wide-




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 scale civil unrest, and the pandemic was still raging and taxing Department resources. Thus, while
 some may argue that the Department’s assessment not to mobilize resources for the Citywide civil
 unrest that subsequently unfolded was an error. This Report identifies no systemic failure in planning
 at this stage. While hindsight supplies us with additional knowledge, there was extensive and
 continual planning that took place at the time.



             Thursday, May 28, 2020



          Outside of Los Angeles – The National Guard was Activated in Minnesota

 On the second full day of protests in Minneapolis, the Minnesota Governor activated the National
 Guard.

          Inside Los Angeles – A Day of Protests Turned into A Night of Violence

 The morning and afternoon hours of May 28, 2020 saw minimal protest activity. Nonetheless, based
 on the events that occurred the previous evening, the DOC transitioned the emphasis of each Bureau’s
 CP from COVID-19 to the Civil Unrest (SAFE LA). The OCB created a CP in front of PAB and
 established the Staging Area once again on Judge John Aiso Street between Temple and 1 st Streets. 9

 Based on intelligence reports about protests that were supposed to happen on Saturday, Operations-
 West Bureau (OWB) and OCB began to prepare for those upcoming protests.

 At 6:00 p.m., resources began to arrive at OCB Staging to prepare for what might be ahead.

 At 7:30 p.m., a crowd of 50 protesters began to march from City Hall towards 3 rd Street and the 110
 Freeway on-ramp. The bicycle unit facilitated the protesters’ safety by blocking vehicle traffic so that
 marchers could demonstrate peacefully. Plain clothes officers were positioned near the crowd and
 relayed their observations to the CP. As the crowd marched south on Spring towards 5 th Street,




 9
  Initially, OCB requested that the OCB CP be set up at Fire Station #4. Two hours after this initial order, the OCB
 Operations Section Chief re-directed resources to set up the OCB CP in the front of PAB to obtain better situational
 awareness.
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 officers reported that individuals inside the crowd started vandalizing businesses along their route.
 The bicycle supervisor requested additional units to assist with crowd management and to protect the
 businesses and apartment buildings that were being damaged.

 A unit reported that some of the protesters were gathering rocks and bottles as they walked in the
 direction of Central Community Police Station (251 East 6 th Street). The group then changed direction
 and walked to 6th Street and Broadway. The plain clothes officers reported that individuals within the
 group were vandalizing businesses as they walked westbound on 6 th Street.

                                                           At 8:00 p.m., based on the destructive actions
                                                           of the crowd, the OCB IC declared a Modified
                                                           Citywide Tactical Alert for Central Bureau. A
                                                           Mobile Field Force (MFF) was deployed to the
                                                           intersection of 2nd Street and Grand Avenue.
                                                           Skirmish lines were set up and a sound truck
                                                           was deployed. At 8:30 p.m., the IC ordered
                                                           the sound truck to give a dispersal order at
                                                           Grand Avenue and 2nd Street. The group was
                                                           ordered to disperse south on Grand Avenue
                                                           from 2nd Street and told that if they did not
                                                           disperse in five minutes, they would be
                                                           arrested. At the time of the dispersal order,
 however, the jail transportation vehicles and additional resources needed to make arrests were not at
 that location. While some demonstrators left the location, others remained in the intersection, defying
 the officers’ commands. Five minutes after the dispersal order was announced, additional resources
 had still not arrived on scene. Thus, the IC decided to give another dispersal order before making
 arrests. This caused confusion between the officers and command staff at scene. The crowds began to
 use this confusion to their advantage. The remaining protesters began to completely disregard officers’
 orders to disperse. By the time additional resources arrived, a significant amount of time had elapsed.

 At 8:55 p.m., a Citywide Tactical Alert was declared.

 Several protesters from within the crowd confronted officers and the incident escalated from property
 damage to violence against people – specifically police officers. People began throwing a variety of
 objects at officers. Someone threw a bottle of bleach from an upper window of a building, splashing
 bleach on an officer. Officers discovered holes burned in their uniforms from chemicals that were
 thrown at them.




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 The Department attempted to stem the tide of destruction by deploying more personnel, but the
 additional resources seemed to attract additional protesters. The crowd grew to approximately 100
 protesters. Based on information it was receiving, the Department was concerned that some of the
 destructive groups would move to the Staples Center and LA Live. Officers were deployed to that area
 and found 30 to 40 protesters congregated there.

 At 11:25 p.m. another dispersal order was given at 5 th and Figueroa Streets. Most of the crowd
 dispersed.

 At 11:45 p.m., the Citywide Tactical Alert was canceled.


        Crimes and Arrests

 On the second day of the Civil Unrest there was a small increase in crime and arrests. By the end of
 the night (11:59 on May 28, 2020) the City had three misdemeanor arrests related to the Civil Unrest.
 Many of the illegal activities that began during the night of May 28, 2020, continued into the early
 morning hours of May 29, 2020 and arrests were made that day. (See Chapter 3).


        Analysis

 By the second night of protests, the main challenge was obtaining resources in a timely manner. The
 IC communicated his intent and ensured that the CP was being properly staffed so that situational
 awareness could be obtained and maintained to manage the incident effectively. The Operations Chief
 remained at the OCB CP while the IC deployed to PAB to monitor the protest in person.

 Although the IC wanted to gain better situational awareness of the event, his deployment to City Hall
 negatively impacted his ability to oversee the entire operation, limited his access to intelligence, led to
 a lack of communication between the IC and the Operations Chief, and hindered the ability of the IC to
 effectively track and deploy resources. For example, the IC directed deployed personnel without
 advising the Operations Chief of the movement. This separation of command had a cascading impact
 as the coordination of resources to establish blocking forces, provide dispersal orders, capture video
 evidence, and effect arrests for criminal activity were all delayed. (See Chapter 8 – Critique No.
 1 and 3.)

 Additionally, the delay in arrests following the dispersal order appeared to embolden protesters as
 threats of arrest were not taken seriously. Protestors saw that their actions had little to no




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 consequences and they defied orders to disperse which would continue into the following days.
 (See Chapter 8 – Critique Nos. 7, 10, and 11.)


                Friday, May 29, 2020


        Outside of Los Angeles – Demonstrations Occurred Across the Country

 The United States began to see large demonstrations in major cities, including New York, Dallas,
 Atlanta, Seattle, Oakland, and Washington D.C.

        In Los Angeles – Demonstrations Increased in Violence

 On the morning of May 29, 2020, Chief Moore conducted a debrief with senior staff. He conveyed the
 commander’s intent and reviewed the situational status for the previous two nights. The group
 identified the overarching objectives and strategies as facilitating demonstrations; targeting response
                                                   efforts towards preventing violence and property
                                                   damage; and, if necessary, declaring an unlawful
                                                   assembly. Chief Moore encouraged those in the
                                                   meeting to conduct outreach to community groups and
                                                   ask them to petition for peace but not tolerate violence
                                                   and property damage. He directed those in charge of
                                                   Metropolitan Division to shift its platoons to Tactical
                                                   Support Element (TSE) configurations to support
                                                   operations. He also directed that the Department use
                                                   sectors to secure areas and establish a sustainable span
                                                   of control and encouraged use of a tactical Air Unit.
                                                   A list of prohibited items at a protest was supplied to
 personnel. Chief Moore directed everyone to review station security plans and to post officers as
 needed to maintain security. The DOC advised that a command officer would be assigned to the DOC
 on B-Watch and Custody Services Division (CSD) would augment staffing. If anyone they needed
 supplies, they were told to ask immediately and not wait.

 Operations-West Bureau (OWB) and OCB continued to prepare for upcoming protests.

 On May 29, 2020, there were multiple planned protests scheduled for the late afternoon. Intelligence
 from MCD estimated that these pre-planned protests would draw hundreds of protesters into the
 Downtown Area. In preparation, the Department organized additional personnel and positioned them




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 near critical sites. Additional MFFs were identified and prepared to respond should the need arise.
 The LAPD’s initial tactic was to attempt to address any problematic crowds and have officers
 coordinate traffic to facilitate peaceful protests and protester safety. The DOC emailed the Al Crespo
 v. City of Los Angeles decision to Department personnel and reminded officers of journalists’ right to
 cover public protests even if an unlawful assembly is declared and an order to disperse is issued. A
 plain clothes detail was assigned to monitor the crowd’s demeanor and to gather intelligence for the
 IC.

 To maximize the number of units available, at 2:20 p.m., the Director of the Office of Operations,
 declared a Citywide Tactical Alert. Starting at 2:55 p.m., the Department began receiving reports from
 the community members that small crowds of protesters were temporarily blocking various
 intersections in the Downtown Area. Just before 5:00 p.m. crowds began to form and march around
 the Downtown Area. Bicycle officers coordinated traffic for protester safety as the group marched and
 occupied the streets. Based on the plan, the OCB CP inserted plain clothes officers into the crowd.
 The Air Unit provided an elevated perspective of the crowd’s movement to support units on the
 ground. As officers blocked vehicle traffic to facilitate the protests, the crowd’s hostility increased.
 When protesters approached intersections that officers were holding open for them, the protesters
 began yelling expletives at officers.

                                                        As the crowd continued marching in the
                                                        Downtown Area, plain clothes officers within the
                                                        crowd reported that the crowd changed from one
                                                        of solely peaceful protesters to a crowd where
                                                        individuals who wished to engage in hostile
                                                        actions against property and the police mixed in
                                                        with the peaceful protesters. A single crowd
                                                        therefore became one with mixed motives and
                                                        different agendas making the Department’s dual
                                                        tasks of facilitating peaceful protests and
                                                        deterring lawlessness more difficult.

 Some protesters also ignited rubbish fires in the Downtown Area, requiring the Los Angeles Fire
 Department (LAFD) to respond. Officers began providing the LAFD with force protection when fires
 were reported in areas of violence and criminal activity. This further depleted available Department
 resources. In the days following, officers provided security for the LAFD.

 At 5:30 p.m., when a crowd of protesters formed near the 110 Freeway, Commander 1A coordinated
 with the CHP to block the on-ramp at Olympic Boulevard. Plain clothes officers reported that




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 individuals within the crowd were arming themselves with bottles. The OCB CP directed additional
 units to establish blocking forces to prevent the group from spreading into numerous intersections.

 Protesters continued to move throughout the Downtown Area and grew more agitated. By 6:15 p.m.,
 the crowd had grown to 250 protesters and attempted to surround officers who were setting up
 blocking forces to minimize traffic congestion
 and protect pedestrian protesters. The Air Unit
 saw the protesters’ intent and alerted units in the
 area. Some protesters armed themselves with
 bottles and other objects that they threw at
 officers. The OCB CP contacted the DOC and
 requested a videographer to document what was
 occurring. Commander 11A requested additional
 resources, but the OCB CP advised there were no
 additional resources to provide to them at that
 time. This was true even though day watch units
 were held past their end of watch to bolster the
 number of personnel available.

 Throughout the evening, large crowds began separating into smaller groups before merging into larger
 crowds and then splitting again into smaller groups. This tactic was used throughout the night and
 caused officers to be spread thinly throughout the Downtown Area (approximately 5.84 square miles).
 The crowds’ level of violence continued to increase. Although command staff declared unlawful
 assemblies and dispersal orders were given, due to continual merging and separating of the crowd, it
 was difficult to determine which groups had been given lawful dispersal orders.

 At 6:43 p.m., the Department sound truck arrived at Pershing Square and gave amplified dispersal
 orders in English and Spanish to the protesters. Although the crowd left the area, many of the
 protesters joined other groups scattered throughout the Downtown Area. Thus, while officers again
 stopped the violence at that moment and location, their efforts to gain control of the crowd in general
 were unsuccessful.

 By 7:04 p.m., the main crowd stretched for two and a half City blocks on 8 th Street – from Hope Street
 to Figueroa Street. The crowd overtook the intersection of 8 th and Figueroa Streets while vehicle
 traffic was present. While marching, protesters came across a CHP officer in his marked vehicle.
 Some surrounded the vehicle, broke its windows, and attempted to assault the officer. The Air Unit
 saw the incident and requested that officers respond to help the CHP officer. The IC permitted the




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 MFF units’ use the 37mm launcher.10 As additional officers arrived, the crowd fled. Part of the crowd
 rushed north on Georgia Street through 9th Street toward the 110 Freeway on-ramp where they were
 blocked by CHP units.

 Multiple groups then tried to gain access to the 110 Freeway from various locations. A crowd of 150
 entered the vehicle-laden freeway via the 8 th Street on-ramp and marched between vehicles in the
 northbound lanes. This caused gridlock and an unsafe environment for pedestrians and motorists alike.
 Staff 2A directed the Air Unit and MFF units to coordinate containment of the crowd and to arrest
                                                 protesters on the freeway. The MFF and the CHP
                                                 worked together to remove the protesters from the
                                                 freeway. The CHP held the northbound freeway traffic
                                                 just south of the crowd near Olympic Boulevard and set
                                                 a skirmish line near 7th Street on the 110 Freeway in
                                                 northbound lanes. The LAPD Air Unit coordinated the
                                                 response of additional LAPD skirmish lines at both the
                                                 7th Street and Wilshire Boulevard overpasses to support
                                                 the CHP and contain the area on and off the freeway.
                                                 Holding these skirmish lines became difficult because
                                                 smaller groups of protesters broke from the larger crowd
                                                 and circled around behind the skirmish lines. This meant
                                                 that officers were surrounded and could not provide
 appropriate security to the officers below. For example, while officers set skirmish lines around 7 th
 Street and the 110 Freeway, protesters gathered on the elevated 7 th Street and the Wilshire Boulevard
 overpasses. From those elevated positions, individuals within the crowd threw rocks, glass bottles,
 road stanchions, broken concrete, and electric scooters at the officers below.

 By 8:00 p.m., most of the crowd had moved off the freeway and back onto City streets. Some of the
 protesters who did not leave the freeway were taken into custody so that traffic flow could be
 reestablished. Throughout the night, based on their training and experience with other protests, LAPD
 personnel attempted to find a crowd leader or organizer to facilitate a peaceful protest. As this event
 progressed, it became clear that the protesters had no defined leadership or organizer. Without an
 organizer, the Department found it difficult to coordinate a peaceful protest. In fact, in some
 circumstances, Department personnel’s attempt to find someone to talk to was met with extreme




 10
   The 37mm is designed to be deployed and skip fired at non-specific targets. The user must be thoroughly trained and
 qualified and maintain the Department standard.
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 hostility. Officers were yelled at and had objects thrown at them. This made it difficult for officers to
 communicate with perceived organizers.

 At approximately the same time, 8:00 p.m., a request for additional MFF units was made to help
 contain the protesters at 7th and Figueroa Streets. Some protesters used electric scooters to block and
 delay the MFF response. To respond more quickly, officers parked their vehicles on 7 th Street and
 responded on foot. They left five officers to protect approximately 100 vehicles. As the officers were
 responding, the crowd at Figueroa Street and 7th Street broke through a chain-link fence and entered
 the multi-level Target store parking structure near 945 West 8 th Street. They looted and vandalized the
 store.

 The violence towards officers continued. The use of fireworks, rocks, and bottles as weapons against
 the officers increased in frequency. Individuals within the crowds also continued to vandalize
 businesses in the area. Calls for service were generated in parking lots where protesters were
 damaging vehicles. The CP asked the Air Unit to assist with the coordination of resources to keep the
 large crowds away from parking structures and vulnerable locations in order to minimize the
 destruction and not create more havoc.

 As the crowds continued to march, hostility and violence grew. Police vehicles were vandalized, and
 private property was destroyed. When the protesters reached Perishing Square, at the corner of 5 th and
 Olive Streets, some of them surrounded and assaulted bicycle officers who were positioned at the
 location to facilitate the protest by blocking traffic for the pedestrian protesters. At approximately
 8:39 p.m., one of those officers broadcasted “officer needs help” due to the hostile crowd. 11
 Individuals from within the crowd responded by throwing projectiles at the officers and pushing one
 officer to the ground. Members of the crowd then repeatedly struck the officer. They also took some
 of the officer’s emergency equipment from his duty belt. When other officers arrived to assist, some
 protesters threw rocks, bottles, trash cans, and other projectiles at them.

 Throughout the night officers generated at least two “officer needs help” broadcasts due to the level of
 violence directed at them. For example, a crowd near Grand Avenue and 6 th Street threw rocks and
 bottles at motor units who were setting up blocking forces to facilitate protests in the streets. One
 motor officer had his baton stolen and advised officers of the safety hazard. When motor officers
 approached the intersection of 6th and Hill Streets, people within the crowd threw rocks, bottles, and
 other objects at them.




 11
   An “officer needs help” broadcast is the highest level of need that officers can broadcast and is only used when imminent
 danger to officers exists.
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                                                     As the night wore on, the Department received
                                                     multiple calls for service (injured people, fires,
                                                     property damage, etc.). In responding to these
                                                     calls, the Department found it difficult to find
                                                     unobstructed avenues of travel. Protesters
                                                     obstructed the streets by placing trash cans in the
                                                     roadway and igniting them. They also ignited
                                                     other items, throwing them into the street, and
                                                     abandoning them to obstruct traffic.

                                                      Street obstruction would become a common tactic
 that individuals used to delay or prevent responses to areas that were being looted or otherwise
 vandalized. Protesters also started launching fireworks at officers. In the area impacted by the Civil
 Unrest, several officers were assigned to escort each LAFD fire truck or ambulance that responded to
 each fire or medical emergency.

 By approximately 9:25 p.m., a different group of protesters converged on PAB. Command Staff
 organized their resources to arrest any
 unlawful protesters. Although everyone was
 eager to assist, this led to many people
 giving orders, including some contradicting
 orders. The result was that officers in the
 field did not have clear direction.

 Simultaneously, a group of protesters on
 Spring Street north of 1st Street, adjacent to
 City Hall, started throwing objects at
 officers. Two officers received extensive
 injuries requiring them to be transported to
 the hospital via ambulance. At 9:30 p.m.,
 officers moved to surround the violent
 crowd adjacent to City Hall to start making
 arrests.

 Some individuals within the crowd of demonstrators began using green lasers against officers and the
 Department’s Air Unit. While lasers have been used in isolated incidents, this was the first time green
 lasers were used during demonstrations. The pointing of green lasers at officers by individuals within
 the crowd would become a common tactic used in the next several days.




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 Green lasers are known to cause temporary blindness, and in some instances, permanent visual
 impairment when pointed directly into a person’s eye. Lasers directed at aircraft in flight bring
 additional safety concerns as they can brightly illuminate the cockpit of the aircraft, potentially
 blinding the pilot. This leads to the visual loss of the pilot’s aircraft controls and flight path, causing
 significant public safety concerns. At least one officer sustained a serious injury due to lasers during
 the unrest. Moreover, the use of the lasers made it difficult
 for air support to operate safely and adversely impacted
 their assistance to officers on the ground.

 Members of the crowd continued with violent actions
 throughout the night, including assaulting officers with
 rocks, glass bottles, broken concrete, and other projectiles.
 Some items were thrown at officers from rooftops and open
 windows. Based on the violent actions from individuals
 within the crowd, officers deployed less-lethal munitions.
 Officers quickly depleted the small number of less-lethal
 munitions they had “on hand” and had to request more. 12
 The DOC collected any available rounds of less-lethal rounds and delivered to the OCB CP where they
 were distributed to the field.

 As the night wore on, the violence continued. Officers consistently attempted to contain groups to
 apprehend the criminal element inside the crowds and enforce dispersal orders to stop the criminal
 activity. Protesters and those who sought to use the demonstrations for nefarious activities, however,
 continued to elude detention and arrest using alleyways and small streets. Moreover, officers were
 significantly outnumbered. As officers detained some protesters who engaged in criminal behavior
 during the protest, others looted and vandalized businesses, including several in the Jewelry District
 near Olive Street and 6th Street. Officers continued to face significant obstacles to travel between
 incidents, including dumpster fires in the middle of the street. At approximately 11:45 p.m., protesters
 near 6th Street and Broadway threw bricks at officers in a vehicle responding to an emergency call.
 The Department’s years of training and emphasis regarding the peaceful facilitation of protests was of
 little use against the level of violence, destruction, and mayhem that the officers experienced that night.




 12
   The 40mm requires an officer to unload and load an individual 40mm round after ever use. The ammunition for the
 40mm is not within the launcher and requires officers to carry extra 40mm ammunition on their person. See Chapter 4 –
 Use of Force and Less-Lethal Munitions for Crowd Control.
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         Crimes and Arrests

 The Department saw an increase in crimes and arrests. A total of 264 felony and misdemeanor arrests
 were made because of the Civil Unrest on the night of May 29, 2020. Most arrests were for Failure to
 Disperse. The City of Los Angeles had yet to implement a curfew order.


         Analysis

 All supervisors and Command Staff in the field are given specific unit designations to use when
 deployed in the field such as Commander 1A for the Captain of Central Area. 13 This is done so that
 supervisors and Command Staff know who the direction is coming from or who requested help at a
 particular location. Although the supervisors and Command Staff were taking initiatives and
 coordinating blocking forces and traffic control, not all of them used their complete unit designations.
 Not using proper or complete designations caused confusion when trying to track which units were
 deployed to specific protest groups in the Downtown Area. (See Chapter 8 – Critique No. 3.)

 There was also lack of unity of command between operations, supervisors, and officers in the field
 regarding who was directing units and managing the incident. In their eagerness to assist, many people
 gave orders, some of them conflicting. As a result, officers in the field did not know which direction to
 follow. It is important that during the briefings or in the commander’s intent, deployed personnel are
 reminded to use unity of command. (See Chapter 8 – Critique No. 3.)

 The Department did not provide adequate training for photographers and videographers. Many of the
 photographs and videos taken by the Department photographers and videographers did not portray the
 actions of the crowd, actions taken by officers, or help document what was transpiring. Videographers
 should narrate what they are observing and capture the demeanor of the crowd when it is peaceful and
 continue to document if the crowd demeanor escalates and becomes unlawful. All aggressive and
 violent actions taken by demonstrators towards officers need to be captured as well as actions taken by
 officers, including arrests. (See Chapter 8 – Critique No. 7.)

 New tactics, such as projectiles coming from both within a crowd and above, as well as the use of
 green lasers has required the Department to adjust and obtain new equipment for the safety of its
 officers. (See Chapter 8 – Critique Nos. 18 and 19.)




 13
  The designation of “A” or “B” is used to identify of the Commanding Officers of a given Area. “A” identifies the
 Commanding Officer and “B” identifies the Patrol Commanding Officer of the Area.
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 Because the Department had arranged to have a CHP liaison in the CP, communication between the
 two agencies was fluid and tasks were able to be completed efficiently and effectively. (See Chapter 8
 – Best Practice No. 2)



              Saturday, May 30, 2020



           Outside Los Angeles -- Many Cities Experienced Mass and Violent Demonstrations and
                                       Enacted Curfews.

 Several cities across the United States began to experience massive demonstrations and large-scale
 looting. Atlanta and Portland implemented a curfew for their cities based on demonstrations that
 occurred on May 29, 2020 in both cities. New York and Denver began experiencing large protests on
 May 29, 2020 while Cleveland, Dallas, and Philadelphia saw large-scale demonstrations beginning
 May 30, 2020.

 Police departments in other cities used different tactics to address the unlawfulness that was occurring
 – including the use of tear gas.14 The LAPD has not used tear gas in decades. (See Chapter 4 – Use of
 Force and Less-Lethal Options for Crowd Control.)

           Inside Los Angeles – Both Violence and Community Engagement Continued. The City
                                Experienced a Devastation at 3rd & Fairfax, on Melrose and at the
                                Grove. The Mayor Declared a Curfew and the National Guard arrived.

 The violence, destruction, and looting from May 29, 2020, continued until early the next morning –
 May 30, 2020. For example, just after midnight, a motor officer requested personnel to respond to 7 th
 Street and Broadway where protesters were vandalizing police vehicles that had been left there the
 night before so that officers could respond to a Target store that was being looted.

 Many of the day watch personnel were not released from the incident until just before their next shift
 was to begin (24 hours after they had first responded to work).




 14
      The LAPD did not use tear gas or any other irritants during the Safe LA Civil Unrest.
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 In the Downtown Area, at around 1:30 a.m., there were reports of looting in the Jewelry District and of
 officers being assaulted at Pershing Square.

 At approximately 1:50 a.m., officers set up a blocking
 force at the intersection of 6th Street and Broadway.
 A suspect drove his vehicle towards officers. As the
 vehicle approached, officers ordered the vehicle to
 stop. The driver disregarded the officers’ orders and
 continued to drive toward them. An officer fired a
 less-lethal 40mm round, which penetrated the
 passenger window, but did not strike anyone. As the
 driver continued towards officers, another officer
 fired his duty weapon at the suspect but did not strike
 him. The driver stopped the vehicle shortly thereafter
 and was arrested.

 At 4:00 a.m., watch commanders began contacting off-duty day watch personnel and encouraging
 them to come into work on their regularly scheduled day off (the Department had not yet mobilized) in
 preparation for possible protests and violence. At approximately 6:00 a.m., the Citywide Tactical Alert
 was canceled to allow officers who worked that evening to go home for appropriate rest.
 The Department coordinated with the Department of Public Works to remove debris from the area.
 This aided in the removal of potential projectiles and assisted in securing area businesses. Los Angeles
 Sanitation estimated that it had cleared approximately 1,150 tons of debris from City property during
 the Civil Unrest period. See Chapter 2 for additional information.

        Planning for Saturday, May 30, 2020

 While violent protests continued from the previous night, the Department had information that there
 were several additional protests planned for later in the day. The Department had made and continued
 to make plans for these Saturday demonstrations. As dawn approached, the Department began to put
 those plans into effect.

 For example, on Thursday, May 28, 2020, the Department received intelligence that there would be an
 unpermitted protest sponsored by the BLM movement and Students for George Floyd in the Pan
 Pacific Park area on May 30, 2020. There was no verified estimate of the crowd size, but an unverified
 source indicated about 100 people would be attending. Based on the intelligence they had and the
 events in OCB on the days prior, the Operations-West Bureau (OWB) created a written Event Action
 Plan (EAP) and requested resources including an Air Unit Downlink and a sound truck be deployed to
 the Pan Pacific Park area on May 30, 2020.




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                                             Meanwhile, on May 28, 2020, the Department also
                                             obtained intelligence about a march scheduled in OCB on
                                             Saturday, May 30, 2020. The OCB march was slated to
                                             begin at Mariachi Plaza in Downtown and end at
                                             Hollenbeck Station in east Los Angeles. The intelligence
                                             provided, coupled with vandalism to PAB, caused the
                                             Department to prepare for potential damage to and
                                             violence at Hollenbeck Station. The information also
                                             noted that pallets of rocks and cinderblocks had been
                                             located in the Downtown Area, possibly staged by
                                             protesters or those who wanted to blend in with protesters
                                             and engage in violence. Because of its concern over
 potentially staged weapons to be used during protests, the Department contacted both the Department
 of Public Works and the Bureau of Street Services to have these items removed before the protest was
 scheduled to begin.

 When evaluating OWB’s request for resources, the OCB CP considered the intelligence it had at the
 time. This intelligence included: the history of large protests staying in Downtown Area; the fact that
 the previous three days of protests had been localized in the Downtown Area; the knowledge that
 people were protesting police brutality; and the understanding that critical City infrastructure,
 including PAB, the Sheriff’s office, the District Attorney’s Office, the Mayor’s Office and City
 Council were all concentrated in a small Downtown Area. The possibility of violence in the
 Downtown Area was also corroborated by the discovery of pallets of rocks and the intelligence
 regarding a protest that was supposed to begin at Mariachi Plaza in Downtown. With these
 considerations in mind, the OCB CP denied resource requests from OWB because it believed that OCB
 would require more significant resources that day.

 Due to the anticipated personnel needs in OCB, the Operations-Valley Bureau (OVB) DC, responded
 to OCB to assist the OCB IC. In addition, Operation-South Bureau (OSB) reassigned one of its
 Commanders to the role of Operations Section Chief for B-Watch at the OCB CP and reassigned
 additional OSB personnel to OCB.

        The Downtown Area -- OCB

 Upon receiving intelligence of the Mariachi Plaza march on May 28, 2020, OCB prepared an EAP and
 coordinated resources through the DOC. On May 30, 2020, at approximately 2:00 p.m., MFFs were
 configured and staged in preparation for the march.




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                                           At 2:00 p.m., on May 30, 2020, approximately 100
                                           protesters gathered at Mariachi Plaza (1831 East 1 st Street).
                                           A small group of protesters also gathered at PAB.
                                           Additionally, approximately 150 protestor vehicles gathered
                                           in Chinatown and were expected to drive to PAB. Before
                                           2:30 p.m., multiple groups of protesters were marching in
                                           the Downtown Area.

 Source: Ariella Plachta
                                          By 3:30 p.m., approximately 200 protesters gathered at the
                                          Mariachi Plaza event. They marched in the area and entered
 the 101 Freeway near Temple Street. After the CHP moved the crowd off the freeway, the crowd
 marched towards Downtown instead of the anticipated destination of Hollenbeck Station. The crowd
 grew to approximately 600 individuals and factions within it became violent. Individuals within the
 crowd began destroying public and private property, looting businesses, vandalizing police vehicles,
 and assaulting Department and CHP officers with harmful objects such as rocks and bottles.

 At 5:30 p.m., protesters continued marching throughout the Downtown Area causing destruction and
 harm to businesses. This required the Department to maintain significant resources in Downtown,
 while also supplying OWB with needed additional resources. (See below). Multiple attempts were
 made to contain the crowds, but protesters evaded containment as they had on previous nights.
 Vehicle caravans were also used to loot businesses throughout Downtown. Significant looting
 occurred in the Jewelry District.

           Third and Fairfax, Melrose, and the Grove -- OWB

 The OWB Command Staff arrived around 7:00 a.m. to set up and prepare for the anticipated Pan
 Pacific Park event. At that time, OWB Staging noticed discrepancies with the resources that were
 arriving. Specifically, OWB had difficulty forming complete MFFs because many of the officers
 scheduled to work the Pan Pacific Park event were assigned to MFF duties in Downtown the previous
 evening. As stated above, that event lasted into the morning hours of May 30, 2020. As such, those
 officers were unable to respond to the Pan Pacific Park event. In addition to personnel issues, officers
 reported that they did not have adequate less-lethal munitions. Significant amounts of less-lethal
 munitions had been used the previous night causing less to be available for areas across the City,
 including OWB. Furthermore, additional less-lethal rounds had been sent to the OCB CP. This caused
 a lack of available resources for the OWB area.




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                                                          When planning for the Pan Pacific Park
                                                          event, the OWB IC originally wanted to
                                                          establish the CP at the OWB Conference
                                                          Room and use OWB personnel to staff the
                                                          CP. However, at the last minute, the OWB
                                                          IC was notified that the OWB conference
                                                          room was not available as it was being used
                                                          as the OWB Safe LA CP charged with
                                                          monitoring all events throughout OWB. In
                                                          addition, the OWB personnel that were
                                                          originally going to staff the OWB CP and
 operate the equipment to provide situational awareness, were no longer available due to the fact that
 they had worked in OCB the prior day and into the early morning. The OWB IC decided to use the
 OWB community room, but it lacked the equipment necessary to obtain and maintain situational
 awareness. In addition, the DOC advised the OWB IC that both Department sound trucks were loaned
 to OCB at the direction of the OCB IC.

 At 9:00 a.m., a small group arrived at Pan Pacific Park and peacefully demonstrated. By about
 11:30 a.m., the group had grown to 150 protestors. By 12:30 p.m., the Air Unit estimated the crowd
 was 1,500 protestors. Additionally, at this time, an additional 300 protestors gathered at Beverly
 Boulevard and Gardner Street. At 1:00 p.m., officers on scene reported the Pan Pacific Park protest
 grew to over 2,500 protesters and was increasing.

 Like the protests in the Downtown Area the night before, the crowd divided into multiple groups. The
 largest group of protesters began to march toward 3rd Street and Fairfax Avenue. Smaller groups
 started demonstrating at various intersections, blocking or delaying Department personnel from
 responding to calls of looting or other violence.

 At about 1:00 p.m. the OWB IC contacted the OWB CP and advised them to immediately move the CP
 to the OWB Staging Area at CBS studios (7800 Beverly Boulevard) due to operational necessity and
 the inability of the IC to leave the location to return to the community room. The move also
 maximized the efficiency of CP duties, especially given the lack of resources. The OWB IC directed
 the Wilshire Community Police Station to be shut down and all available units be sent to CBS Studios
 for redeployment. Despite the IC’s order, an unidentified captain, directed some of those resources to
 deploy to fixed post locations instead. This caused an issue with the ability to accurately track
 resources and deploy them to critical sites.




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 At approximately 1:15 p.m., protesters surrounded a Metropolitan Transportation Authority (MTA)
 bus at 3rd Street and Fairfax Avenue. The bus had an LAPD recruitment advertisement on its side.
 Protesters slashed the bus’s tires, spray-painted exterior
 panels, and threw hard objects at the bus which had a
 driver and community members inside. The IC
 deployed a squad of officers to protect the passengers
 and bus driver. Within minutes, the crowd surrounded
 the officers and began throwing hard objects at them.
 The OWB IC immediately deployed a TSE to respond
 and assist the surrounded officers. Still, several officers
 were injured. In addition, officers left their vehicles to
 assist bus passengers in distress and, while they were
 doing so, individuals burned and vandalized those
 vehicles.

 The OWB CP realized quickly that even though more resources were being deployed, it was a
 challenge to facilitate, protect, and contain (depending on their actions) the numerous small crowds of
 protesters. Several times, officers attempted to contact someone in a group of protesters to discuss and
 facilitate peaceful protests. This technique had worked in past demonstrations, but on May 30, 2020,
 they were rebuffed by the group they approached and immediately flanked by a second group. The
                                                            hostility towards responding officers
                                                            continued to increase as individuals within
                                                            the various crowds threw objects such as
                                                            bottles and rocks at the officers.

                                                          At approximately, 3:30 p.m., the OWB DC
                                                          arrived at the OWB CP and took over as IC.
                                                          The OWB IC mapped the area into four
                                                          sectors and then assigned a captain to oversee
                                                          each sector. That allowed for a better span of
                                                          control. Due to the inability of the Air Unit to
  PICTURED ABOVE: BOUNDARIES OF CLOSED AREA WITHIN OWB     provide a downlink, Command Staff at the
                                                           OWB CP used personal electronic devices to
 stream news casts to obtain aerial views of crowd size and demeanor.

 At 4:45 p.m., the Mayor declared a local emergency within the City resulting from the civil unrest
 following the death of George Floyd in Minneapolis, Minnesota. Thereafter, at 6:30 p.m., the Mayor
 ordered a curfew between 8:00 p.m. on May 30, 2020 and 5:30 a.m. on May 31, 2020 within the City




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 limits exempting specific persons and informing individuals that failure to comply was in violation of
 Los Angeles Administrative Code Section 8.78.15

 At 5:18 p.m., due to large-scale protests and the increase in violence Citywide, Chief Moore mobilized
 the Department and ordered the cancellation of days off and vacations for sworn personnel until further
 notice. Mobilization required the Department to move into two 12-hour shifts, A-watch (starting at
 6:00 a.m.) and B-watch (starting at 6:00 p.m.) beginning May 31, 2020. 16

 Towards the evening hours, protesters escalated their criminal activity and began mass looting on and
 around Melrose Avenue and The Grove Drive. All resources not assigned to OCB were directed to
 respond to OWB Staging for deployment.

 At approximately 5:30 p.m., dispersal orders were given, and individuals were advised that the area
 was closed. The boundaries of the closed area were La Cienega Boulevard to the west, Melrose
 Avenue to the north, 6th Street to the south, and La Brea Avenue to the east. After the dispersal order,
 anyone who failed to disperse was then arrested. This resulted in large scale arrests.

 At 6:24 p.m., resources from the LASD, Manhattan Beach Police Department, CHP, and others began
 to arrive at the OWB Staging Area or other CPs to assist the Department.

 At 6:46 p.m., as a crowd of protesters moved towards the OWB CP, the Air Unit assisted officers in
 redeploying and making arrests for failure to disperse.

 Due to the escalation in violence from the crowds of protesters and their refusal to obey any dispersal
 orders, at approximately 7:30 p.m., Chief Moore determined that Special Weapons and Tactics
 (SWAT) should deploy less-than-lethal stinger grenades and authorized them to do so. 17 The LAPD
 SWAT deployed the stinger grenade seven times on Melrose Boulevard between Fairfax Avenue and
 La Brea Avenue. The stinger grenade was again deployed twice by SWAT on Fairfax Avenue and
 Rosewood Street. The crowds dispersed from the areas during every use. There have been no reported
 injuries as a result of the stinger grenade deployment.




 15
    See “Declaration of Local Emergency,” dated May 30, 2020 and “Order Setting Curfew During Existence of a Local
 Emergency,” May 30, 2020.
 16
    Emergency Operations Guide, Volume 1 – Emergency Operations Policies and Procedures, p. 43.
 17
    The Stinger used by SWAT is a Sting Grenade .60 cal. rubber ball diversionary device that produces approximately 130
 decibels at five feet. In addition to the light and sound, the stinger grenade is designed to disperse approximately 25 .60
 caliber rubber balls in a 360-degree pattern.
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 In OWB, officers encountered yet another new tactic. Protesters used vehicle caravans to conduct
 mass looting. These caravans consisted of numerous vehicles with several looters inside each vehicle.
 The caravans selected strategic locations, including areas where large crowds were blocking City
 streets. They positioned and ignited dumpster fires at those locations, making it difficult for officers to
 maneuver around the crowd and fires to apprehend the looters. Although each caravan spent minimal
 time at any one location, the technique allowed multiple looters to execute their crimes in a short
 period of time creating substantial property loss to many businesses.

 The CP soon realized the tactic of the protesters and issued fire extinguishers to officers so they could
 extinguish small fires without having to dispatch LAFD. With the help of the fire extinguishers,
 officers could respond to calls of looting more effectively. Still, without the Air Unit (due to the
 limited number of Air Units available and multiple requests for their assistance) or additional
 personnel, it was difficult to apprehend people committing these acts.




 By 8:00 p.m., the curfew was in place. The curfew provided the Department with a means to detain
 and arrest protesters without having to verify that they had heard a dispersal order and prior to any
 violent or destructive actions being committed under the cover of darkness. Nonetheless, the protests
 and looting continued throughout the night and into the early morning hours, predominately within
 West and Central Bureaus.




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 The jail vans could not accommodate all the requests to transport those taken into custody. This left
 several officers and arrestees waiting for significant periods of time for transport. To alleviate the
 response time for the jail transport vans, the Department used MTA buses to transport arrestees.

 In the late evening hours, the City received mutual aid from various agencies to assist in restoring
 order. Those agencies included the Orange County, Santa Barbara County and Ventura County
 Sheriffs. All mutual aid responders were quickly deployed to the incident.

         The Valley – OVB

 The OVB IC identified the need to appropriately deploy resources so that they could quickly respond
 to any identified issues in the Valley. Upon MFFs checking into the OVB CP and Staging Area, the
 OVB IC deployed MFFs on both the east side of the Valley (North Hollywood Area) and on the west
 side of the Valley (Topanga Area). This accomplished two strategic goals. First, it reduced response
 times of MFF units. Second, it deterred any criminal behavior throughout the entire Valley. The OVB
 IC also detailed a small group of officers at the OVB CP to begin monitoring social media. This
 provided updated intelligence on protests and any groups that were planning criminal activity in the
                                                 Valley, including the Topanga Mall where the National
                                                 Guard was later deployed. Officers were directed to
                                                 immediately make arrests if any criminal activity was
                                                 seen and to immediately give a dispersal order if large
                                                 groups of protesters became unruly. Additionally, OVB
                                                 made it a priority to engage community leaders
                                                 throughout the Valley and officers encouraged peaceful
                                                 demonstrations.

                                                The Valley experienced significantly less criminal
                                                activity than OCB or OWB during the Civil Unrest.
Source: Trevor Stamp
         South Los Angeles – OSB

 The OSB reassigned one of its Commanders to the OCB CP, but the OSB DC was fortunate enough to
 have another Commander to split shifts with and help oversee OSB.

 As the Civil Unrest began in other parts of the City, OSB identified potential locations that might be
 impacted/targeted by criminal activity. Although staffing levels were low, due to redeployment to the
 Downtown Area, the OSB DC appropriately managed the personnel within the Bureau. Warnings and
 board-up procedures were sent to potential locations that could be impacted by the Civil Unrest. The




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 OSB personnel conducted frequent checks on the potential impacted locations. The OSB DC
 coordinated police vehicles to be clearly visible in the streets of OSB by turning on their amber lights
 while driving and by frequenting the main corridors of OSB.

 There was minimal criminal activity related to the Civil Unrest within OSB. In fact, the community
 responded with support of the Department. For example, in Southeast Area, the Patrol Commanding
 Officer received a phone call from a well-known and long-term resident of that area asking what the
 LAPD needed, and informing him that the community had “the cops’ back.” The caller went so far as
 to indicate that people were ready to drive down and protect the station. The Captain informed the
 resident that such action, although appreciated, would not be necessary. The protests that were held in
 OSB were mostly peaceful and the officers recognized the demonstrators as being members of their
 community.


        Crimes and Arrests

 May 30, 2020, was a turning point in the City. There was a stark increase in the number of individuals
 committing violence and destruction of property. This resulted in 72 felony arrests including looting,
 weapons violations, assaults with deadly weapons, and an attempt murder. With the increase in
 violence and Mayor-ordered curfew in effect, many protestors who refused to disperse were arrested
 for curfew violations. In total 855 people were arrested on May 30, 2020.


        Analysis

 Civil Unrest in Los Angeles first occurred in the OCB area. Hence, OCB established an OCB CP.
 Since OCB established its CP first, it assumed the role of also coordinating resources throughout the
 City. This had adverse consequences as in that the OCB CP made the determination on whether
 resources were going to remain at OCB or be allocated to other Bureaus in the City. The OCB retained
 the resources thinking that most of the events and violence would take place in the Downtown Area.
 This proved to be an error in judgement. It would have been wiser to have an independent arbiter of
 resources for multi-day, multi-location events to ensure an efficient and equitable distribution of
 resources. (See Chapter 8 – Critique No. 4.)

 The OWB was negatively impacted in its attempt to obtain and maintain situational awareness and
 resources by relocating to a different venue during the event. While some of this movement was
 inevitable given the crowd and the impracticability of getting through it, each time the OWB CP
 moved it had to regain information on resources and awareness to document properly within the CP.




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 Moving from venue to venue delayed information coming to the CP until the CP was established. (See
 Chapter 8 – Critique No. 2.)

 Additionally, in OWB, (and in OCB the previous night) police vehicles were left unattended while
 officers were involved in dynamic situations including safeguarding people on a bus. Violent
 individuals in the crowd took advantage of the situation by destroying 52 police vehicles and the
 officers’ equipment inside of the vehicles. (See Chapter 8 – Critique No. 18 and 25.)

 Unity of command issues arose in OWB, as they had previously in OCB, when staff officers arrived on
 the scene and gave direction to officers and supervisors that conflicted with the missions already given
 by the IC and Operations Section Chief. This caused confusion during an already chaotic situation.
 (See Chapter 8 – Critique No. 3.)

 An officer safety issue occurred when an MTA bus became surrounded by protesters and OWB made
 the decision to deploy one squad of officers to aid bus passengers. This decision caused cascading
 issues, as this squad had too few personnel to assist the passengers and provide protection from the
 violent protestors. Upon arrival to the bus, the squad of officers were immediately enveloped by the
 protesters who began throwing hard objects at the officers. A TSE was deployed to rescue the
 passengers and assist the squad of officers in distress. Several officers were injured during this
 incident. Deployment of additional squads to assist the bus passengers from the onset could have
 safely extracted passengers while reducing the likelihood of injuries to officers.

 The Air Unit downlink is an instrumental tool in obtaining situational awareness, specifically crowd
 size and demeanor, direction of travel, and location where resources are needed. The downlink was
 unavailable during most of the Safe LA protests causing Command Staff to stream mainstream and
 social media from their personal devices. (See Chapter 8 – Critique No. 17.)

 Some protestors ignited garbage cans and other debris and then pushed them into the street causing
 delays in officer response to demonstrations and calls for service. Deploying fire extinguishers inside
 each police vehicle would have allowed officers to immediately extinguish small fires without
 additional LAFD resources. (See Chapter 8 – Best Practice No. 1.)

 Separating OWB into sectors had both positive and negative effects. The sectors provided better span
 of control as captains were given specific missions with dedicated personnel. However, by using
 captains in each sector, the Department was limited in relief for sector oversight and performance of
 other designated duties in OWB and the City in general. (See Chapter 8 – Critique No. 5 and 25.)




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 SAFE LA AFTER ACTION REPORT


              Sunday, May 31, 2020

        Outside Los Angeles- Massive Demonstrations Continued and the National Guard was
                             Deployed

 During this time across the United States, several cities continued to experience massive
 demonstrations and large-scale looting in their metropolitan areas. In numerous states, the National
 Guard was called in to assist law enforcement. In Minneapolis, a man drove his truck into a crowd of
 protesters.

        Inside Los Angeles – As Protests Continued the Department Mobilized to Restore Public
                             Order. The National Guard Arrived. The LAPD Assisted in Santa
                             Monica.

 Because of the mobilization order from the previous evening, beginning at 6:00 a.m., all sworn A-
 watch personnel reported for duty. With the additional personnel and a curfew in place, the
 Department was also able to better and more efficiently address unlawful crowds of protesters.

 On May 31, 2020, the National Guard arrived and was assigned to protect critical infrastructures and
 probable targets including City Hall, the Staples Center, Fairfax District, Hollywood Boulevard, and
 the Topanga Mall. This allowed Department personnel to focus on the disruptive demonstrators as
 well as protect other businesses and property from criminal activity in the area.

                                                 While the National Guard provided assistance at
                                                 critical infrastructures, allowing officers to facilitate
                                                 demonstrations, it was not universally welcomed.
                                                 Astutely aware of her command and the community she
                                                 served, the OSB DC requested that there not be a
                                                 military presence within OSB, as such a presence might
                                                 elevate tensions and lead to Civil Unrest. Many
                                                 council members and the NAACP Urban League
                                                 agreed with this decision. The National Guard did not
                                                 deploy to OSB.

 On numerous occasions, officers and community members saw protesters being supplied with
 fireworks and other items that could cause property destruction and/or personal injury. Throughout the
 City and in cities throughout the nation, large pallets of bricks were found on streets and sidewalks for




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 no apparent reason. It appeared that unknown persons were supplying protesters with objects to use
 against officers and create destruction.

 At 12:00 p.m. the Mayor issued a revised Curfew Order exempting credentialed media representatives
 from the curfew.

 The Department saw an increase in violence in surrounding cities, including Beverly Hills and Santa
 Monica. At 2:00 p.m., Santa Monica requested mutual aid from the LAPD. The Department deployed
 personnel and the National Guard also assisted the Santa Monica Police Department (SMPD) in
 restoring order by helping to clear the looters from the Santa Monica Mall and the Pier. 18 While at the
 Pier, the SMPD deployed C.S. gas (tear gas). This was a safety concern for LAPD officers. Because
 LAPD does not use tear gas, only a limited number of officers had gas masks.

 While Santa Monica experienced violence, most of the protest groups that gathered in the City of Los
 Angeles on May 31, 2020 were vocal, but peaceful. There were, however, sporadic instances of
 individuals within the crowds of protesters throwing items at officers. For example, at 3:10 p.m. near
 5th and Hill Streets, protestors threw rocks and bottles at officers.

 Once the City reached the evening hours, violence increased including calls for lootings, “officer needs
 help,” and crowds throwing fireworks and other objects.

 At 8:00 p.m., the curfew took effect, the Department began making mass arrests for curfew violations.
 This meant that crowds could not inadvertently or purposefully block officers from responding to
 criminal acts that were occurring after 8:00 p.m. The curfew and corresponding arrests limited the
 amount of criminal activity that was occurring. Property damage and looting significantly decreased.

 Enforcement of the curfew created its own problem. The mass arrests stopped the criminal activity but
 created a burden on the already overworked jail vans and lead to a significant wait-time for the
 transportation of arrestees. This delay meant that officers were unable to respond to looting calls or be
 released to go end of watch until the arrestees in their custody were picked up.

 At 11:05 p.m., OVB began to receive multiple reports of looting occurring in the Topanga and Encino
 communities. At 11:20 p.m., A small and relatively peaceful group of protesters took over the area of
 Ventura Boulevard between Louise and Reseda Streets, in OVB. An MFF was quickly deployed to




 18
   Based on information obtained from the City of Santa Monica, looting resulted in almost five million dollars in property
 damage and theft.
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 monitor the crowd and deter any violent behavior. The crowd dispersed upon the arrival of the MFF
 but only after it had vandalized four businesses and looted one jewelry store.


        Crimes and Arrests

 On May 31, 2020, there were 719 arrests associated with the Civil Unrest. The common trends in
 arrests were Looting and Curfew Violations.

        Analysis

 By May 31, 2020, the pattern for the protests had been set. There was little criminal activity in the
 morning. Peaceful marches, facilitated by the LAPD, would take place in the afternoon. Then, as the
 day progressed, and the sun began to set, criminal elements would join the marches and protests would
 devolve into demonstrations mixed
 with violence and disorder until
 the early hours of the next day.
                                                “There are quite a few command staff officers
 Communication between the ICs                  who lack experience in handling large dynamic
 and field units improved. The ICs              incidents. They need a mentor. Captains need
 used unity of command to convey                more training, not in the description of what they
 information throughout the                     are responsible for but how to functionally do the
 incident’s organizational structure.           job.”
 The overall management of the
 incident became streamlined and                                      -Command Staff Officer
 there was a clear chain of
 command among the different
 CPs. The organizational structure
 developed for each of the Bureau’s CP providing a clear understanding of the roles and responsibilities
 of those assigned to key positions. This allowed those in command positions to know who to give
 direction to and the officers and supervisors knew from whom to elicit information and direction. In
 addition, the commander’s intent given by Chief Moore on May 29, 2020 was clearly relayed to all
 personnel. The intent clarified that officers should facilitate protests and not allow the criminal action
 by select individuals to color their view of the entire group. If, however, the protest group started to
 cause damage, loot, or infringe on the rights of others, arrests should be made. The overall goal was to
 create a safe environment for the lawful expression of Constitutional Rights. Although overall
 communication improved, many Command Staff were unable to identify their role within the ICS
 structure, causing some confusion. Intermittently, officers and supervisors in the field received
 direction from Command Staff Officers that varied from the direction they received from the CP.




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 Command Staff were eager to correct the issues that they had experienced over the past few days.
 These issues ranged from officers receiving conflicting directions to critical Command Staff leaving
 their CPs and losing situational awareness. Command Staff assigned to the ICS structure remained at
 their designated CPs. Once the proper ICS procedures were implemented, the Command Staff were
 able to step back and look at the overall picture of what was occurring, prioritize missions, and focus
 on economy of force by deploying officers more efficiently. Clear direction was provided to officers,
 which allowed for the Department’s objectives to be met in a more effective manner. (See Chapter 8 –
 Critique Nos. 1, and 3.)

 Not only did multiple agencies provide mutual aid to the Department, but the Department also sent
 resources to nearby agencies. Although the various departments were able to work together during this
 tenuous time, different protocols and less-lethal options for crowd control among the agencies proved
 challenging. For example, other agencies use tear gas. The LAPD consciously chose not to use tear
 gas on protesters and has not deployed tear gas in crowd control situations in decades. For example,
 the LAPD did not deploy tear gas during the 1992 Los Angeles Civil Unrest. In addition to its
 historical aversion to tear gas, the Department was concerned about using tear gas which impacts a
 person’s respiratory system, during COVID-19. The Department chose alternative methods to address
 unlawful behavior. The use of tear gas by other agencies meant that the LAPD could not effectively
 assist without compromising their own safety. The region must continue to work together to develop
 coordinated responses to manage significant incidents. (See Chapter 8 – Critique Nos. 8 and 18.)

 The National Guard assisted in many ways, including protecting fixed posts at City Hall, the Topanga
 Mall, and the Civic Center, allowing officers to be redeployed. However, there were several
 challenges that occurred with the arrival of the National Guard. The most difficult of these challenges
 was communication. On May 31, 2020, the OWB IC was notified by the Director of the Officer of
 Operations (OO) that a contingent of National Guard would be arriving at the OWB CP. The Director
 of OO believed that, because the Department had a liaison to the Guard, the National Guard had
 already been briefed on the rules of engagement and law of arrests. The Director of OO stressed the
 importance to immediately deploy the National Guard to designated critical sites. Upon arrival to
 OWB, the National Guard Commanding Officer, advised that he and his soldiers had not received any
 briefs on either the rules of engagement or laws of arrest causing a delay in their deployment. The
 Department needs to have procedures in place for working with the National Guard. (See Chapter 8 –
 Critique No. 9.)

 During this day, Metropolitan Detention Center (MDC) became overwhelmed with the large number of
 arrestees that were being transported to the jail. As a result, several jail buses were rerouted to the
 other jail facilities in the City. This led to delays in processing arrestees and extended time in custody.
 Maintaining CSD’s operating standards with the limited personnel was challenging. The CSD




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 personnel were not included in the Department-wide mobilization and therefore were limited in their
 ability to support the incident. (See Chapter 8 – Critique Nos. 13, 14, 15, and 16.)


        Outside Los Angeles- The Protests Extended Beyond the United States.

              Monday, June 1, 2020


 Protests over racial injustice began to emerge outside of the United States in several countries
 including, the Netherlands, Spain, and Nairobi.

        Inside Los Angeles –Hollywood Protest Occurred and the Crime Wave Peaked.

 Officers within MCD continued intelligence gathering related to the Civil Unrest and put out safety
 bulletins advising that protesters were arming themselves with bottles of acid, so officers should be to
 be diligent and aware of their surroundings. Detectives from RHD were assigned to investigative
 response teams to assist the geographic Bureaus with major investigations including assaults and
 looting.

 As numerous marches continued throughout the City, the Department maintained the same dual
 mission of protest facilitation and crime prevention.

 At approximately 9:00 a.m., a small group of protesters formed in front of the Van Nuys Courthouse.
 The OVB deployed an MFF and a Motor Strike Team to the Courthouse to monitor the protest. The
 crowd grew to 100 protestors and remained peaceful.

 Personnel were tasked with opening a field jail at University of California, Los Angeles (UCLA) at
 approximately 1:00 p.m. Due to a lack of booking supplies, personnel, and equipment, the jail did not
 open until 3:00 p.m. (See Chapter 3 for additional information).

 At approximately 1:30 p.m. in OSB, the Watts community held a press conference. At that press
 conference, community members spoke about not wanting any unlawful behavior occurring within
 their communities and stood in unity with the LAPD. The community made it clear that they did not
 want any outside groups coming to their community and creating havoc over the bonds they fought so
 hard to forge.




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 During the afternoon, OVB began experiencing sporadic looting incidents throughout the Valley. In
 addition, OVB received broadcasts of vigilantes driving around and assaulting the individuals who
 were looting.

 At approximately 2:45 p.m., the Los
 Angeles County Board of Supervisors
 issued a curfew order. The County curfew
 would begin at 6:00 p.m. instead of 8:00            “…Watts isn’t going back to its ashes, its
 p.m. The Mayor then revised the City’s              rising…Don’t let history repeat itself.”
 Curfew Order to mirror the County Order.                          -Pastor in Watts at Press Conference
 Thus, at 6:00 p.m. on June 1, 2020, curfew
 began in the City and County.

 As in previous days, peaceful protests escalated to criminal acts in the evening hours and further
 escalating after nightfall. By 5:00 p.m., the Department began receiving calls for looting and
 vandalism.




 In OCB and OWB, many of the calls described caravans of vehicles committing criminal acts. The
 vehicles in these caravans covered their license plates with trash bags so that no one could identify
 them. Officers began towing all vehicles that were parked illegally or used in the caravans. This
 strategy proved to be effective at immediately decreasing the looting and deterring future caravans of
 looters.




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 Towards the evening hours, Van Nuys Area, within OVB, began receiving reports of mass looting
 occurring on Van Nuys Boulevard between Victory Boulevard and Sherman Way. Additionally,
 officers received information that individuals within a crowd of protesters looted a pawn shop and
 armed themselves with firearms stolen from that business. Several MFFs were immediately deployed
 to the area to contain the protesters and to make arrests. Two jail vans were dispatched from
 Downtown to Van Nuys Area to transport any arrestees.

 While these events were occurring in the Valley, the Hollywood Area received an influx of radio calls
 indicating mass looting was occurring at multiple locations along the Sunset Strip. With so many
 locations being looted and so few personnel, a Hollywood Area lieutenant deployed officers in a squad
 formation rather than an entire MFF. The Air Unit notified the officers about a looted location, and a
 squad responded to the location. Once the resources arrived and made arrests, the Air Unit searched
 for another location where criminal activity was occurring and directed a squad to that location. This
                                                proved to be extraordinarily effective. Numerous
                                                looting arrests were made, and looting stopped because
                                                of this plan. This plan would then be used in the days to
                                                come.

                                                 In addition, a vehicle pursuit occurred in Hollywood
                                                 after the driver of a white sports utility vehicle
                                                 attempted to run over an officer. Officers stopped the
                                                 vehicle at Nadeau Street and Antwerp Street where four
                                                 individuals fled from the vehicle. Three vehicle
                                                 occupants were taken into custody without incident.

                                                  That evening Southwest Narcotics Enforcement Detail
 (NED) was assigned to the Civil Unrest conducting crime suppression for looting. The Southwest
 NED officers arrived at a Chevron gas station when they heard a firearm racked and saw a firearm
 pointed at them by a suspect parked at the Chevron. The NED officers requested a back-up response,
 and as additional Southwest NED officers arrived, two suspects immediately fired their weapons at the
 NED officers. The Southwest NED officers responded with gunfire. The suspects then dropped their
 weapons, surrendered, and were taken into custody without further incident. One officer sustained a
 minor graze wound and was treated at the hospital for his injury. He was later released. During a
 search as a result of arrest, officers found several looted items in the suspects’ truck. The suspects were
 later charged with attempted murder.




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        Crimes and Arrests

 On June 1, 2020, looting and vandalism continued to occur throughout the City. This day saw the
 largest number of arrests made related to the Civil Unrest. Several mass arrests were made in the
 Downtown Area, Hollywood, and Van Nuys. The Hollywood Area experienced a massive amount of
 looting and vandalism at multiple locations along the Sunset Strip. The looting was so widespread that
 MFFs were broken up into squads to better respond to the large number of locations being looted.

 In total, the Department made approximately 1,378 arrests related to the Civil Unrest. Most of the
 arrests were for Looting, Violations of Curfew, and Disobeying Orders.


        Analysis

 The City experienced a large amount of looting and vandalism calls for service in Hollywood and Van
 Nuys Areas. With the Department’s full mobilization from the prior day, many resources were
 available to respond to the operational needs of the CPs. This brought a new challenge of coordinating
 the deployment of thousands of Department personnel, mutual aid resources, and the National Guard.
 Robust Staging Areas had to be maintained as well as a multitude of personnel at the CPs to track
 resources assigned to the incident. (See Chapter 8 – Critique Nos. 6, 8, 9, 12, 21, 22, and 25.)

                                                         When the Department is met with new tactics
                                                         from demonstrators (such as splitting into small
                                                         groups and moving in different directions,
                                                         looting caravans, and building barricades), the
                                                         Department must use unconventional tactics to
                                                         accomplish its mission. Command Staff were
                                                         hesitant about using new tactics that had not
                                                         been previously established as “best practices.”
                                                         Ultimately, however, the Department decided to
                                                         make changes including splitting up MFFs. The
 splitting of MFFs helped in apprehending many looters, making arrests, and using resources more
 effectively throughout the City. Despite the success in this event, these tactics should be used with
 caution as it is exponentially more challenging to track personnel effectively. (See Chapter 8 –
 Critique No. 18.)

 In the evening hours there was an increase in looting and vandalism calls. Protesters marching in the
 streets caused gridlock and significant delays for buses arriving to transport those arrested. In some
 situations, buses were diverted when responding to a location causing further delays. This




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 significantly impacted the Department’s transportation plan and left officers with arrestees for
 extended periods of time. To help alleviate the transportation issues the Department received
 assistance from LASD in the form of jail buses. The Department also used MTA buses. (See Chapter
 8 – Critique No. 14.)

 At the field jails, officers became overwhelmed with the massive influx of arrestees arriving. These
 locations had limited personnel, as pre-assigned personnel were reassigned to MFFs to help quell the
 massive demonstrations happening throughout the day. Most of issues with the field jails were seen at
 the UCLA field jail location. Although command staff ordered the location to be established at
 approximately 1:00 p.m., the designated UCLA Field Jail Leader recognized several major challenges
 upon her arrival. There was no equipment or supplies at the location. The UCLA Field Jail Leader
 made the request for the needed supplies to the DOC; however, numerous demonstrations blocked the
 roadways and delayed supplies getting to the location.

 The UCLA Field Jail Leader overcame numerous challenges by taking supplies from the WLA CP and
 West Los Angeles Station that were located nearby. These supplies included writing implements,
 water, portable toilets, tables, chairs, two police vehicles with working mobile data computers,
 and necessary paperwork such as Adult and Juvenile detention logs. Central Detectives personnel,
 who were assigned to the field jail operations for the day, had cuff cutters available and provided them
 for field jail operations. Eventually the DOC, was able to provide additional supplies such as Release
 from Custody (RFC) and Citation books as well as generators and lighting to continue operations
 during B Watch hours. While the UCLA Field Jail Leader was able to overcome the majority of these
 challenges with ingenuity, the Department should consider having a pre-loaded trailer with the needed
 supplies and a trained cadre of detention personnel to establish field jails in future mobilizations or
 unusual occurrences. (See Chapter 8 – Critique No. 16.)




          Tuesday, June 2, 2020


        Outside Los Angeles – Minnesota Initiated a Civil Rights Investigation

 The Governor of Minnesota announced that a civil rights investigation would be conducted against the
 Minneapolis Police Department.




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        Inside Los Angeles – Protests Continued. Daytime Violence Decreased but Nighttime Violence
        Increased.

 At 7:00 a.m., the Department closed the UCLA field jail
 due to growing community concerns and the inability to
 staff an efficient field jail with personnel, medical
 supplies, and additional equipment.

 At 12:40 p.m., the Mayor revised the Curfew Order to
 make individuals travelling to and from and participating
 in voting exempt from the Order.

 Based on the reduction of violence by the daytime
 crowd, and the lack of violent agitators within in the
 crowd, the Department was able to recalibrate to facilitate protests with passive crowd management
 strategies. This included directing officers to the rear of protest groups and having other officers
 parallel the crowds. This way officers remained largely out of sight but available to assist if necessary.
 The officers would only become visible if the Air Unit indicated any escalation of criminal activity.
 This tactic produced positive results and created fewer negative interactions between protesters and
 police officers.

 Although the City saw a substantial decrease in criminal activity during the afternoon, as the evening
 hours approached, rioting, looting, and property damage again replicated what it had been in previous
 nights. The Department provided officers with intelligence on a continual basis to help them with
 safety and awareness. For example, OVB received intelligence that pallets of bricks were left along
 Ventura Boulevard.

 The RHD and Commercial Crimes Division assumed the investigative role for major cases intended
 for state and federal filings. They worked closely with state and federal partners on cases such as
 major assaults on community members and officers, as well as looting and arson.

 The Investigative Branch Director for OCB B-watch was briefed daily regarding the number of
 personnel he would have assigned to him to handle investigations. Consistently over the next few
 days, the Branch Director would arrive at staging to find that his dedicated resources had been placed
 in an MFF and deployed to the field. This caused the Investigative Branch to lack the necessary
 personnel to staff the field jails appropriately.

 While most of the criminal activity occurred in the Downtown and Wilshire Area, there were flashes of
 criminal activity all over the City causing resources to be spread very thin. For instance, while




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 resources were in the Valley addressing several looting occurrences, other officers were engaged in a
 pursuit. The pursuit was initially for a possible stolen U-Haul Truck and then shifted to an Assault
 with a Deadly Weapon on a Police Officer after the suspect intentionally collided his vehicle with the
 officer’s vehicle. Ultimately the pursuit ended, and the suspect was taken into custody. However, this
 and other events showed that the City was under duress and had to attempt to complete each task that
 arose with scattered resources. It was difficult to maintain situational awareness and manage
 resources.

 As the night progressed, there was a decline in radio traffic and calls for service. Although the curfew
                                         continued, many individuals still marched in the streets. The
                                         Department continued to make arrests, predominately in the
                                         Hollywood and Central Areas. There were still isolated
                                         incidents of violence directed towards officers.

                                          While the Civil Unrest was the main focus of the Department
                                          in late May and early June, there were other functions requiring
                                          the Department’s attention. For example, during the period of
                                          Civil Unrest, there were several scheduled “Days of Gathering”
 within OSB including the 62 Brims’ day on the second of June and the 64 Brims’ day of gathering on
 the fourth of June. 19 The gatherings for these days all occur in OSB. Usually, OSB devotes a
 significant amount of resources to focus on gang enforcement due to the high criminal activity that can
 surround these days. Typically, OSB divisions are on a heavy deployment status to limit any criminal
 activity. In 2020, however, due to the Civil Unrest, the OSB DC shifted resources around to manage
 these significant events within OSB during a period of civil unrest in the middle of a pandemic. To the
 community’s and OSB’s credit, there was no criminal activity at either event. Both proceeded without
 incident.


            Crimes and Arrests

 The Department made a total of 969 arrests on June 2, 2020 related to the Civil Unrest.




 19
  A Day of Gathering is defined in slang terms as a “hood day” where members of local gangs celebrate their individual
 gang affiliations.
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        Analysis

 Although daytime violence decreased, criminal behavior in the evening continued as it had on previous
 nights. During the day the Department was able to decrease its enforcement role and largely facilitate
 peaceful protests and gatherings. (See Chapter 8 – Critique Nos. 12 and 24.)

 During the evening hours, the Department had to focus on arresting anyone engaged in criminal
 behavior. The Department continued to maintain its elevated level of deployment in case any incident
 escalated.

 The Department closed the UCLA field jail which had been unable to staff an efficient field jail with
 personnel, medical supplies, and additional equipment. (See Chapter 8 – Critique No. 16.)


       Wednesday, June 3, 2020



        Outside Los Angeles – Minneapolis Charged Officers Implicated in Floyd’s Death.

 Three former MPD officers were implicated in George Floyd’s death and charged with aiding and
 abetting murder.

        Inside Los Angeles – Criminal Behavior and Violence Declined as the Day Progressed.

 The City of Los Angeles continued to experience Civil Unrest. Several radio calls were generated in
 the early morning hours for looting and vandalism. For example, in the Downtown Area, there were
 reports of looting and vandalism at the Carl’s Jr. and Fallas Parades. In addition to the Downtown
 Area being hit with looting and vandalism, OWB experienced continued looting and vandalism. West
 Los Angeles and Hollywood Areas received numerous calls for looting and vandalism including
 multiple Walgreens in both Areas. Moreover, a corner market in Olympic Area was being looted
 during the early morning hours. As chaos and destruction was occurring, officers continued making
 several arrests in the early morning hours and activity began to significantly dwindle as the morning
 continued.

 The Department maintained its full mobilization and its Citywide Tactical Alert. The Department
 assessed the situations that arose and adjusted its missions and tactics.




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 At approximately 10:25 a.m., Governor Gavin Newsom visited Leimert Park in OSB. He walked
 around, spoke to people, participated in a planned protest, and an interview with the media. He also
 went to visit the Community Based Organization -Community Build in Leimert Park. He was
 accompanied by Mark Ridley-Thomas. The OSB Command Staff and officers facilitated this visit to
 ensure the Governor’s safety. The event remained peaceful and no issue arose from the Governor’s
 visit.

                                                     The City began to see a slight decrease in criminal
                                                     activity, but officers remained vigilant. This was
                                                     rewarded when, for example, officers near 2nd and
                                                     Spring Streets found a handgun in a planter near a
                                                     planned protest for the day. Units responded and
                                                     canvassed the area for additional weapons to
                                                     maintain the safety of protesters and officers who
                                                     were in the area that day.

                                                     At 12:30 p.m. the Mayor’s Curfew Order was
                                                     revised. The curfew was pushed back to 9:00 p.m.
                                                     All other details of the Order remained the same.

 By the afternoon, the Downtown Area had approximately 8,000 protesters. The protest was largely
 peaceful.

 Nonetheless, officers encountered another new tactic -- drones. Individuals within the crowd were
 using drones to fly over the protest. This caused safety concerns for the Air Unit because the drones
 could collide into the Air Unit potentially causing a crash and injury to officers and community
 members. As a result, the Air Unit was continuously updated on the drones in the area.

 Despite the overall tenor of the peaceful protests, there were several isolated incidents of criminal
 activity, predominately within the evening hours. As crowds diminished in the evening hours, the
 protesters that remained started to become hostile. At about 8:05 p.m., a crowd of approximately 500
 began to surround the National Guard Downtown. Officers were called to assist and as they arrived,
 the crowd started throwing rocks, bottles, and other harmful items at the officers.

 In OWB, individuals reported looting in various locations (e.g., Shiekh Shoes, Walgreens, a Fed Ex
 Truck with packages) including, but not limited to, Hollywood Area. Officers continued to use the
 curfew order as a useful tool to make arrests, thereby deterring more significant criminal activity.




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        Crimes and Arrests

 By the fifth day of Department mobilization, a significant decline in criminal activity and arrests
 occurred. There were 55 arrests related to the Civil Unrest. Most were for Curfew Violations.

        Analysis

 Although the violence and criminal behavior were still declining, the Department maintained a high
 deployment level because George Floyd’s memorial was scheduled to take place on June 4, 2020.

 As had been seen in previous days, new tactics continued to be deployed by individuals within the
 crowd and the Department had to adjust quickly. On June 3, 2020, the protestors used drones to
 oversee police tactics and deter Air Units from flying overhead. Personnel remained in contact with
 the Air Units for flight safety and attempted to locate and arrest drone operators with little success.
 Anti-drone technology, used by the Los Angeles Port Police, would have been beneficial during the
 civil unrest. (See Chapter 8 – Critique No. 19.)



       Thursday, June 4, 2020


        Outside Los Angeles – George Floyd’s Memorial Service was Held. Officers in Other Cities
                              Were Suspended for Aggressive Acts.

 George Floyd’s memorial service was held in Minneapolis.

 Officers in Buffalo, New York, were suspended after they are captured on video, shoving a 75-year-old
 man to the ground causing the man to sustain an injury to his head.


        Inside Los Angeles – Demonstrations and Violence Diminished. The Curfew was Lifted.


 The City continued to see a decline in activity – both in terms of demonstrations and incidents of
 criminal activity. The demonstrations were predominately peaceful in nature. The Department
 continued with its low-profile approach and began to look at deployment needs to determine when to
 conclude the Department’s mobilization.




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 Protests were scheduled predominately in OCB. All were scheduled in the early afternoon hours. The
 crowds began forming at Newton Station at approximately 10:53 a.m., at City Hall at approximately
 11:39 a.m., and at Hollenbeck Station at 1:24 p.m. The Newton Protest had minimal turnout with
 approximately 15-20 protesters all of who were peaceful throughout the day. The Hollenbeck protest
 began as scheduled and ended by about 3:10 p.m.

 At 4:40 p.m. the Mayor rescinded all curfews
 within the City.

 As the evening hours approached, the Downtown
 Area was the main hub of demonstration activity.
 By 8:04 p.m. a crowd estimated at 4,000 was
 maneuvering throughout the Downtown
 Area. There were a handful of incidents where
 protesters threw objects at officers, but overall,
 there was a significant decrease in violence.


        Crimes and Arrests

 On June 4, 2020, there were 20 arrests related to the Civil Unrest, predominately Curfew Violations
 that occurred in the early morning hours of June 4, 2020, while the curfew was still in place. There
 was only one felony arrest. It was for Assault with a Deadly Weapon.


        Analysis

 The Department stayed mobilized and alert throughout the day due to George Floyd’s Memorial
 service held in the early afternoon hours. Several protests were scheduled throughout the City and all
 remained peaceful. The Curfew Order was rescinded as violence and criminal behavior had
 significantly declined.




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    Friday June 5, 2020 – Sunday June 7, 2020



        Outside Los Angeles – Global Rallies Continued

 Global rallies continued outside the United States from Sydney to London.

        Inside Los Angeles – Demonstrations and Criminal Actively Decreased

 Communications Division continued to disseminate safety alerts to personnel. For example,
 Communications Division received an emergency text stating, “We are the peace rally, and we are
 going to kill you.” Similarly, RHD received information of an individual planning to bring an assault
 rifle to Los Angeles, and another individual setting a mannequin dressed up as a police officer on fire.

 On June 6, 2020, the Department received information that another large protest would be occurring at
 Pan Pacific Park. The Department was particularly cautious in its approach to this event due to the
 level of violence that had previously accompanied the protest at Pan Pacific Park. The Department
 planned accordingly and had resources on hand in case officers were met with violence.

                                                         At approximately 2:55 p.m., a crowd of 1,500
                                                         protesters overtook the street as they marched
                                                         westbound on Beverly Boulevard towards West
                                                         Hollywood. The crowd maintained a vocal but
                                                         largely lawful demeanor. This peaceful
                                                         demeanor was in stark contrast to the protest at
                                                         Pan Pacific Park the week before. The
                                                         Department planned to have a hands-off
                                                         approach if the event remained peaceful. It did.
                                                         There were no injuries, damage, or arrests as a
                                                         result of the protest that took place on June 6,
                                                         2020.

 In the Valley, National Guard soldiers found pallets of rocks and bricks surrounding the Westfield
 Fashion Square’s perimeter. The OVB quickly assigned officers to assess if there was any criminal
 intent in placing the pallets in this area. The OVB also had a few demonstrations throughout the
 Valley, the largest being a crowd of approximately 400-500 who were protesting at Nordhoff




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 Boulevard and Reseda. All demonstrations were peaceful and did not require police intervention.
 There was minimal other activity reported in the Valley Area.

 On June 7, 2020, in Hollywood, there was a protest of approximately 15,000 participants. This event
 was pre-planned and hosted by entertainer YG and Black Lives Matter. It was one of the largest
 events during the Civil Unrest.

 During this event, the Department deployed officers to the exterior perimeter, out of sight of attendees.
 The Air Unit monitored the event and
 crowd from a high altitude as to not bring
 attention to themselves. Officers were
 instructed to engage with the crowd only
 if the Air Unit observed any escalation
 and criminal activity occurring. This
 tactic, along with the Department’s
 relationship with event organizers who
 successfully managed the crowd, led to
 minimal issues. The LAPD personnel
 were able to facilitate the protesters’ First
 Amendment rights.

 As the City was on a steady decline of
 criminal activity involving the Civil
 Unrest, Mayor Garcetti, Chief Moore and
 the EOC determined that the City no
 longer needed the National Guard. The National Guard returned to staging and stood down from
 deployment on Saturday, June 6, 2020.

 On Sunday, June 7, 2020, the National Guard was demobilized from the incident and returned to home
 bases.


          Crimes and Arrests

 From June 5, 2020 through June 7, 2020, there were approximately 12 arrests related to the Civil
 Unrest. All of them were misdemeanors.




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 Analysis

 Media outlets and social media postings went viral with images of police and protesters. The
 Department began to be scrutinized for its use of less-lethal force during the Civil Unrest. The
 Department explained that the level of force used by the LAPD escalated in response to the violence
 and intensifying destruction. Similarly, the Department rapidly de-escalated force as the protests
 returned to a peaceful posture. The Department reiterated that it encouraged peaceful protesting and
 condoned the violence that occurred during the prior days.

 Despite media outlets depicting violence at the hands of police, on June 7, 2020, the Department
 facilitated the largest demonstration during the Civil Unrest. There were no significant issues. By
 limiting the number of visible resources, contacting the protest organizer, and providing appropriate
 traffic control, the demonstration in Hollywood Area remained peaceful allowing individuals to
 express their First Amendment rights. This success, as well as the context of other actions remains
 largely untold, and the Department’s media section must continue to provide media outlets, traditional
 and non-traditional, with information even during unusual occurrences. (See Chapter 8 – Critique No.
 26.)




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                                                                   Source: Axel Koester




                                Chapter 2:
                                Costs – Injuries, Property
                                Damage & Other Costs
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 INJURIES
        Department Personnel:

 Multiple officers sustained injuries because of the Civil Unrest. On-duty officers reported
 approximately 106 demonstration-related injuries during the period of May 27, 2020 through
 June 7, 2020. This number does not account for minor
 injuries that were not reported by officers while working the
 Civil Unrest. Injuries varied from minor to serious and
 included strains, contusions, lacerations, bone fractures, and
 a gunshot wound. There were approximately 97 assaults or
 batteries on police officers. Five of the assaults included the
 attempted murder of a police officer.

 There were additional assaults with a deadly weapon on a
 police officer which included assaults from rocks, bottles,
 bricks, concrete, bottles of urine, dry ice bombs, fireworks,
 lasers, and gunfire. The officers that were injured as a direct
 result of the Civil Unrest, including those that were
 hospitalized, are expected to recover from their injuries.

 Following the Civil Unrest, the Department also saw an
 increase in LAPD personnel with COVID-19.

        Other Agencies:

 At this time, none of the agencies who rendered mutual aid to the LAPD have reported any injuries
 while assisting the Department during the Civil Unrest.

        Angelenos:

 Approximately 55 people reported to the Department that they sustained injuries from law enforcement
 officers as a result of the Civil Unrest. Of the 55 injuries, 17 were described as serious bodily injury.

 There have been no reported deaths.

 Each citizen complaint against the Department and its personnel, including those involving injuries, is
 investigated by Internal Affairs Group. Moreover, Force Investigation Division is investigating all
 categorical uses of force and complained of injuries related to uses of force. The details of each citizen
 complaint and use of force investigation are not included in this Report due to ongoing investigations
 and litigation.




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 PROPERTY DAMAGE
        Private Property

 During the Civil Unrest, there were approximately 279 reported cases of looting and 911 reports of
 burglary documented throughout the City. In an effort to obtain an accurate assessment of the damage
 that was incurred by the City and citizens of Los Angeles, Department personnel contacted several
 private, local, and federal entities. These entities included the Insurance Information Institute, the
 National Association of Insurance Commissioners, Los Angeles Department of Building and Safety
 (LADBS), the California Department of Insurance, and the Federal Emergency Management Agency
 (FEMA).

 The Insurance Information Institute, the National Association of Insurance Commissioners, the
 California Department of Insurance, and FEMA, all advised that they did not have any data related
 specifically to the damages that were incurred during civil unrest in Los Angeles.

 At the time of this report the LADBS had inspected approximately 121 privately owned locations that
 were damaged. The following information was provided by the LADBS and reflects a summary of
 statistics for buildings damaged during the Civil Unrest. The cost estimates provided are for structure
 damage only and do not include the value of the contents in the structure.

                                                   Number
    Type of Building           Inspected                                     Estimated Cost
                                                   Damaged
       Residential                  2                 2                        $80,000.00
       Commercial                  90                90                       $2,487,500.00
      Un-Specified                 32                   29                      Unknown
          TOTAL                   124                   121                   $2,567,500.00

 NOTE: Extensive property damage (including the loss of structures) occurred primarily in Central,
 Hollywood, Wilshire, and Van Nuys Areas.

 In a continued effort to provide an accurate estimate of damage, Department personnel reviewed all
 crime reports generated due to the Civil Unrest. Although some reports are still pending estimates
 from the victims, an estimate of the private property damaged based off these reports is approximately
 $16,561,666. For purposes of this document, damaged property can mean broken/tampered doors,
 smashed windows, damages to building infrastructures, interior walls, or equipment for interior of
 businesses.

 In addition to the property damage, many protesters removed property from the locations. An initial
 assessment based on victim’s estimates is that $150,397,571 worth of property was stolen by looters.


 The information, broken down by bureau can be seen in the following chart:
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 Thus, based on reports to the Department, the amount of
 private property loss due to the Civil Unrest is close to
 $167,000,000.20

 Among the property taken by looters was pharmaceutical
 medications. According to the Drug Enforcement
 Administration (DEA), 52 pharmacies in the City of LA
 were looted during the Civil Unrest. Out of those 52
 locations, approximately 568,781 doses of controlled
 substances were stolen or unaccounted for (including
 oxycodone, Xanax, amphetamines, and clonazepam).
 The DEA estimated that street value of these drugs to be
 approximately $1,267,175.

         City Property

 In addition, to private property damage, there was significant damage to City property. A total of 142
 police vehicles were damaged during the Civil Unrest. Eight police vehicles were damaged beyond
 repair. The replacement cost for these eight police vehicles is $640,000. The cost to repair the
 remaining damaged vehicles was approximately $158,593. Including additional expenses, the



 20
   Neighboring cities of Beverly Hills and Santa Monica reported extensive damage and property loss. Beverly Hills
 estimated $281,970 in damage/loss and Santa Monica had approximately $5 million in loss/damage. The information about
 damage and loss was provided to the Department by the cities themselves.
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 Department’s total repair costs was $836,589. The Motor Transport Division was able to reduce the
 actual cost by about 10 percent because they were able to repair vehicles with used parts from
 unsalvageable vehicles. Additionally, the Department used approximately $30,000 more in fuel than
 in a usual 10-day period.

 In addition to City vehicles being damaged, several City-owned properties were impacted as well,
 predominately by graffiti and broken windows. Below is an estimate of those damages.

      City Building Location            Description of Damage                   Estimated Cost
                                    Derogatory graffiti towards
           Highland Park                                                              $472
                                    police officers
                                    Windows broken at
                                    administration building, Olive
          Pershing Square           Street community room, and                       $7,325
                                    North window. Graffiti
                                    throughout.
                                    Graffiti and damage to
          Pan Pacific Park                                                           $1,244
                                    basketball court
   Paxton/Ritchie Valens Park       Graffiti                                           $472
      LAPD Headquarters             Broken pane window                               $14,770
  Metropolitan Detention Center     Vandalism to exterior camera                       $435
     LA Convention Center           Graffiti & facility cleaning                    $421,920
             Library                Graffiti & Vandalism                              $1,960
      Public Works Board            Vandalism & Graffiti                             $24,929
            TOTAL                             9 Buildings                           $473,527

 The overall cost of damage to City property, both vehicles and buildings, was approximately
 $1,310,116.

 For comparison purposes, in the 1992 Los Angeles Civil Unrest the damage to City property was
 approximately $362,946 or the equivalent of about $676,344 in 2020 dollars. In 1992, approximately
 21 City-owned/leased buildings were damaged. In 2020, there were nine City-owned/leased buildings
 damaged. In 1992, four police vehicles were unrepairable, in the 2020 Civil Unrest eight police
 vehicles were beyond repair.

 During the Civil Unrest, the Department brought in all available personnel and canceled all scheduled
 days off and vacations. In doing so, the City spent a large amount of money in keeping Department
 personnel for long periods of time to protect and serve the City. The Department used approximately
 516,236 hours in overtime related to the Civil Unrest. The total overtime cost for all employees during
 this period was $50,169,029.




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        Clean Up and Removal of Debris

 Due to the multiple days of Civil Unrest, the City faced a massive amount of destruction and debris left
 behind by protesters. Each night, the Los Angeles Bureau of Street Services and the Los Angeles
 Sanitation Department were both tasked with clearing all the debris that was left behind on City
 property (roadways, sidewalks, parks, etc.). At the end of the Civil Unrest, the LA Bureau of Street
 Services estimated that they had cleared over 626 cubic yards of debris (approximately 15.65 tons),
 which is equivalent to approximately 53 dump trucks. Los Angeles Sanitation estimated that its
 Department had cleared approximately 1,150 tons of debris from City property during the Civil Unrest
 period. In total, over 130 dump trucks worth of debris was removed from City streets. It is unknown
 what the costs to the City was for the cleanup.

        Vehicle Impounds

 Approximately 320 vehicles were impounded related to the Civil Unrest between May 27, 2020
 through June 7, 2020. The highest number of vehicle impounds occurred between May 31, 2020
 through June 2, 2020. Vehicle impounds proved effective as it decreased the number of car caravans
 used to loot businesses and helped quell the violence throughout the City.

 On June 9, 2020, the City Council voted and required the Department to release all vehicles
 impounded during the Civil Unrest without requiring payments from vehicle owners. In addition, the
 City Council required the Department to pay any costs regarding the impounds. The Department
 reimbursed the registered owners approximately $28,807 for vehicles that were impounded due to
 curfew violations.

 The below chart depicts the total estimated costs that the City of Los Angeles incurred due to the Civil
 Unrest.

                                      Civil Unrest by the Numbers
                      Private Property Damage                 $19,129,166.00
                      Public Property Damage                   $1,310,116.00
                  Property Value Stolen by Looters              $150,397,571.00
                       Street Value of Stolen
                                                                  $1,267,175.00
                          Pharmaceuticals
                         Overtime Expenses                       $50,335,320.53
                  Debris Removal (Approximate in
                                                          1165.65 tons / unknown cost
                               tons)
                               Fuel Used                             $30,000
                        Tow Reimbursements                         $28,807.15




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                                                                    Source: Axel Koester




                                  Chapter 3:
                                  Crimes, Arrests & Field
                                  Jails
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 CRIMES
 Between May 27, 2020 and June 7, 2020, the City of Los Angeles experienced approximately 6,911
 crimes overall throughout the City. Out of those 6,911 Crime Reports, approximately 1,855 arrests
 were made overall.21

 Daily violent crime peaked on Saturday, May 30, 2020. After June 1, 2020, violent crime substantially
 decreased. The below Common Crime Trends is a chart that identifies three common crimes related to
 the Civil Unrest by date.




 Comparing May 27 through June 7, 2019 with May 27, through June 7, 2020, there was a significant
 increase in criminal activity in 2020, specifically in Burglaries, Vandalisms, and Assaults on Police
 Officers. The below chart shows overall total number of crimes in particular categories within the City
 and not specifically Civil Unrest crimes.

         Common Civil Unrest Crimes                         2020                   2019              Percent Change
              459 PC (Burglary)                              911                    396                   130%
             594 PC (Vandalism)                              822                    633                    30%
      231 PC (Assaults on Police Officers)                   176                     5                   3420%



 21
   This report does not focus on crime unrelated to the Civil Unrest. The reader should be aware that the Department
 continued to respond to other crime during this period with a minimum operating force. As other crimes are still being
 investigated and prosecuted, this Report does not comment on those crimes. This is an overall statistic and does not
 differentiate between Safe LA arrests/crimes and regular crime/arrests.
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 ARRESTS
 On May 29, 2020, Command Staff sought the advice of the City Attorney’s Office on what arrest
 sections to use during the civil unrest. This conversation focused on California Penal Code (CPC)
 Sections 409 (failure to disperse) and 415 (disturbing the peace). Individuals were arrested for the
 misdemeanor violation of 409 CPC based on probable cause to believe that arrested individuals failed
 to disperse after orders were given.22 The same individuals were then transported and cited for a
 violation of Los Angeles Municipal Code Section 80.02. Section 80.02 is an infraction and citation
 issued to individuals is completed on a Traffic Notice to Appear. Such a citation allowed officers to
 process large amounts of people through field jails. The field jails were not set up to book mass
 arrestees and detain them for long periods of time. Additionally, citing an individual for an infraction
 meant that they would not have a misdemeanor arrest on their record. Later, the City Attorney’s
 Office dismissed the individuals cited with the infractions.

 Daily Civil Unrest arrests surged to a high on June 1, 2020, but then declined thereafter. The
 substantial decline in arrests demonstrated a strong shift to lawful protesting from the riotous conduct
 observed early in the demonstrations.




 22
   The Department dispersal order is read verbatim in both English and Spanish over an amplified speaker. The dispersal
 order specifically states, “Section 409 of the Penal Code prohibits remaining present at an unlawful assembly. If you
 remain in the area which was just described, regardless of your purpose in remaining, you will be in violation of Section
 409.” Routes for dispersal and reasonable time frame are also given to the crowd. See Emergency Operations Guide,
 Volume 5 – Guidelines for Crowd Management and Crowd Control, 2009, p. 43.
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 As stated earlier in the narrative section, the Civil Unrest developed into a pattern. There was little
 criminal activity in the morning. Peaceful marches, facilitated by the LAPD, would take place in the
 afternoon. Then, as the day progressed, and the sun began to set, criminal elements would join the
 marches and protests would devolve into demonstrations mixed with violence and disorder until the
 early hours of the next day. The chart below depicts the timing of the arrests.




                                               Felony Arrests

 From May 28, 2020 through June 7, 2020, the Department reported a total of approximately 391 felony
 reports. The RHD investigated and reviewed all 391 felony reports and determined only 367 of those
 were related to the Civil Unrest.

 Robbery Homicide Division evaluated each report on seven categories:
    x Arrest charge;
    x Unusual Occurrence box utilized;
    x Filing status;
    x Probable cause;
    x Body worn video available;
    x Body worn video activated; and,
    x Presence of surveillance cameras was noted.

 Detectives identified reports as related to the Civil Unrest if the arrest charge and activity which lead to
 the arrest were in direct response to the Civil Unrest. As an example, detectives determined it was
 connected to the Civil Unrest if a suspect was located within a business that was broken into and was

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 in possession of property belonging to the business or the suspect was arrested for looting in direct
 correlation to the Civil Unrest.

 On May 28, 2020, there were no felony arrests made in conjunction with the Civil Unrest.

 On May 29, 2020, the Department made only three felony arrests. One arrest was for Looting, another
 for Criminal Threats, and the last for Assault with a Deadly Weapon on a Police Officer.

 On May 30, 2020, along with an increase in the Civil Unrest activity, the number of felony arrests
 made by the Department increased to 72. These arrests were primarily for Looting. There were also
 several other felony arrests due to Civil Unrest activity, including three for Weapons Violations, five
 for Burglary, one for Assault with a Deadly Weapon, one for Robbery, and one for Attempt Murder.

 On May 31, 2020, the Department experienced its largest increase in felony arrests associated with the
 Civil Unrest. The Department made 134 felony arrests, and as on the previous night, most of the
 arrests were for Looting. The Department also made several other felony arrests including two
 Weapons Violations, three Burglary, two Robbery, five felony Vandalism, and nine Receiving Stolen
 Property.

 On June 1, 2020, the Department saw a slight decrease in the number of felony arrests due to the Civil
 Unrest. The Department made 112 felony arrests. The primary felony charge again was Looting;
 however, there were seven arrests for Weapons Violation, six arrests for Burglary, and three arrests for
 Assault with a Deadly Weapon on Police Officers. Other felony bookings included one for Narcotics
 Violation, one for Assault with a Deadly Weapon, one for Receiving Stolen Property, and one for
 Arson.

 On June 2, 2020, the Department experienced a significant decrease in the number of felony arrests, as
 the total for this day was 34. Looting remained the primary booking offense, with other felony arrests
 including one for Weapons Violation, one for Assault with a Deadly Weapon, one felony Vandalism,
 and one for Assault with a Deadly Weapon on a Police Officer.

 On June 3, 2020, the Department continued to see a decrease in the number of felony arrests due to the
 Civil Unrest. This day’s total of four felony arrests included one for Looting, one for Assault with a
 Deadly Weapon, and two for Attempted Burglary.

 On June 4, 2020, the Department made only one felony arrest for Assault with a Deadly Weapon with
 a Firearm.

 On June 5, 2020, there were no felony arrests made in conjunction with the Civil Unrest.

 On June 6, 2020, the Department made a total of seven felony arrests, all for Looting.

 On June 7, 2020, there were no felony arrests made in conjunction with the Civil Unrest.




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                Misdemeanor/Infraction Arrests

 From May 28, 2020, through June 7, 2020, approximately
 3,908 misdemeanor and infraction arrests were made related
 to the Civil Unrest. Between May 29, 2020 and
 May 30, 2020, the Department used Los Angeles Municipal
 Code Section 80.02 when citing and releasing individuals
 from custody.

 On May 28, 2020, there were three misdemeanor and
 infractions arrests made in conjunction with the Civil Unrest.

 On May 29, 2020, the Department made 261 misdemeanor
 and infraction arrests. The majority of the arrests were for
 Failure to Disperse. In addition to those arrests, there was one
 arrest for Resisting Arrest, one for Obstructing, one for
 Vandalism, and one for Battery on a Police Officer.

 On May 30, 2020, the Department saw a large increase in the number of misdemeanor and infraction
 arrests in conjunction with the Civil Unrest. The primary charge for the 783 misdemeanor and
 infraction arrests was for Curfew Violations. Additionally, there were several arrests for Failure to
 Disperse, two for Trespass, one for Probation Violation, one for Mischief, and one for Vandalism.

 On May 31, 2020, the number of misdemeanor and infraction arrests, totaled 585. Curfew Violations
 were the paramount arresting charge due to the Civil Unrest. In addition, there were several other
 arrests, including one for Mischief, one for a warrant, one for Interfering with a Police Officer, and one
 for Operating an Unmanned Aerial Vehicle.

 On June 1, 2020, the Department saw the largest increase in misdemeanor and infraction arrests related
 to the Civil Unrest. The Department made a total of 1,266 misdemeanor and infraction arrests, mostly
 for Curfew Violations.

 On June 2, 2020, the Department made total of 935 misdemeanor and infraction arrests. The primary
 arrest charges were Curfew Violations. There were also
 three arrests for Vandalism, one arrest for a misdemeanor
 warrant, two arrests for Speed Contest, and one arrest for
 Driving without a License.

 On June 3, 2020, the Department experienced its largest
 decline in the number of misdemeanor and infraction
 arrests, falling from 935 to 51 arrests. Of the 51, most
 were for Curfew Violations, notwithstanding one arrest for
 Vandalism, one arrest for Narcotics Violation, and one
 arrest for Failure to Stop.



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 On June 4, 2020, the Department continued to see a decrease in the number of misdemeanor and
 infraction arrests. Of the 19 total arrests, 18 were for Curfew Violations, one was for a Narcotics
 Violation.

 On June 5, 2020, there were three misdemeanor arrests; two for Possession of an Imitation Firearm and
 one for Loitering.

 On June 6, 2020, the Department made one misdemeanor arrest for Brandishing a Firearm.

 On June 7, 2020, there was one misdemeanor infraction arrest made in conjunction with the Civil
 Unrest.

 From May 28, 2020, to June 7, 2020, the total number of arrests made by the Department, including
 Infractions, due to the Civil Unrest was 4,275.



 FIELD JAILS
 During the Civil Unrest, field jails were established beginning May 28, 2020. Most field jails were set
 up at existing Department detention facilities. As protesters were arrested, they were transported to
 designated booking locations. Each respective Bureau had the following booking locations:

    x   Operations-Central Bureau
          o Metropolitan Detention Center (MDC) used May 28, 2020 through June 10, 2020
                  180 North Los Angeles Street Los Angeles, CA 90012
                        x Services Available at the Location:
                              o Bathrooms
                              o Water
                              o Medical Staff

    x   Operations-South Bureau
          o 77th Street Community Police Station used May 28, 2020 through June 10, 2020
                  7600 South Broadway Los Angeles, CA 90003
                        x Services Available at the Location:
                              o Bathrooms
                              o Water
                              o Medical Staff

    x   Operations-West Bureau
          o Hollywood Community Police Station used May 30, 2020 through May 31, 2020
                  1358 North Wilcox Avenue Los Angeles, CA 90028
                        x Services Available at the Location:
                              o Bathrooms
                              o Water
          o UCLA - Jackie Robinson Stadium was used June 1, 2020 at 1:00 p.m. through

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                     June 2, 2020 at 7:00 a.m.
                         100 Davis Avenue Los Angeles, CA 90049
                                x Services Available at Location:
                                        o Bathrooms (2 portable toilets)
                                        o Water

        x   Operations-Valley Bureau
              o Grace Community Church used June 2, 2020 through June 4, 2020
                      13248 Roscoe Boulevard Sun Valley, CA 91352
                            x Services Available at the Location:
                                   o Bathrooms
                                   o Water
                                   o Medical Staff

                 o Van Nuys Community Police Station used May 28, 2020 through June 10, 2020
                       6240 Sylmar Avenue Van Nuys, CA 91401
                            x Services Available at the Location:
                                 o Bathrooms
                                 o Water
                                 o Medical Staff

 During the Civil Unrest over 4,000 arrestees went through these designated field jails. The field jails
 were staffed with sworn personnel and Custody Service Division (CSD) personnel who booked,
 processed, and transported arrestees throughout the City. 23 During the several days of protests, a
 larger than expected number of people were arrested for a variety of charges. The transportation of the
 arrestees was quickly overwhelmed which caused delays in processing the arrestees. At times
 personnel and arrestees had to wait for extended periods of time for transportation. This caused
 significant deployment and tracking issues.




 23
      CSD is predominantly a civilian division that oversaw processing all Department arrests.
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                               Chapter 4:
                               Use of Force and Less-Lethal
                               Options for Crowd Control
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 USE OF FORCE
 Due to on-going litigation and internal investigations, this Section does not discuss specific details or
 outcomes of any incidents relating to the use of force.

 The Department’s guiding principle when using force is reverence for human life. Officers are taught
 to attempt to control an incident by using time, distance, communication, and available resources to de-
 escalate the situation whenever it is safe, feasible and reasonable to do so. 24 During the Civil Unrest,
 officers did their best to de-escalate each situation they encountered. There were, however, instances
 when force was used.

 Departmental policy characterizes the use of force in two forms: deadly force and non-deadly force.

           Deadly Force

 Deadly force shall only use force upon another person when the officer reasonably believes, based on
 the totality of circumstances, that such force is necessary for either of the following reasons:

       x   To defend against an imminent threat of death or serious bodily injury to the officer or to
           another person; or,
       x   To apprehend a fleeing person for any felony that threatened or resulted in death or serious
           bodily injury, if the officer reasonably believes that the person will cause death or serious
           bodily injury to another unless immediately apprehended.

 Incidents of deadly force are investigated as a Categorical Use of Force (CUOF). The Force
 Investigation Division investigates all CUOF incidents. The categories for CUOF include, but are not
 limited to:

       x   An incident involving the use of deadly force (e.g. discharge of a firearm) by a Department
           employee;
       x   A use of force incident resulting in an injury requiring hospitalization commonly referred to as
           a law enforcement related injury (LERI);
       x   All intentional head strikes with an impact weapon or device (e.g. baton, flashlight, etc.) and all
           unintentional head strikes that result in serious bodily injury, hospitalization or death. 25

 During the Civil Unrest, there was no loss of life. Between May 27 and June 6, 2020, there were five
 CUOFs reported.




 24
      See Los Angeles Police Department Manual, Section 1/556. 10, Policy on Use of Force.
 25
      See Los Angeles Police Department Manual, Section 3/792.05, Definitions- Categorical Use of Force.
                                                             71
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          Non-Deadly Force

 Non-Deadly Force is defined as only that force which is “objectively reasonable” to:

      x   Defend themselves;
      x   Defend others;
      x   Effect an arrest or detention;
      x   Prevent escape; or;
      x   Overcome resistance.

 Non-Deadly Force is investigated as a Non-Categorical Use of Force (NCUOF) and is investigated by
 an uninvolved supervisor. All NCUOFs are adjudicated through an employee’s chain of command
 with review and oversight of Critical Incident Review Division.

 In a crowd control situation, an individual NCUOF report is not required when officer(s) become
 involved in an incident where force is used to push, move, or strike individuals who exhibit unlawful
 or hostile behavior and who do not respond to verbal directions by the police. 26 In these instances,
 LAPD policy dictates that supervisors document the force used on the Incident Command System,
 Form 211/214, or as directed by the IC. A NCUOF report is only required when an officer(s) becomes
 involved in an isolated incident with an individual during a crowd control situation, which goes beyond
 the mission of the skirmish line.

 Thus far, approximately 36 situations are being investigated as NCUOFs. Because the Department
 continues to strive for transparency and investigate each complaint that was associated with the Civil
 Unrest, this number may increase.

 During the Civil Unrest, there were accounts of force being used in crowd control situations which
 were documented in the appropriate manner. Documented uses of force ranged from, but were not
 limited to, forward push; takedown; baton; beanbag shotgun to 40mm less-launcher; and, deadly force.

 Less-Lethal munitions were a common tool used during crowd control situations against protesters
 during the Civil Unrest.



 Less-Lethal Munitions
 Types of Less-lethal Munitions Used
 The Department used less-lethal munitions as officers were met with increasing levels of violence from
 protesters. These munitions included: the 37mm less-lethal foam rubber baton; the 40mm Less-Lethal
 Launcher; the Beanbag Shotgun; and, the Stinger Grenade .60 cal.



 26
   See Los Angeles Police Department Manual, Section 245.05, Categories and Investigative Responsibilities for Use of
 Force.
                                                           72
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        37mm Launcher, Deploying the 37mm Foam Baton Round

 The foam baton round consists of five foam rubber projectiles
 that are discharged at once. The 37mm launcher has a smooth
 bore barrel with standard iron sights which must be manually
 unloaded and reloaded after each firing. The foam baton
 rounds are skip fired in front of the crowd and are not fired
 directly at an individual.

 The recommended range is from five to 10 feet with a maximum effective range of 50 feet.


        40mm Less-Lethal Launcher, Deploying the 40mm Exact Impact Sponge Round

 The 40mm launcher has a rifled barrel and is
 equipped with a holographical sighting system that
 uses a single foam projectile, which must be
 manually unloaded and reloaded after each firing.
 Specifically, after each foam projectile is expelled:
 the barrel must be manually opened; the used
 portion of the rubber projectile must be removed;
 the new rubber projectile must be inserted; and the barrel must then be re-closed. This means that the
 40mm launcher cannot shoot twice without being reloaded manually. The barrel is green to signify its
 less-lethal status. The 40mm launcher can only carry three additional foam projectiles, pictured below.
 The 40mm launcher may be used in crowd control situations against a single subject as a target-
 specific less-lethal option.

 The optimal range is five to 110 feet.


        Beanbag Shotgun, Deploying the Beanbag Super-Sock Round

 The beanbag shotgun has a rifled barrel, and side saddle
 ammunition holder. The beanbag shotgun uses a beanbag
 super-sock round with a 12-gauge cartridge containing a shot-
 filled fabric bag as its ammunition. It has a green slide handle
 and stock to signify that it is less-lethal.

 The optimal range is five to 30 feet.




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        The Stinger Grenade, Deploying .60 cal. Rubber Balls

 The Stinger is a tool used by SWAT only and only with approval of a Commander or above. The
 Stinger is a Sting Grenade .60 cal. rubber ball diversionary device that produces approximately 130
 decibels (dB) at five feet. In addition to the light and sound the stinger grenade is designed to disperse
 approximately 25 .60 caliber rubber balls in a 360-degree pattern.

 The Department continues to explore new technologies and less-lethal options for use in both patrol
 and during crowd control situations. At the present time, the Department has yet to discover or invent
 any more accurate and effective less-lethal options.


        Distribution and Use of Less-Lethal Rounds During the Civil Unrest

 Beginning May 29, 2020, personnel increased their use of less-lethal munitions to address the increase
 in violence. As a result, the CP requested the remaining stock of less-lethal rounds from In-Service
 Training Division to be distributed among personnel. The CP received a total of 28,169 rounds of less-
 lethal munitions broken down as follows:

                x   8,127 - 37mm rounds;
                x   7,142 - 40mm rounds; and,
                x   12,900 - beanbag rounds.

 Beginning on May 29, 2020, the CP distributed those rounds to both OWB and OCB personnel
 specifically for the Civil Unrest.

 On June 18, 2020, Personnel and Training Bureau conducted a review and learned that approximately
 11,305 rounds of less-lethal munitions were used during the period of Civil unrest broken down as
 follows:

                x   4,377 - 37mm rounds;
                x   2,621 - 40mm rounds; and,
                x   4,307 - Beanbag Shotgun rounds.




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                                      Chapter 5:
                                      LAPD Reforms

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 SUMMARY OF RELEVANT LAPD REFORMS
 The LAPD is committed to seeking solutions for emerging problems and challenges that involve law
 enforcement. The Department remains dedicated to building trust within the community by enhancing
 community engagement and transparency. In these goals, the Department has made significant strides
 in diversity and inclusion within and outside the Department, addressing officer accountability,
 confronting issues of implicit bias, and providing officers with the training needed to de-escalate
 hostile and novel incidents. These reform efforts, strategies, and improvements are described in detail
 below.

  I.         Reform Efforts During and Post 2020 Civil Unrest


        x   Board of Police Commissioners Reforms (BOPC) - On June 3, 2020, the Board of Police
            Commissioners announced an aggressive reform agenda. These reforms included the following:

                o    Reviewing and revising the Police Department budget;
                o    Enhancing community neighborhood-based policing;
                o    Modifying enforcement strategies;
                o    Suggesting meaningful reformative legislation;
                o    Enhancing police training;
                o    Broadening risk management assessments;
                o    Expanding transparency and accountability efforts; and,
                o    Implementing Senate Bill 230 requirements (See Appendix Form L for detailed
                     release).

        x Mental Health Intervention Training (MHIT) – Historically, the Department has made
            mental health training part of its overall curriculum. During and after the Civil Unrest, the
            Department redoubled its efforts including:
                o On June 3, 2020, the Mayor’s Office announced that the Department would enhance
                  police training, expanding MHIT to train 900 officers in 2020, from 700 in 2019. As of
                  December 31, 2020, 820 officers were MHIT-trained (91 percent to the Department’s
                  900-officer goal). From January 1, 2020 through February 2021, 82 percent of crisis
                  calls were being handled by an MHIT-trained officer.

                o On December 9, 2020, the Department revised its policy on Contacts with Persons
                  Suffering from a Mental Illness.27




 27
      “Contact with Persons Suffering From Mental Illness,” Special Order No. 30, December 9, 2020.
                                                             77
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             o On January 14, 2021, the LAPD published a notice on the implementation of the Mental
               Evaluation Unit (MEU) Systemwide Mental Assessment Response Team (SMART) co-
               response model. This notice advised that SMART units will be dispatched to mental
               illness calls meeting specific criteria at the same time as the patrol unit assigned the
               call.28

             o In February 2021, the MEU’s co-response model was launched.

             o In February 2021, a 9-1-1 Call Diversion Program was launched to have some suicide
               calls diverted to Didi Hirsch’s Suicide Prevention Hotline. A new Roll Call Training
               video to explain MHIT procedures and the new Didi Hirsch call diversion is in
               production and should be introduced by Spring of 2021.

      x   Community Safety Partnership (CSP) Bureau - On June 7, 2020, the Los Angeles Police
          Department created CSP Bureau. Previously
          the LAPD had engaged in community safety
          partnership as part of the Office of
          Operations. The mission of the CSP Bureau
          is to use community relationship strategies
          to strengthen trust between law enforcement
          and the community. Thus far, this Bureau
          has created a community safety advisory
          council at each of the 10 CSP sites. These
          councils include residents, institutional
          partners, and community-based
          organizations. These advisory councils
          address community concerns in shared
          partnership. The CSP Bureau will be responsible for training officers on all aspects of effective
          relationship-building, including forging connections with individual residents and community-
          based organizations. The CSP Bureau works in collaboration with a multi-disciplinary Steering
          Committee with community and City stakeholders. A comprehensive manual is being written
          to codify all CSP procedures with input from the Steering Committee. The CSP Bureau is also
          working to establish a four-day, California Peace Officer Standards and Training (POST)
          certified course for all CSP officers.




 28
  “Implementation of the Mental Evaluation Unit’s Systemwide Mental Assessment Response Team Co-response Model”
 Chief of Police Office Notice 8.2, January 14, 2021.
                                                       78
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        x   Diversity, Equity, and Inclusion Officer
            (DEIO) - On June 19, 2020, Mayor Garcetti
            issued Executive Directive No. 27, 2020 to
            develop and execute a Racial Equity Action
            Plan and appoint a DEIO. The DEIO is
            responsible for examining internal and external
            policing practices. These examinations include
            focused inquiries to remedy structural and
            systemic barriers to create an appropriate
            ecosystem throughout the Department and the
            community. The DEIO has worked in
            collaboration with community advisory groups
            to refine a Department-wide DEI Mission
            Statement. In addition, the DEIO has worked with Training Division and is revising and
            creating new Training Bulletins.

        x   Body-Worn Video (BWV) Updates – The Department began using Digital In-Car Video in
            2009 and BWV in 2015. The Department continues to expand its use of and reliance on BWV.
            Updates in 2020 included:

                o On July 2, 2020, the DOC published a notice to advise officers of the importance to
                  narrate when the violent actions of a crowd result in the use of force, including less-
                  lethal force. This notice includes instruction that officers should identify, by narrating
                  on their BWV, why they are using less-lethal force.29

                o In October 2020, the Department acquired BWV cameras to use in academy training.

        x   Community Stakeholders in Training - Community collaboration was initiated in July 2020
            for assistance with community perspectives and insight into training. This group, Community
            Stakeholders in Training (CSIT) have met monthly with the Director, Police Training and
            Education to review training materials, attend the Days of Dialogue, and generate ideas and
            solutions for training. One solution has included community members being interviewed on
            video for inclusion of community voices in Department training while adhering to the health
            guidelines due to the pandemic.

        x   Divisional History Project and Orientation Days - The Department is in the process of
            creating Divisional History Books at Geographic Areas. The Department will incorporate new
            Electronic History Books online for Department and Community Reference and implement the
            content into a Divisional Training Day for new employees starting at their division. The goal is
            to also incorporate or enhance Community Panels into Divisional Orientation days and expand
            or enhance community members who are willing to come in and participate for community
            panels on Divisional Orientation Days.



 29
      “Narrating on Body Worn Video When Using Less-Lethal,” Office of the Chief of Police Notice, November 2, 2020.
                                                            79
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      x   Use of Force – The Department, in collaboration with the Board of Police Commissioners took
          progressive steps in modifying use of force policies and training significantly ahead and
          beyond the scope of California legislation requirements. In 2020, policies included:

              o On August 26, 2020, the Department published its revised Use of Force Policy ahead of
                requirements of California Senate Bill 230, which became effective January 1, 2021. 30
                The Use of Force Policy included a duty to intercede and report excessive use of force,
                fair and unbiased policing, as well as ensuring the level of force is proportional to the
                seriousness of the suspected offense. Additionally, the policy went further and requires
                officers to report the intentional pointing of a firearm at a person. Thereafter, Campaign
                Zero published #8cantwait, a campaign to alter police departments’ use of force
                policies. In its publication, Campaign Zero shows LAPD in compliance with its eight
                areas of use of force reform.31

              o In September 2020, the LAPD published an updated Use of Force Directive on the
                Beanbag Shotgun. This directive clarified that an officer may use the beanbag shotgun
                as a reasonable force option to control a suspect when the suspect poses an immediate
                threat to the safety of the officer or others. “Less-lethal force options, including the
                beanbag shotgun, shall not be used for a suspect or subject who is passively resisting or
                merely failing to comply with commands. Verbal threats of violence or mere non-
                compliance do not along justify the use of less-lethal force.”32

              o On September 4, 2020, the LAPD posted a Notice on the use of force related to the use
                of lasers against officers. The notice clarifies that “the use of a laser itself shall not
                presumptively constitute a threat that justifies an officer’s use of deadly force. An
                officer that is having a laser used against them should adjust their vision away from the
                laser. Should your vision be disrupted one should communicate, re-deploy and seek
                medical attention if necessary.”33

              o On September 15, 2020, the LAPD published a Notice as a reminder for all Department
                personnel that the concept of the “Twenty-One Foot Rule” is not taught in theory or
                practice by the Department.34 Therefore, relying solely on the “Twenty-One Foot Rule”
                is not consistent with Department training or sanctioned by the Department as it
                pertains to suspects or subject armed with weapons other than firearms. 35




 30
    “Use of Force Policy – Revised,” Special Order No. 23, August 26, 2020.
 31
    https://8cantwait.org
 32
    “Beanbag Shotgun,” Use of Force Tactics Directive No. 6.4, September 2020.
 33
    “Use of Force Related to the Use of a Laser” Personnel and Training Bureau Notice, September 4, 2020.
 34
    The “21-Foot Rule” was a measure of distance that related to the time it would take an officer to recognize a threat, draw
 a sidearm, and fire two rounds center mass against an attacker charging with a knife or other stabbing weapon.
 35
    “Weapons Other than Firearms – Twenty-One-Foot Rule” Office of the Chief of Police Notice, September 15, 2020.


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              o On December 9, 2020, the Department revised its policy related to CUOF
                investigations, reviews, and adjudications. Additionally, the Department banned the use
                of carotid restraint control hold by its personnel. 36

      x   Mobile Field Force Training –After assessing various challenges after the protests in June
          2020, the Department updated its MFF training for sworn personnel.

              o On September 14, 2020, Metropolitan Division began teaching an updated MFF
                training for sworn personnel. This eight-hour course was revised with updated tactics
                and coordinated unit response. This daylong hands-on training allowed personnel from
                the same geographic Area to train together at the same time. The training focused on
                coordinated responses and the tactics to use when handling multiple crowds of
                protesters in several locations. By the end of 2020, at least 4,153 personnel had
                attended. The course was certified by the POST on November 10, 2020.

              o In October 2020, the Department created an MFF Roll Call Training video that was
                viewed by all sworn personnel.

      x   Less-Lethal Munitions Training – In September 2020, Metropolitan Division began training
          additional personnel in the use of the 37mm Launcher. Enhancement training on the use of the
          Beanbag Shotgun and the 40mm Less-Lethal Launcher was also included. This course was
          previously included in the MFF training; however, it was separated to ensure understanding and
          proficiency in less-lethal munitions. The Department will include the 40mm Less-Lethal
          Launcher in its yearly firearm qualification schedule.

      x   Leadership Enhancement and Development Sessions (LEADS) for Command Staff- On
          October 1, 2020, and October 2, 2020, the Emergency Services Division personnel provided
          eight hours of LEADS training for all command staff officers. The training included:

              o Unified Command and Resource Coordination – Emergency Services Division focused
                on coordinating resources when handling multiple incidents of Civil Unrest. Table top
                exercises were used to concentrate on key objectives.

              o Policing History, Culture, Race, and Policy – Drs. Demczuk and Jacobs-Thompson
                presented a four-hour course on how understanding the Department’s history can lead to
                understanding the implicit biases and distrust of police in the Black community.



      x   Preparation for Subsequent Protests – In October 2020, Metropolitan Division in
          collaboration with training staff updated the following source documents and videos:



 36
   “Officer-Involved Shootings or In-Custody Deaths or Injury; Definitions-Categorical Use of Force; and Miscellaneous
 Department Manual Sections Pertaining to the Procedures for Investigating, Reviewing, and Adjudicating Categorical Use
 of Force Incidents – Renamed, Revised, or Deleted,” Special Order No. 29, December 9, 2020.
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                o   Training Bulletin - Rendering Aid;
                o   Training Bulletin - Tactical Hand and Arm Signals;
                o   Training Bulletin - Mobile Field Force Part 1: Organization and Assembly;
                o   Training Bulletin - Mobile Field Force Part 2: Mobile Tactics;
                o   Tactical Directive - Crowd Management, Intervention, and Control; and,
                o   Training Video - Squad Formations.

        x   Racial and Identity Profiling Act – On October 6, 2020, the Office of the Inspector General
            (OIG) presented its independent review of the Department’s stops in 2019 which outlined
            recommendations to the Department’s current policies and procedures. The Department is
            currently working to address each of the OIG’s recommendations.

        x   Laser Protective Eyewear – In October 2020, the Department issued laser protective eyewear
            to all sworn personnel to prevent injuries from green lasers used by protestors.

        x   Consent to Search Advisement – On November 20, 2020, the Department established
            requirements for officers obtaining consent to search a premise, person, personal property or
            vehicle during consensual encounters.37 One of the purposes of this new policy was to increase
            transparency.

        x   Crowd Control Shield Training - Recognizing the challenge of potential violence toward
            officers during protests, the Department acquired new protective shields for crowd control
            purposes. In November 2020, Metropolitan Division started providing crowd control shield
            training for sworn personnel. The training provided personnel with the criteria for the use of
            the shield, deployment, and documentation. In addition to the training that was completed, the
            Department created two crowd control shield training videos that were viewed by personnel.

        x   Reporting Hate Crimes – On December 17, 2020, the Department revised policy pertaining to
            reporting, investigating, and coding incidents motivated by hatred or prejudice. 38


  II.        Previous Innovations in Training and Reforms

        x   Board of Police Commissioners (BOPC) – The BOPC was originally created in the 1920s and
            is comprised of five civilian professionals appointed by the Los Angeles Mayor and confirmed
            by the City Council. The BOPC may serve a maximum of two, five-year terms and their
            priorities include, but are not limited to:

                o Adjudicating all CUOFs;
                o Recommending and implementing reforms;
                o Approving Department policies and procedures; and,



 37
      “Consent to Search Verbal Advisement, Form 15.05.00 – Activated,” Administrative Order No. 22, November 20, 2020.
 38
      “Reporting Incidents Motivated by Hatred or Prejudice – Revised,” Special Order No. 22, December 17, 2020.
                                                            82
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                o Initiating and supporting community policing programs.

        x   Mental Evaluation Unit (MEU) – In 1985, the Department
            developed the MEU to assist police officers with mental
            health calls for service. In 1993, the LAPD in collaboration
            with the Department of Mental Health (DMH) developed the
            SMART to engage and link individuals with mental illness to
            appropriate services. The SMART units are comprised of one
            LAPD officer and one DMH clinician who assist officers in
            the field with mental illness related calls for service. Since its
            inception, MEU introduced innovative training to expand an
            officer’s knowledge of mental illnesses and develop long-
            term solutions for individuals in need of services. Below are
            strategies, training, and programs specifically designed to
            assist individuals suffering from mental illness:

                o Case Assessment and Management Program (CAMP) – In 2005, CAMP was
                  developed to identify, monitor, and engage individuals while constructing a case
                  management approach that links them to appropriate services.

                o SMART Unit Expansion – In June 2016, 17 SMART units were deployed 24 hours a
                  day, seven days a week.

                o Triage Desk - In 2011, the Department staffed 20-hour, seven-day a week Triage Desk
                  whose primary function was to triage all LAPD contacts with individuals suffering from
                  mental illness. In 2015, the Triage Desk was expanded to 24-hours, seven days a week.

                o Tactical Disengagement – In July 2019, the LAPD published a Training Bulletin on
                  Tactical Disengagement which affords officers to leave, delay contact, delay custody or
                  plan to make contact at different time and under different circumstances to de-escalate
                  incidents and reduce the likelihood of uses of force.39

        x   Office of the Inspector General (OIG) – The OIG was created through a 1995 voter-approved
            amendment to the Los Angeles City Charter and supports the BOPC through independent
            audits and reviews of LAPD conduct and performance.

        x   Tactical De-escalation - The Department is guided by the principle of Reverence for Human
            Life in all investigative enforcement and other contacts between officers and members of the
            public. The LAPD has ensured that all sworn officers have attended tactical de-escalation
            training. This training involves the use of multiple techniques to reduce the intensity of an
            encounter with an individual or group. The LAPD has integrated de-escalation concepts into
            all training related to critical decision-making and potential uses of force. The directive on De-




 39
      “Tactical Disengagement,” Training Bulletin, Volume XLVIII, Issue 5, July 2019.
                                                             83
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        escalation is incorporated into scenario debriefs, MHIT, and all Department promotional exams
        and schools.

    x   Procedural Justice/ Implicit Bias and Community Policing - In 2017, all LAPD officers
        were trained by an outside expert on Implicit Bias and Community Policing. Given current
        research findings, the Department is looking at existing training to ensure that evidence-based
        practices are being incorporated along with classroom learning to build on the progress of the
        2017 Implicit Bias training. The goal for the Department’s training plan is to promote further
        discussion and planning in the Department’s shared responsibility to ensure we are providing
        the best possible service to the communities we serve. As such, procedural justice is not only a
        key concept from The President’s Task Force on 21st Century Policing but is also, a proactive
        method for addressing habits or practices related to mitigating the potential impact of implicit
        bias and increasing community trust.

            o The concepts of Procedural Justice, Implicit Bias and Community Policing have been
              enhanced in academy training through added blocks of instruction entitled, “Principled
              Policing” and have been fundamental to the curriculum of Police Sciences and
              Leadership since the inception. In support of ongoing training development, a training
              bulletin on Procedural Justice was completed in April 2020, and is used as a source
              document for Department courses and promotional examinations. Within in-service
              training, the concepts of procedural justice are taught in the classroom and are used as a
              critical part of scenario debrief. In 2021, the Department will provide all employees,
              sworn and civilian, with online Implicit Bias Training through a City-provided vendor
              by April 2021.

            o From the Inside Out - Given the feedback from employee organizations and specific
              direction from the Chief of Police to address racial tension within the Department in
              March 2020, “Procedural Justice: From the Inside Out” was designed to cover topics
              that included internal procedural justice, the stress of the protests, discussions on race
              relations, conflict resolution, and building resiliency. These facilitated workshops were
              provided twice in each Bureau and responses were collected to provide front line
              feedback to Department leadership on current climate within the Department.

    x   Historical Integration Project – In September 2020, the Academy began assessing the
        curriculum for new officers and looked at ways to infuse historical content and community
        perspectives into the State-mandated Learning Domains. There are now 12 new lessons added
        to Recruit Basic Course curriculum that cover historical events within more than 25 hours of
        instruction. The new or revised curriculum has been sequenced to flow with the other training
        that is required by the State or has been identified as important to the Department on the
        development of new officers. The culminating event is when community participants engage
        with new officers in a virtual “Days of Dialogue” with community members. Trained
        facilitators guide small groups of recruits and community members through discussions on
        “Racism, Policing, the Pandemic and Beyond.”
        Community history is being expanded into in-service training for existing officers to
        compliment discussions on procedural justice, community policing, truth and reconciliation.
        Historical case studies will be used in each promotional school from FTO through Command

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          Officer training. The following courses have reviewed their content and identified and
          requested curriculum updates to incorporate community history:

             o    Police Sciences and Leadership (PSL)- Historical Training over 2 Blocks
             o    Field Training Officer (FTO) School- Historical Training over 2 Blocks
             o    Field Training Officer (FTO) Update- Historical Training over 3 Blocks
             o    Supervisor School- Historical training over 28 Blocks

      x   Critical Incident Video Review Release – In 2018, the Department began releasing video
          evidence related to officer-involved shootings, uses of force, in-custody deaths, and any other
          incident that the BOPC or Chief of Police determines is in the public’s interest. It is the
          Department’s intention to increase transparency and foster greater public trust while
          maintaining the integrity of related investigations. All Critical Incident Video can be found on
          the Department’s website.40

      x   Department Body-Worn Video – In 2018, BWV deployment expanded to all field personnel
          including Metropolitan Division and Security Services Division. Department policy requires
          officers to activate BWV prior to initiating any investigative or enforcement activity including
          searches, uses of force, and crowd management and control enforcement and investigative
          contacts.41

             x    On December 20, 2018, the Department increased the pre-activation buffer recording of
                  all BWV from 30 seconds to two minutes. While this buffer does not capture audio
                  recording, it does record video images which documents officers’ actions, highlights
                  attempts at de-escalation, and ultimately plays a crucial role in the final adjudication of
                  an incident.42

      x   Incident Command System Training – The Department has interwoven ICS training into a
          variety of courses attended by officers, supervisors, and Command Staff. The following
          documents and courses outline aspects of the ICS systems, preparedness, and command and
          control:

             x    Emergency Operations Guide (EOG) - The EOG details organizational structure and
                  procedural response to large-scale emergencies throughout its seven volumes.

             x    Standing Plans and Continuity of Operations Plans – The Department requires each
                  entity to update its mobilization plan each year. The mobilization plan provides
                  guidance and information for officers and supervisors when a Department mobilization
                  occurs.




 40
    “Critical Incident Video Release Policy – Established,” Administrative Order No. 6, April 13, 2018.
 41
    “Body-Worn Video Procedures – Established,” Special Order No. 12, April 28, 2015.
 42
     “Powering Off Body-Worn Camera Devices While in Department Facilities,” Office of Constitutional Policing and
 Policy Notice, December 20, 2018.
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            x   Command Post Cadre Training - The Command Post Cadre course was created to
                reinforce the Department personnel’s knowledge of the ICS, Command Post operations,
                duties of the Staging Area Manager, and the Planning Section’s key principles and
                applications. Between 2018 and 2020, the Major Incident Response Team instructed
                this course six times for Department personnel.

            x   Command Officer Development - Command Officer Development provides
                instruction to personnel soon-to-be promoted to the ranks of command staff on Critical
                Incident Management; Command, Control and Coordination techniques; Incident
                Command System; and, Department References and Policies used to successfully
                respond and manage a major incident or event. This course was presented twice
                between 2018 and 2020.

            x   Incident Action Plan/Event Action Plan – This course was developed to reinforce the
                student’s knowledge of the ICS Form 201; EAP/IAP process, key principles and
                applications; “SMART” objectives; the planning process prior to or during an incident;
                and, the Department’s guidelines regarding After Action Reports. The last iteration of
                this course was held in 2013.

            x   Basic Supervisor and Watch Commander Schools – These courses are mandatory for
                Department supervisors and watch commanders. The curriculum includes instruction
                on Critical Incident Management using learning activities, facilitated discussion,
                directed questions, group dialogue and practical applications. Both schools also review
                use of force and de-escalation techniques. Twelve iterations of Basic Supervisor School
                and 13 iterations of the Watch Commander School were held between 2018 and 2020.

            x   Exercises – The Department has participated in a multitude of exercises to apply ICS
                functions, tools and resources; test and evaluate the operational capability; gain a better
                understanding of strengths during a major incident or event; and to identify areas for
                improvement. Between 2018 and 2020, the Department participated in over 80
                different types of preparedness exercise scenarios that involved a multitude of different
                types of equipment and specialized trained personnel.




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  III.      Previous Settlement Agreements Concerning Crowd Management and Control

 After the Democratic National Convention (2000) and the May 1, 2007 demonstrations (May Day), the
 Department entered into settlement agreements agreeing to enact and/or modify crowd management
 and control policies, procedures, and training. 43 Because of both settlement agreements, the
 Department has implemented the following policies, procedures, and training:

      x   Guidelines for Crowd Management and Crowd Control 44 address various areas associated with
          demonstrations, marches, protests, and rallies that include, but are not limited to:

              o   Basic Principles of First Amendment protected activities;
              o   Use of helicopters;
              o   Pedestrian movement in public spaces;
              o   Use of police motorcycles, bicycles, and vehicles for observation, visible deterrence,
                  traffic control, transportation, and crowd control;
              o   Use of forces;
              o   Definition, purpose, deployment requirements, and use of less-lethal munitions;
              o   Use of batons;
              o   Declaration of an unlawful assembly; and,
              o   Crowd management and crowd control training.

      x   Mobile Field Force Training – The Department must undergo training on Crowd Control and
          use of force policies at minimum intervals of two years. Since 2007, the Department has
          incorporated these concepts into the following courses:

              o Crowd Management and Control for Patrol – Between 2007 and 2015, sworn
                personnel attended this 10-hour course which reviewed laws, policy, skirmish lines,
                arrest team procedures, driving, and mass arrest procedures.

              o Crowd Management and Control for Management – Between 2007 and 2013, this
                eight-hour course designed specifically for Command Staff reviewed lawful assemblies,
                group dynamics, use of force, media relations, and lessons learned from the Democratic
                National Convention, parades, and sporting event celebrations.

              o Crowd Management and Control for Patrol Update (2012) – This three-hour
                training course provided an update to field personnel related to First Amendment
                protected activities, objectives and strategies of crowd management and control, MFF
                concepts, and baton techniques.




 43
    Settlement Agreements resulting from National Lawyers Guild, et.al v. City of Los Angeles, et al (January 26, 2005) and
 Multi-Ethnic Immigrant Workers Organizing Network, et al. v. City of Los Angeles, et al. (June 22, 2009).
 44
    Volume 5 - Guidelines for Crowd Management and Crowd Control, Emergency Operations Guide (2009)
                                                            87
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            o Learning Management System Training (2013) – The Department developed two
              web-based MFF trainings for its personnel:

                      Crowd Management Intervention and Control – a two-hour DVD-based
                       program.
                      Crowd Management Update – a two-hour crowd management update for sworn
                       personnel.

            o Integrating Communications, De-escalation, Crowd Control (2017-2018) – This
              course included a history of protests within Los Angeles and the Department’s response
              to these incidents. The ICDC course included a live scenario and a four-hour 40mm
              Less-Lethal Launcher training.

            o Advanced Concepts in Command and Control (2019-2020) – This 10-hour course
              incorporated tactical de-escalation, review of less-lethal devices, and establishing
              command and control and managing incidents.




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                               Chapter 6:
                               Department Personnel &
                               Mutual Aid
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 PERSONNEL
 Personnel assignments were documented on ICS 211/214 forms. Officers assigned to the incident
 were instructed to check-in and out with Staging located at a Dodgers Stadium Parking Lot. When a
 person went end of watch (EOW), supervisors were instructed to complete and turn in their ICS
 211/214 forms to the Demobilization Unit within Staging. The Planning Section then stored the forms
 for each date.

 Prior to the Civil Unrest the Department was tasked with several unconventional roles and assignments
 due to the COVID-19 pandemic. These assignments diminished the availability of personnel and made
 it difficult to deploy the appropriate amount of resources to Civil Unrest duties. Those unconventional
 COVID-19 related functions included: transportation of people experiencing homelessness to and from
 shelter locations and hotels, round-the-clock security at those shelter/hotel locations, manning COVID-
 19 testing sites within the City of Los Angeles and providing high visibility for medical staff, picking
 up test kits from the testing sites and transporting them to the labs and extra patrol security at schools
 where lunches were being distributed. In addition, to the extra duties asked of the sworn personnel
 other Department employees were tasked with COVID-19 administration including tracking cases for
 each Area and Bureau and reporting numbers to the City government daily. During the Civil Unrest
 the Department also ensured that each Area maintained its Minimum Operating Force (MOF), the
 minimum number of uniform officers assigned to a Area to maintain area patrol functions and respond
 to calls for service. Finally, a segment of the Department was teleworking due to COVID-19
 cautionary measures.

 The following table depicts sworn personnel numbers assigned to the Civil Unrest for each day based
 solely on the ICS 211/214 forms that were completed and returned to the Demobilization Unit, those
 assigned to COVID-19, and MOF. Between May 27, 2020 and May 30, 2020 there were 76 sworn and
 403 civilian personnel teleworking. Between May 31, 2020 and June 7, 2020 there were 48 sworn and
 300 civilian personnel teleworking. Poor record keeping was an issue that occurred throughout the
 Safe LA Civil Unrest. This issue is addressed in the critique section.




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                                    Sworn Overall Personnel Numbers




                     5/27/20 5/28/20 5/29/20 5/30/20 5/31/20 6/1/20 6/2/20 6/3/20 6/4/20 6/5/20 6/6/20 6/7/20
      Civil Unrest    120     201    1141    1255   2520   3395   2918    2648   2836    2593   2574   1908
      MOF             1834   1845    1719    728    720    1695   1778    1921   2803    2097   1576   1913
      COVID           427     397    390     318    318    318     300    298     291    301     264    255



 In the tables below personnel have been broken down into three categories (Command Staff,
 Supervisory Roles, and Sworn Personnel) that were solely related to the Civil Unrest. Again, the
 counting of personnel was solely based on ICS 211/214 forms that were submitted to the
 Demobilization Unit. Personnel have been broken up into an “A” and “B” Watch configuration
 starting with May 30, 2020 for all personnel below the rank of Captain. In addition, the graph of
 Captains and above starts “A” and “B” Watch configuration on May 28, 2020. The prior day’s
 deployment for each rank as noted were not in an “A” and “B” Watch configuration, therefore all
 personnel will be labeled in the “A” Watch section.




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                                   Command Staff Personnel Numbers
                                                    (Captains and Above)
          60

          50

          40
                                                       31
                                                                 28        29                29        29        29
          30                                                26        26             25 24                              25
                                             21 24                              24                          24
                                                                                                  22              22         20
          20                       14
                          12
                                        9
          10     7             7
                     0
           0
                5/27/20 5/28/20 5/29/20 5/30/20 5/31/20 6/1/20 6/2/20 6/3/20 6/4/20 6/5/20 6/6/20 6/7/20
      A Watch        7     12        14        21       31        28        29        25      29        29        29     25
      B Watch        0         7        9      24       26        26        24        24      22        24        22     20
      Totals         7     19        23        45       57        54        53        49      51        53        51     45


                                   Supervisory Role Personnel Numbers
                                        (Lieutenants, Sergeants, Detective Supervisors)
         600

         500                                                     447
                                                        439
                                                                      388 365
         400                                                                 378 364        363
                                                                                               354 352
                                              297                                                     284 289288
         300                                                                            272                      261

         200                       154                                                                                       169
                                                      121
         100                                 45
                28
                     0    00            0
           0
                5/27/20 5/28/20 5/29/20 5/30/20 5/31/20 6/1/20 6/2/20 6/3/20 6/4/20 6/5/20 6/6/20 6/7/20
      A Watch        28        0    154        45       121       447       365       364     363       352       289    261
      B Watch        0         0        0     297       439       388       378       272     354       284       288    169
      Totals         28        0    154       342       560       835       743       636     717       636       577    430




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                                                  Officer Personnel Numbers
                                                              (Detectives and Officers)
       1800
       1600
                                                                    1380
       1400                                                                    1239
                                                                                   1267
       1200
                                           964                                         998 11241042   97810901020       1056
       1000                                                                                       921           884             916
                                                        766                                                           890
         800
         600                                                       523                                                            517

         400
                               182
         200     85                                    102
                      0          0           0
           0
                 5/27/20 5/28/20 5/29/20 5/30/20 5/31/20 6/1/20 6/2/20 6/3/20 6/4/20 6/5/20 6/6/20 6/7/20
      A Watch        85         182         964         102         523         1239    998     1042   978     1020    890       916
      B Watch         0          0           0          766         1380        1267    1124    921    1090    884     1056      517
      Totals         85         182         964         868         1903        2506    2122    1963   2068    1904    1946     1433




                                                   Civilian Personnel Numbers


               100



                10



                 1
                      5/27/20 5/28/20 5/29/20 5/30/20 5/31/20 6/1/20 6/2/20 6/3/20 6/4/20 6/5/20 6/6/20 6/7/20
      A Watch            2       0       1       7       6      22     13     20     28     20     20     19
      B Watch              0          0           0           7          11        15      1      7      8       8          3     6
      COVID               13          13          13         15          15        15     17      16     13     10          9     9
      Teleworking         403        403         403         403         300      300     300    300    300     300     300      300
      Totals              418        416         417         432         332      352     331    343    349     338     332      334




                                                                                  94
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 The following chart shows the Department deployment response to the Civil Unrest, while operating at
 minimum force throughout the City.

                                                                     # of
                        # of Personnel        # of Sworn
                                                                  Civilians
         Date          Assigned to Civil      Assigned to
                                                                 Assigned to
                                                                                   MOF              TOTALS
                            Unrest            COVID-19
                                                                 COVID-19
      May 27, 2020           122                 414                 13            1,834              2,383
      May 28, 2020           201                 384                 13            1,845              2,443
      May 29, 2020          1,142                377                 13            1,719              3,251
      May 30, 2020          1,269                303                 15             728               2,315
      May 31, 2020          2,537                303                 15             720               3,575
      June 1, 2020          3,432                303                 15            1,695              5,445
      June 2, 2020          2,932                283                 17            1,778              5,010
      June 3, 2020          2,675                282                 16            1,921              4,894
      June 4, 2020          2,872                278                 13            2,803              5,966
      June 5, 2020          2,621                291                 10            2,097              5,019
      June 6, 2020          2,597                255                  9            1,576              4,437
      June 7, 2020          1,933                246                  9            1,913              4,101

                                               Mutual Aid Received

 On May 30, 2020, a request for mutual aid was sent to the California Office of Emergency Services
 (Cal OES). The Cal OES mobilized and deployed the following personnel to Los Angeles from
 Region I-A, Region V and the California National Guard. 45 The resources that the Los Angeles
 Sheriff’s Department sent to the City of Los Angeles were not recorded.

  Region IA

 Santa Barbara County:
 · Santa Barbara Sheriff - 30
 · Santa Barbara PD - 8
 · Santa Maria PD - 8
 · Lompoc PD - 6
 · Guadalupe PD – 2

 San Luis Obispo County:
 · San Luis Obispo Sheriff – 30

 Ventura County:
 · Ventura Sheriff - 40




 45
   Cal OES Region I-A includes: San Luis Obispo, Ventura, and Santa Barbara Counties. Region V includes: Kern, Kings,
 Tulare, Fresno, Madera, Merced, and Mariposa Counties.
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 · Ventura DA - 10
 · Santa Paula PD – 10

 Region V

 Kings County:
 · Kings Sheriff - 6

 California National Guard:
 · National Guard - 1,250




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                                 Chapter 7:
                                 Logistics

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 INCIDENT COMMAND POST INFORMATION
        Command Post Locations

 May 27, 2020
   x Operations Central Bureau - Los Angeles Fire Station 4 - 450 E. Temple Street,
       Los Angeles, CA 90012
       o Command Post Equipment used: Major Incident Response Team-Tahoe

 May 28, 2020
   x Operations Central Bureau – Police Administration Building (PAB) Courtyard-
       100 West 1st Street, Los Angeles, CA 90012
       o Command Post Equipment used: Major Incident Response Team-Tahoe

    x   Operations West Bureau – (transitioned from a COVID-19 CP to a Safe LA CP) –
        OWB Administrative Office, 4861 Venice Boulevard, Los Angeles, CA 90019.

    x   Operations Valley Bureau – (transitioned from a COVID-19 CP to a Safe LA CP) –
        OVB Administrative Office, 7870 Nolan Place, Panorama City, CA 91402.

    x   Operations South Bureau – (transitioned from a COVID-19 CP to a Safe LA CP) –
        OSB Administrative Office, 7600 South Broadway, Los Angeles, CA 90003.

 May 29, 2020 to June 10, 2020
   x Operations Central Bureau – OCB CP moved to a parking lot, 815 E. 1 st Street, Los Angeles,
       CA 90012
       o Command Post Equipment used:
                Mobile 3 CP vehicle
                Plans Trailer
                Pegasus CP Vehicle
                Fire Department CP vehicle
                National Guard CP vehicle
                California Highway Patrol CP vehicle

 May 30, 2020
   x Operations West Bureau – OWB CP moved to the CBS Studios, 7800 Beverly Boulevard,
       Los Angeles, CA 90036
       o Command Post Equipment used:
               Mobile Divisional Command Post Vehicle




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 LOGISTICS
 On May 29, 2020, the CP was established at 815 E. 1st Street, Los Angeles, CA 90012. The below-
 listed equipment was staged and used while the CP was in operation:

    x   Mobile 3 Command Tractor and Trailer
    x   Plans Trailer
    x   100kw Generator (CP Power)
    x   Logistics Truck (Ford F450 Cargo Truck)
    x   2-Stall Restroom
    x   Laptops (6)
    x   EZ Up Canopies (4)
    x   Tables
    x   Chairs

 In addition to the CP, a Staging Area was set up at a Dodgers Stadium Parking Lot. The Staging Area
 was the official Check-in and Demobilization for all resources responding to Safe-LA Civil Unrest.
 Below is the equipment that was staged and used at the Staging Area:

    x   Alternate Department Operations Center Trailer
    x   Tractor with attached 25kw Generator (CP power)
    x   Light Trailer
    x   4-Stall Restroom
    x   Laptops (4)
    x   EZ Up Canopies (3)
    x   Tables
    x   Chairs
    x   Portable Satellite System (WIFI for CP)

 The following vehicles were used to logistically support the incident with the movement of supplies
 and equipment to the CP, the Staging Area, and various field locations:

    x   Stake Bed Truck with lift gate (2)
    x   Box Truck with lift gate
    x   Pickup Trucks (4)

 Air Support Division provided situational awareness and information necessary for key decision-
 making regarding resource deployment. The Air Unit provided downlink or tactical operational
 services. Below is a break down, by day, of video downlink and tactical Air Units that were deployed:




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            Date                          Downlink                    Tactical
          May 27th             23LA, 28LA                   26LA
          May 28th             23LA, 21LA, WB               67LA, 3PF, 62PD
          May 29th             21LA, WB, 23LA, 26LA         62PD, 3PF, 28LA,72LA
          May 30th             WB, 21LA, 25LA, 26LA         3PF, 61PD, 72LA
          May 31st             WB, 21LA, 26LA, 25LA         28LA, 3PF, 72PD
          June 1st             WB, 21LA, 23LA, 26LA         61PD, 62PD, 28LA
          June 2nd             23LA                         62PD, 65PD, 28LA, 3PF, 61PD
          June 3rd             WB, 21LA, 23LA               62PD, 3PF, 65PD, 61PD
          June 4th             WB, 21LA, 23LA, 25LA         68PD, 62PD, 3PF
          June 5th             WB, 23LA, 21LA, 26LA, 25LA   3PF, 68PD
          June 6th             23LA, 25LA, WB, 21LA, 26LA   3PF, 68PD, 61PD




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                                   Chapter 8:
                                   Critique and
                                   Recommendations
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 CRITIQUE
 The critique portion of this After Action Report is based on information provided by a variety of
 sources, including the Department’s General Staff assigned to the management of this incident,
 chronological information logs, videos, body-worn video, social media, media outlets, pictures,
 communication recordings, and subject matter experts.

 The critique will focus on recommendations for areas of improvement and are organized to correspond
 to the narrative section when possible. As with the other sections of this Report, the critique should be
 viewed in context of the larger event – a high impact, low frequency occurrence. Department
 personnel responded to this chaotic multi-day, multi-location incident in a manner far beyond the call
 of duty. And they did so during a pandemic. The purpose of this Section is to focus on the future by
 learning from the past, and to do so by discussing the events and response transparently and
 respectfully, not to cast aspersions.

 Although only parts of the City experienced looting and widespread damage, other parts of the City
 were impacted by the cascading effects of the Civil Unrest. Resources from all over the City were
 redeployed and Department personnel worked long hours to meet the needs of the City. Some areas
 impacted by the Civil Unrest were controlled by existing strategies and tactics, including the mere
 presence of uniformed officers. In other areas of the City, officers were met with violence and tactics
 that were constantly evaluated and altered in an effort to obtain and maintain control of the area.

 Lessons Learned

    1. Following the Principles of the ICS and the Role of the CP
 When an event is declared an unusual occurrence, the Department assumes an Incident Command
 System. That System provides for one IC who may not be the highest-ranking Department member at
 the scene. Regardless of rank, the IC is, and needs to remain, in charge of the event. The IC must
 assume this responsibility. To obtain and maintain situational awareness, regardless of where other
 command staff are going, the IC must respond to the CP and direct the operation from there. Doing so
 allows the IC to oversee the entire operation, have maximum access to intelligence, enhance the
 communication between the IC and the Operations Chief, and effectively track and deploy resources. It
 also allows Command Staff to step back and look at the overall picture of what was occurring,
 prioritize missions, and focus on economy of force by deploying officers more efficiently.

 Not only does the IC have to defer to the ICS, other Command Staff must be aware of it as well. As
 the level of violence of the protests increased some Command Staff left the CP and responded to the
 location of the protests. Once on scene, they began to direct strike teams and task forces without going
 through the establish unity of command. This caused uncertainty as to who was in charge and what
 directions to follow.




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        Recommendations Regarding Following the Principles of the ICS and the Role of the CP

 The Civil Unrest showed that the Department needs additional training on ICS.

 First, Command Staff needs training on the duties of each job within ICS and where those duties
 should be carried out. This training should also include position specific instruction. The roles and
 responsibilities of all ICS positions including needed support personnel, equipment, and other
 necessary tools to manage the incident must be incorporated into Command Staff’s training on a
 regular basis. Training needs to include tabletop exercises, practical applications, and exercises to
 emphasize unity of command and current changes in crowd dynamics and strategies to ensure
 performance objectives are met. This must include training that requests for additional personnel or
 equipment as soon as an issue is identified.

 In addition, the Department should consider a robust Major Incident Response Team (MIRT). The
 MIRT would ensure compliance with ICS and provide on scene recommendations to Command Staff.
 A cadre of Command Staff trained in specific ICS positions should be maintained and used for the
 fulfillment of resource needs. This cadre of Command Staff should be separated into different teams
 such as Team A, B and C. This would allow one team to run A-watch and another team to run B-
 watch. However, multiple Command Staff would be trained for each position.

    2. Establishing a Set CP

 The IC also needs an established CP. An established CP aids an IC with the necessary oversight to
 manage an event effectively. A CP also provides a central location to coordinate resources with
 assisting agencies; operationally track and deploy resources assigned to the incident; monitor the
 location of protest groups; improve situational awareness; and, make decisions. The IC can then
 continually evaluate the effectiveness of the objectives for the incident and update or modify them as
 necessary.

 To enhance the CP, certain supplies are optimal. For example, during the first couple nights of protests
 the CP did not have large maps for operations. The maps would have assisted in situational awareness
 and the ability to track resources and crowd movement.

 When possible, the CP should stay in one place. The OWB was negatively impacted in its attempt to
 obtain and maintain situational awareness and resources by relocating to a different venue during the
 event.

 For this Citywide event, the OCB CP was located in a parking lot near the DOC. This provided
 adequate space for command post operations and allowed for good ventilation and lessened possible
 exposure during a pandemic. The location, however, had a single point-of-entry, which could have
 posed a problem for ingress/egress during emergency evacuation procedures. Although no evacuation
 was ever needed it is something to consider.

 While the CP provided ventilation during a pandemic and had a large footprint to allow for some
 spacing, it also required numerous canopies to help with the heat and sun. Canopies required extensive
 work and time. The Department did not have enough canopies to support the outdoor CP. Canopies
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 had to be acquired through various sources outside of the Department, which took a few days to
 complete.

        Recommendations Regarding Establishing a CP

 Knowledge of how to establish a CP needs to be incorporated into training, including the need to
 communicate where the CP is located.

 Each geographic Bureau should obtain and maintain large current maps of its Bureau to provide to a
 CP during incidents and events. The maps should be large enough to include street names and be
 laminated, if possible, for multiple use.

 While there were unique considerations for this event and CP, in non-pandemic times, the Department
 should consider an existing facility for the CP during extended operational incidents. For example, the
 in-service training facility at the Elysian Park Academy has adequate facilities for such an operation.
 Should an extended outdoor CP be necessary, a venue that has numerous ingress and egress routes
 should be sought. An outside vendor that could provide a large tent should be considered.

 While some change to the CP’s venue may, at times, be inevitable, it is preferable to have the CP
 remain in one place.

 The MIRT would aid in establishing CPs as well.

    3. Communications and Unity of Command while in ICS

 During the period of Civil Unrest, especially at the beginning, there were issues collaterally associated
 with the lack of understanding of ICS and the need for updated technology. One such issue was
 communications. Early on, the commander’s intent was not well publicized, and Command Staff gave
 conflicting directions. In addition, multiple forms of communications were used. This caused
 confusion.

 Adding to the confusion was the fact that over the radio, not all the Command Staff used their proper
 or complete designations (i.e. Commander 1A). Thus, it was hard to assess which units were where,
 and which could be re-deployed elsewhere.

        Recommendations Regarding Communications and Unity of Command while in ICS

 During an unusual occurrence, the IC must make sure that the commander’s intent is understood and
 communicated to all personnel at the event. It should also be videotaped with the time and date
 narrated before or after it is given. The Department should use radios as its primary formal
 communication method. Although this is the best method of communication it raises two issues.

 First, because radio broadcasts are not secure, and are followed by others within a demonstrating or
 violent crowd, the Department needs to invest in encrypted radios or some other form of
 communication that is private at the time.

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 Second, only one tactical frequency was used for this incident although there were multiple protest
 groups spread throughout the Downtown Area. This proved to be problematic, as too many officers
 tried to use it simultaneously. The Department needs to make sure that it has sufficient tactical
 encrypted frequencies and that the CP uses them.

 Relatedly, when using the radio, Command Staff and assigned personnel need to know and use their
 proper and full designations so the IC and others at the CP can most efficiently track resources and
 personnel.

    4. A Citywide Event needs a Department Operations Center
 Civil Unrest in Los Angeles began on May 27, 2020, in the OCB area. Understandably, the OCB
 established a CP that night. A Citywide Tactical Alert was declared the next day and by the second
 night of protests, the main challenge was obtaining resources in a timely manner. Since OCB
 established its CP first, despite events throughout the City, the OCB assumed and maintained control
 of coordinating resources throughout the City. This caused at least perceived problems as, in many
 instances, the OCB CP made the determination on whether resources were going to remain at OCB or
 be allocated to other Bureaus in the City. For example, OWB requested additional personnel and
 resources for the May 30, 2020 Pan Pacific Park Event. The OCB CP denied resource requests from
 OWB because it believed that OCB would require more significant resources that day. While this may
 have been the right decision at the time given the intelligence and resources, the Department needs to
 have a more objective view of resource deployment when Citywide events occur.

        Recommendations Regarding A Citywide Event and the Need for a Department Operations
        Center
 When a Citywide event occurs that will affect multiple Bureaus, the DOC should be activated. The
 purpose of a fully activated DOC is to manage large-scale and complex unusual occurrences.

 Each Bureau should establish a CP to maintain operational oversight of events within its area of
 command and request resources through the DOC. This will ensure proper request and approval
 processes are followed. This will also limit the span of control of any one Bureau.

    5. Span of Control
 The IC in OCB coordinated Citywide resources. Captains were also often placed in control of a
 specific area with only one MFF, one lieutenant MFF leader, assigned to them. As the nights wore on
 this caused fatigue and made it more difficult to locate other captains to provide relief for the multiple
 day operation.

 On a Bureau level, in the afternoon of May 30, 2020, OWB mapped the area into four sectors. The
 OWB IC then assigned a captain to oversee each sector. This had mixed results. On the one hand, it
 allowed for a better span of control. On the other hand, it taxed captain resources leaving limited
 Captain resource to both oversee each sector and perform other captain designated duties in OWB and
 the City in general.



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        Recommendations Regarding Span of Control

 During Citywide incidents, the Department should consider establishing multiple incident commands
 with appropriate span of control. The DOC should then operate at a Level 2, to coordinate Citywide
 resource deployment.

 Careful consideration must be given to allow lieutenants and other supervisors to fill the roles and
 responsibilities. This will enhance the Department’s ability to foster an environment that focuses on
 succession training. For example, if an area is to be broken up into four geographic divisions during an
 incident, rather than assigning a captain to be in charge of each division, a lieutenant could assume the
 division supervisor role and a captain would then serve as the branch director to oversee the divisions.
 The command officer span of control would be decreased allowing for sustainment of the incident over
 multiple operational periods.

    6. Staging and Unity of Command

 The first few nights the Staging Area was located on Judge John Aiso Street, between 1 st Street and
 East Temple Street. The communication between the Staging Area and the Operations Section Chief
 or CP was not optimal. There was confusion about the missions for the officers who were being
 deployed from Staging. Multiple points of contact at the CP were giving inconsistent missions to
 officers.

 After the first few nights the Staging Area was moved to the Dodger Stadium parking lot. The Staging
 Area was large and minimal direction was provided to resources arriving at the location. Food was
 brought in and personnel often took time to eat rather than checking in and getting prepared to deploy.
 This caused a delay in switching out resources. The pre-established MFF unit designations were not
 used which caused confusion as to the resources deployed.

 Some of the personnel that responded to the Staging Area did not bring or have access to vehicles that
 possessed emergency equipment. This became an issue when trying to establish MFFs. Further, the
 Staging Area did not have enough vehicles equipped with emergency lights and sirens to deploy the
 personnel.

        Recommendations Regarding Staging and Unity of Command

 Unity of command should be established to prevent multiple sources providing conflicting missions.
 All personnel should receive a briefing that includes the commander’s intent, which should be video
 recorded. If multiple Staging Areas are used, the information needs to be sent to the DOC, Area
 Command or Planning Section for continuity of operations.

 At the Staging Area, signage and public address systems should be used to delineate between MFFs,
 plain clothes officers, check-in, and other necessary assignments. In order to quickly identify
 resources, one option would be to have the resources grouped by Bureau. The supervisor would gather
 15 officers for the strike team and check-in. Once four strike teams for that Bureau checked in, they
 would be formed into an MFF and deployed. If it is taking a considerable amount of time for the entire
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 MFF to be established the Staging Area Manager could brief the Operations Section Chief as to the
 number of Strike Teams available within the Staging Area. The Operations Section Chief could
 deploy the resources as needed during an escalating situation.

 The food provided should be something that personnel can grab quickly and take with them.

 Vehicles with the required emergency lights and sirens should be identified and staged for use by
 detectives or other personnel who do not have emergency equipped vehicles assigned to them. The
 MTD should be used as a resource to identify those vehicles needed and assist Staging with
 coordination of these vehicles.

    7. Videographers and Photographers

 The Department only has two trained videographers. This caused, in part, civilian photographers and
 officers from other assignments to be deployed as videographers without proper training. As a result,
 details such as the commander’s intent, briefings, crowd size, crowd demeanor, actions taken by
 officers, uses of force, dispersal orders, arrests, and additional evidence were not documented. The
 videographers were unclear on their role and did not execute it as intended. Many of the pictures and
 videos do not have narrations as to the significance of the information that was recorded. Additionally,
 photographs and videos were not properly processed and stored at Technical Investigation Division.

        Recommendations Regarding Videographers and Photographers

 The Department should develop a course on proper videography for all videographers and camera
 operators to ensure proper video and photographic documentation of the commander’s intent,
 briefings, crowd size, crowd demeanor, actions taken by officers, uses of force, dispersal orders,
 arrests, and additional evidence are recorded. Also, videographers should be trained on how to
 properly narrate the events that they are observing. For example, they should at least describe where
 they are (with words and visual evidence if possible) as well as the actions of individuals in the crowd
 (i.e., throwing frozen water bottles at officers). Furthermore, proper documentation and storage with
 Technical Investigation Division should be reviewed. Videos need to be downloaded, labeled, and
 stored each day.

 The Department should develop a guide for videographers to ensure all pertinent information is
 captured in photographs and videos. This guide can be reviewed with videographers prior to
 deployment.

 Each geographic Bureau should identify personnel as videographers and ensure they receive the proper
 training prior to deployment as a videographer. This position would be an ancillary duty.

 Videographers should be requested prior to an incident, preferably during the planning phase.

    8. Mutual Aid
 The Department has good working relationships with other local law enforcement agencies in the
 County and State. During the Civil Unrest, the Department needed those agencies to assist it in
 quelling the violence that was erupting all over the City, and other agencies needed the LAPD’s
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 assistance. While the agencies’ ability to work together should be commended, there was a lack of
 unity and a lack of understanding about different protocols and less-lethal options for crowd control
 among the agencies. For example, other agencies used tear gas. The LAPD does not. The use of tear
 gas by other agencies meant that the LAPD could not effectively assist without compromising their
 own safety.

 The Department has other less-lethal options that it used during the Civil Unrest. Other departments
 and agencies may not be familiar with those.

 Finally, the Department did not keep good records on those who provided mutual aid.

        Recommendation Regarding Mutual Aid

 The region must continue to work together to develop coordinated responses to manage significant
 incidents.

 As to record keeping, which is a significant issue spanning multiple critiques, the Department did not
 keep good records on the agencies that assisted it during the Civil Unrest. This makes it more difficult
 to develop future coordinated responses.

    9. Deploying the National Guard
 Related to mutual aid from local law enforcement agencies, is the deployment of the National Guard.

 The National Guard assisted in many ways, but there were also challenges, mostly related to confusion
 and communication on their first days of deployment. First, Operations was asked to create
 assignments for them, which was a challenge on the first two days as the deployment levels were not
 firm and there was confusion as to their capabilities other than force protection. Several Command
 Staff were confused regarding the deployment of the National Guard. Additionally, it was difficult to
 maintain communication with them. Although the LAPD hired a former member of the Department to
 oversee the National Guard’s integration into the event, upon the arrival of the National Guard in the
 City, they could not be immediately deployed because they had not been briefed on the rules of
 engagement (including the fact that they would be limited to fixed post positions). Similarly, the
 National Guard was not made aware of the Department’s demonstration posture and its use of force
 policy. There was also a last-minute change to their transportation protocols requiring uniformed
 pathfinders to be assigned as escorts. All of this caused delay in their deployment but not in the need
 to have them deployed.

 Finally, coordinating the deployment of a fully mobilized Department, the mutual aid responders, and
 the National Guard required robust Staging Areas. Due to the Department’s paper-based check in
 system, a significant amount of personnel were used at the CPs to track resources assigned to the
 incident.




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        Recommendations Regarding Deployment of the National Guard

 The Department needs to have procedures in place for working with the National Guard.

 The Department should consider appointing and developing command level officer(s) to serve as the
 National Guard liaisons as an ancillary Department duty. These should be attached to Department
 positions that will likely not be assigned to other, critical field duties in the event of an unusual
 occurrence, which means outside of the Office of Operations. These liaison officers can meet regularly
 with National Guard management, keep up on changes to their policies and capabilities, conduct
 tabletop exercises and complete regular reports back to the Department. This should help ensure that
 the National Guard is familiar with the City and its policies. It should also allow an IC to assign them
 tasks more seamlessly.

 The Department also needs to work towards a less antiquated way to track and deploy resources –
 especially as they grow larger and larger. The Department’s investment in technology needs to include
 an investment in a more efficient system for using its own and additional resources.

    10. Personnel and Equipment Delays
 The Department suffered delays in getting personnel and equipment to locations where unlawful
 assemblies occurred, dispersal orders given, and arrest made. Personnel are needed for blocking
 forces, arrest teams, transportation, and other investigative purposes. Moreover, sound equipment for
 amplified dispersal orders, transportation vehicles, and other tools necessary to carry out mass arrests.
 The delay in personnel and equipment resources caused unruly crowds to become further agitated and
 escalated confrontations with officers. Additionally, early delays (May 27-28, 2020) appeared to
 embolden protesters as threats of arrest were not taken seriously. Protestors saw that their actions had
 little to no consequences and they defied orders to disperse which would continue into the following
 days.

        Recommendations Regarding Personnel and Equipment Delays

 In general, all personnel and equipment needed to manage crowds, declare unlawful assemblies, and
 make arrests should be deployed at the location prior to giving any dispersal order. However, when
 there is an absence of equipment, but enough personnel, a dispersal may be given when a crowd is
 made up of protestors and those inciting violence to make arrests of those violent instigators.
 Experienced personnel at the scene need to be able to make and communicate that decision through the
 chain of command.

 This topic and various options should be incorporated into Command Staff training and exercises.

    11. Unlawful Assembly
 During this period of Civil Unrest, the demonstrators used a variety of new or at least uncommon
 techniques. One of them was to march together in large groups, separate into smaller groups and then
 rejoin together into a larger group. This happened repeatedly in the Downtown Area on multiple days

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 and at Pan Pacific Park on May 30, 2020 when the large crowds divided, blocking roadways, and
 preventing law enforcement response to calls of looting and violence.
 When an unlawful assembly is declared, and the dispersal order is given, issues arise when the group
 disbands and then regroups. The Department’s current dispersal order requires that the group at a
 defined location, such as an intersection, is provided with information on how much time they have to
 disperse and the direction in which to disperse. However, the group that is unlawfully assembled can
 separate, move two blocks away, and re-assemble. This process continues repeatedly as the group
 disbands and then assembles back into a group.

        Recommendation Regarding Unlawful Assembly

 The Department and City Attorney’s Office should review the Department’s Dispersal Order to
 determine if it is reasonable to add a sentence to the end of the dispersal stating that if, once dispersed
 from a defined location and the assemblage regroups within another larger defined area within a
 specific time frame, they will be subject to this dispersal order and in violation of Section 409 of the
 California Penal Code.

 The Department and City Attorney’s Office will then have to determine what documentation of those
 assembled would be necessary to show that they were from the group initially provided with the
 dispersal order. The Department may wish to look at whether, in exceptional circumstances, there is
 video equipment that could be used to determine whether the group is the same. New municipal codes,
 polices, and technology may obviate the need to continually repeat the dispersal order to the same
 group at each location where they assemble without unduly restricting the rights of those who are
 demonstrating.

    12. Mobilization and A/B Rosters
 The Department has mobilized twice in the last 28 years: 1992 and 2020. It is therefore perhaps
 understandable that in 2020, it did not go smoothly. First, mobilization caused a change of watch at
 6:00 p.m. when most of the violence and vandalism was causing disruptions in resource allocation.
 This was further compounded by the use of Nixel. While Nixel was a good resource to notify all
 Department personnel of the mobilization, it also was used too often creating an influx to information
 all at once.

 Second, not all personnel, including Command Staff, especially those serving in non-operational
 capacities at the time of the Civil Unrest, understood mobilization and what it meant to them. While
 the Department is fortunate in that more than half of its Command Staff experienced the 1992
 mobilization, they were in different functions at that time.

 Third, not all personnel were mobilized. Specifically, the civilian side (which is the majority) of CSD
 was not mobilized at the time the rest of the Department was mobilized and that decision was not
 revisited by CSD’s Command.

 Fourth, not all Mobilization Rosters were up to date. Department entities are required to update their
 Mobilization Rosters (A/B Rosters) each year in Standing Plans as well as provide updated rosters
 each deployment period to the DOC. Some Areas did not have updated A/B rosters during the Civil

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 Unrest. This caused an issue when the Department mobilized, and employees did not know which
 watch they were assigned and where they should respond.

 Finally, A/B watch has traditional times, but was not customized for the Civil Unrest. This is true even
 though, by May 31, 2020, the pattern for the protests was clear. There was little criminal activity in
 the morning. Peaceful marches, facilitated by the LAPD, would take place in the afternoon. Then, as
 the day progressed and the sun began to set, criminal elements would join the marches and protests
 would devolve into demonstrations mixed with violence and disorder until the early hours of the next
 day.

        Recommendations Regarding Mobilization Rosters

 To avoid confusion over mobilization, the Department should engage in virtual mobilization efforts.
 This would allow personnel to know what they were supposed to do and where to respond. While
 mobilization happens infrequently, the stakes of policing are high during mobilization and the need to
 have an organized police department is paramount. In a virtual or test mobilization, Nixel should be
 used to determine if unnecessary redundancies exist.

 Should the Department need to mobilize for an emergency that may involve mass arrests, the civilian
 side of CSD should also be mobilized. This should be done in any virtual mobilization scenario.

 All Department entities should have their A/B rosters reviewed for accuracy every deployment period
 and submit them to the DOC. The DOC should ensure they are in receipt of each entity’s A/B rosters
 each DP.

 The Department should consider modifying its A/B-watch schedule during a mobilization to include a
 mid-shift or adjust the start times of each watch to maximize the number of resources available during
 the hours of heightened activity.

    13. Arrests
 During a Citywide incident, resource allocation becomes an integral part of the incident. Assigning
 personnel to positions or tasks that are within the scope of their expertise aides in the operation. The
 processing of arrestees and completing follow-up investigations were cumbersome due to the inability
 in identifying the arresting officer to obtain a statement or locate evidence. As a result, some cases
 were not filed.

        Recommendations Regarding Arrests

 A robust Investigative Section staffed by detectives is a necessity. A detective should be assigned as
 the arresting and investigating officer at each incident where a dispersal order is given to ensure the
 dispersal order and crowd behavior are documented on video, the elements of the crime are met,
 necessary follow up information is obtained, and evidence (i.e., objects thrown at officers) is collected
 and/or photographed. Deploying specialized detectives to these assignments and the field jail would
 maximize the deployment of Bureau resources to manage the incident. Officers should use their BWV
 to memorialize the detention and ensure that the field jail is provided with the information.

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    14. Transportation of Arrestees

 Several days of protests involved criminal activity and violence. On these days a larger than expected
 number of people were arrested for a variety of charges. The transportation resources were quickly
 overwhelmed which caused delays in processing the arrestees. The jail vans could not accommodate
 all the requests to transport those taken into custody. This left several officers and arrestees waiting for
 significant periods of time for transport. To help alleviate the transportation issues and lower the
 response time for jail transport vans, the Department received assistance from LASD in the form of jail
 buses. The Department also used MTA buses to transport arrestees.

        Recommendations Regarding Transportation of Arrestees

 A transportation plan is required when there is potential of mass arrests. This plan should be
 developed in advance to assist in mitigating delays and should include exploring contracts with the
 LASD and the MTA, among others. The Department should also explore the ability to expand their
 fleet of vehicles designated to transport arrestees. The Department should also maintain an accurate
 list of Department employees that have commercial driver’s licenses with passenger endorsements.

 In situations where the processing of arrestees is delayed, the Department should consider issuing a
 Release from Custody on-site as an alternative to transporting individuals to field jails for booking and
 release.

    15. Mobilization of Custody Services

 The Field Jail Manual provided information on antiquated techniques for the field jail. Some of the
 personnel assigned to the field jails were unfamiliar with the process and procedures. Custody
 Services Division was not mobilized during Safe LA.

        Recommendations Regarding Mobilization of Custody Services

 The Field Jail Manual should be reviewed and updated to include current techniques on how to operate
 a field jail including proper processing and retention of original booking paperwork (i.e., Release from
 Custody form, etc.). During events or incidents where the potential for mass arrests are likely, the ICS
 structure should be evaluated to determine if it is more efficient to move Investigative Group to a
 Branch or Section. This could improve efficiency by reducing the span of control that the Operations
 Section must maintain. Investigative Branch could include groups and divisions necessary for the
 transport and processing of arrestees as well as other investigations related to the incident. When mass
 arrests are likely, a CSD representative should be at each field jail. If there are insufficient personnel
 working CSD to staff each location, then a representative from CSD should be assigned to
 Investigative Branch to provide guidance and direction.

    16. Field Jail Locations

 Locations identified for field jails must be vetted, and locations used previously for other unusual
 occurrences, like a wildfire cannot be automatically used for a field jail.


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        Recommendations Regarding Field Jail Locations

 The Department should pre-identify locations throughout the City that can be used for field jails. The
 list of locations should be maintained and verified on an annual basis and made available to
 Investigative Branch and CSD when needed.

 The Department should consider having a pre-loaded trailer, or at least a check list and the ability to
 load a trailer with the needed supplies and a trained cadre of detention personnel to establish field jails
 in future mobilizations or unusual occurrences.

    17. Air Unit Downlink
 The Air Unit downlink is instrumental in obtaining and maintaining situational awareness for the
 Operations Section Chief and Branch Directors who are deployed in the field. During most of the Safe
 LA protests the Department’s downlink was not operating properly. Command Staff were forced to
 use their personal devices to stream news broadcasts to obtain an overview of crowd size and
 demeanor. Further, the CP had to rely on mainstream media and social media posts to try and maintain
 some of the visual situational awareness.

        Recommendations Regarding Air Unit Downlink

 The Department should establish a routine testing schedule for the Air Unit downlinks. Downlink
 systems that are not working properly should be fixed and retested to ensure an adequate number are
 operational and able to send live video downlink to multiple receivers. Additionally, a command
 officer in an Air Unit can complement the downlink deployment and provide guidance and information
 to Operations Section Chief and Incident Commander.

 On October 21, 2020, the BOPC approved the Los Angeles Police Foundation donation of new
 recording equipment for the video downlink feed in Air Units. The old equipment which only allowed
 viewing of real-time feeds was supplemented with standalone recorders to allow Command Staff to
 download and replay recorded video captured by the Air Unit.

    18. New Tactics by Protesters Require New Responses

 The demonstrators and those that would opportunistically use them employed new or novel tactics
 including: scanning police radios and moving to thwart law enforcement’s efforts; assaulting officers
 by throwing projectiles from within the crowd as well as from buildings above; using vehicle caravans
 to conduct mass looting, and sometimes covering license plates to avoid detection; splitting into small
 groups and moving in different directions only to rejoin again at a different location; using social
 media to communicate; having leaderless groups that did not respond favorably to officers’ attempts to
 talk to someone, and at times led to the officer being assaulted by another group; setting fire to debris
 in the middle of the street or otherwise blocking officers’ ability to respond to situations and calls for
 help; surrounding officers and, at times taking the high ground on freeway overpasses; and burning
 police vehicles. Both officers and protesters were injured, and it was difficult for LAFD to get to the
 injured – even with force protection from LAPD.


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 The Department relied on MFF to handle large crowds, but the MFFs were trained to handle a large
 crowd in a single location. The Civil Unrest was a series of spontaneous and wide-spread protests
 throughout various locations. The protests involved large crowds who often split into smaller groups
 causing gridlock and law enforcement response to criminal activity. The Department had trouble
 responding effectively to multiple locations, large crowds, and criminal activity. Moreover, given the
 violence and destruction that was coming from within the groups and elsewhere, the Department
 deployed a significant amount of less-lethal munitions.

 Given the enormity of the situation and the new techniques, the Department had to adjust on the fly.

        Recommendations Regarding New Tactics by Protesters Require New Responses

 During the Civil Unrest, the Department learned that MFFs worked best when deployed with specific
 missions to address criminal activity. The MFF Leader should remain in contact with the Branch
 Director for an updated deployment mission. During this incident the need to move resources around
 quickly once they became available was imperative. Based on the demonstrators’ practice of splitting
 up, the Department decided to make changes including splitting up MFFs. The splitting of MFFs
 helped in apprehending many looters, making arrests, and using resources more effectively throughout
 the City. The Department also employed the Air Unit in conjunction with MFFs. The Air Unit guided
 the MFF into hot spots of criminal activity such as looting.

 In October 2020, Metropolitan Division began training personnel on updated crowd management and
 crowd control which included lessons learned during the Civil Unrest. Some of the training focused on
 new techniques, use of MFF during crowd control, splitting MFFs into squads to address isolated
 incidents, vehicle movement, and less-lethal munitions. The Department should continue to revise its
 MFF training to address new tactics employed by demonstrators while meeting the requirements of
 previous settlement agreements.

 The Operations Section Chief should provide clear communication and direction to the Branch
 Directors and MFF leaders as to the commander’s intent and the expectation that resources be tracked
 and redeployed to evolving situations as quickly as possible.

 The Department has considered expanding the EMT cadre to assist both injured officers and
 community members during demonstrations and other major incidents. This, however, would not have
 been an effective option for this event as officers were frequently assaulted as they tried to facilitate
 protests or extract a lawless individual from within a previously peaceful crowd. Therefore, while it is
 something to consider for other events, the Department is cognizant of the additional training and
 equipment that would be required.

 The Department used a significant amount of less-lethal munitions to protect the City and restore
 order. The Department should continue to research and seek best practices related to the deployment
 of less-lethal munitions. This should include an examination of the Department’s current less-lethal
 capabilities and new available technologies. A clear understanding regarding when to deploy less-
 lethal and the level of approval necessary should be reiterated and clarified to avoid confusion. When
 less-lethal is deployed, when available it should be used in conjunction with BWV to capture the


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 activity leading up to the decision to use less-lethal. Officers trained in less-lethal should attend annual
 weapons manipulation training.

    19. New Equipment – Lasers and Drones

 The protesters used green lasers as a weapon to shine into the eyes of the officers on the street and in
 the Air Unit. The use of lasers caused injury and prevented further Air Unit deployment.
 Additionally, protesters used the drones to stream live video of the officers’ deployment and search for
 plain clothes officers.

 Drones were also seen over demonstrations causing dangerous conditions for the Air Units flying in
 the same air space.

        Recommendations Regarding New Equipment – Lasers and Drones

 As of this writing, the Department has issued protective eyewear to its officers. This eye wear protects
 officers from the use of lasers. Additionally, the Department should investigate acquiring counter
 drone technology such as that used by the Los Angeles Port Police.

    20. Protesters on Freeways

 On multiple days during the Civil Unrest protestors marched onto freeways causing traffic congestion.
 For example, on May 29, 2020, at approximately 7:30 p.m., roughly 150 protesters went on to the
 northbound lanes of the 110 Freeway blocking all lanes of traffic. When the officers moved the
 protesters back onto City streets they caused damage to the City and had a violent confrontation with
 officers.

        Recommendations Regarding Protestors on Freeways

 A clear and concise commander’s intent should be provided to supervisors and officers at the
 beginning of any large incident or event. Part of the intent should include groups entering the freeway
 and arrest posture. A crowd can be detained and arrested for entering the freeway and blocking traffic.
 These themes should be included in all crowd management and control training.

    21. Information Technology Bureau (ITB)

 The Logistics Section was tasked with a multitude of requests including technological support. The
 ITB was not embedded with the Logistics Section and their expertise was not used.

 The ability to track squad leaders electronically on a map could aid in the deployment of resources
 during a dynamic incident.

 Finally, as has been mentioned in sections above, much of the tracking of Department personnel was
 done on paper by individuals.



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         Recommendations Regarding Information Technology Bureau

 The ITB needs to play a larger role in an unusual occurrence operation to coordinate and assist with
 technological equipment and coordinate with the City’s Information Technology Agency. Having a
 representative from ITB embedded with Logistics Section would have assisted with the coordination of
 many of those requests.

 On October 21, 2020, the Department published a Notice 46 detailing the enhanced capabilities of the
 Department-issued smartphones including populating officers’ location onto Computer Aided Dispatch
 system mapping functions. This function will allow the Department to improve situational awareness
 as well as track and deploy resources.

 The Department must continue to try and harness technology. Moving away from paper tracking of
 personnel is necessary in the current technology-rich environment. It would save time, allow
 personnel to be devoted to other work and allow for a more efficient recap after any event.

      22. Record-Keeping

 Maintaining good records during an emergency is critical. During a period of civil unrest, each Bureau
 maintained its incident chronological log and situational status reports differently. This caused a delay
 in recreating activities and time lines.

 The Finance/Administration Section, Planning Section, and Logistics Section did not work together
 causing an inability to accurately capture resources (personnel, equipment, supplies) deployed to the
 incident. During the week-long incident, many resources were acquired and dispersed to sustain the
 operation. However, the system used for the tracking of resources proved to be inadequate. At the end
 of the incident it was difficult to locate supplies, resources, and personnel.

 Further, all personnel did not accurately document unit designations, personnel assigned, resource
 requests, missions, uses of force, injuries, etc.

         Recommendation Regarding Record Keeping

 Personnel should be assigned to the Finance/Administrative Section as soon as practicable when a
 large incident occurs. As a result of the COVID-19 pandemic, several civilian employees in our
 Department have been trained in cost recovery. This training should be expanded to additional civilian
 employees. In doing so, sworn employees can be redeployed to the tactical incident.

 The Department should create a standardized approach towards compiling timeline activities,
 maintaining accurate documentation of incidents and preplanned events, and tracking equipment using
 ICS Form 213. In doing so, should an event cross Bureau borders, reporting will be uniform. Training




 46
   See “Enhanced Department Smartphone Capability; Required Mobile Device Security Protocols,” Office of the Chief of
 Police Notice, October 21, 2020.
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 on reporting and tracking should be supplied to the Planning Section personnel and Logistics Section
 Chief in each Bureau.

 Further, Finance/Administration Section, Planning Section, and Logistics Section should work together
 at the CP. This will allow for the quick acquisition and accurate documentation of supplies necessary
 for the operation. This will also ensure better accountability and assist with potential financial
 reimbursement.

 All personnel, including Command Staff, should accurately complete the ICS Form 214 to ensure
 personnel, equipment, and actions taken are documented. The Demobilization Unit should ensure all
 information is accurately captured on the ICS Form 214 prior to releasing personnel from the incident.

    23. Communications with Plain Clothes Officers

 The Department needs to ensure that good lines of communication are established with plain clothes
 officers deployed in the field. In some cases, the plain clothes officers reported information through
 their chain of command, however, that information was not relayed to the Operations Section Chief in
 a timely manner. As a result, the Operations Section Chief did not have the information to make
 timely decisions and deploy needed resources.

        Recommendations Regarding Communications with Plain Clothes Officers

 Department-issued smartphones should be given to plain clothes officers during demonstrations to
 immediately provide the Operations Section Chief with photographs and briefs on the incidents
 occurring in the crowd. Any changes to reporting procedures should be shared with plain clothes
 officers so that they may provide the CP with information in a timely manner.

 Also, consideration should be given to the use of Observation Posts, location in which officers can
 observe activity and report back to the CP, to assist with establishing good situational awareness and
 the coordination of resources.

 Finally, those who receive communications from plain clothes officers must relay those
 communications to the appropriate section and person at the CP so that the Department can make the
 most out of the information provided by plain clothes officers.

    24. Communication Between Watches

 Differences in opinions arose when resources were requested for the next watch. For example, B-
 watch would request the resources for the next day’s A-watch, including deployment missions.
 However, A-watch personnel would disagree with the requests and missions.

        Recommendations Regarding Communication Between Watches

 As stated above in the mobilization critique, but for different reasons, the current A/B watch may not
 be the best for long term events such as the Civil Unrest. The Department should consider writing
 IAPs for a 24-hour operational period rather than a 12-hour operational period. The Department would

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 have two shifts within one 24 -hour operational period. If the Department continues to use 12-hour
 operational periods, then the communication between the A-watch and B-watch personnel will have to
 be improved to meet the expectations of each watch.

    25. Personnel Deployment

 During the hyperdynamic phase of this incident, situations arose where personnel deployed did not
 meet the needs of the Department. For example, once the Department mobilized the number of
 personnel allocated to this incident improved, but on certain occasions did not fully meet the needs of
 the Department. It was noted that, some PAB personnel could have been deployed to satisfy incident
 needs.

        Recommendations Regarding Personnel Deployment

 The command and control of all Department personnel during a major incident has a direct correlation
 to the success of meeting the incident objectives. The following incident priorities should be the basis
 for managing the incident and personnel:

            x   Life Safety;
            x   Incident Stabilization;
            x   Evidence/Property Preservation;
            x   Continuity of Operations;
            x   Economy of Force; and,
            x   The overall wellbeing of the Community/Feedback.

 Department personnel should be reminded of the priorities during a major incident and all available
 resources should be deployed to the incident unless an exception is given by Command Staff and that
 deviation should then be relayed to the DOC, who has the overall authority on resource allocation and
 distribution. Non-OO entities should be provided clear direction on assignment during a major
 incident.

    26. Public Information Officer

 The Public Information Officer (PIO) had difficulty in relaying information to the public and news
 outlets due to the large number of protesters combined with the numerous protest locations; media
 utilizing Live View; and, the inability to set up press conferences due to the movement of the Chief of
 Police and other high-ranking Command Staff as they dealt with the dynamics of the protest. In the
 days following the protests, the PIOs used social media to distribute information. However, the PIOs
 paused information sharing on social media due to the inability to keep the information from
 continually being buried.

        Recommendations Regarding Public Information Officer

 The PIOs should continue to meet with media in the field when able. The PIO should continue to seek
 locations to conduct interviews with the Chief of Police and other high-ranking members of the
 Department during dynamic incidents to provide the public with incident and safety information.
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 Although information provided to the public via social media can be buried, the PIO should continue
 to push out factual information. The establishment of a Joint Information Center during an evolving
 incident may enhance the ability to efficiently provide a unified message.

    27. Information Receipt
 The DOC was not given accurate information regarding the number of personnel assigned to the
 incident. Information from the Staging Area did not match the personnel that showed available to
 respond to the incident. For example, a command officer was already assigned to the DOC, as the
 Director of Emergency Operations, due to it previously being activated for COVID-19.

        Recommendations Regarding Information Receipt

 The DOC needs to receive accurate and timely information from Staging to coordinate multi-Bureau
 and multi-location incidents within the City. As an example, each Bureau would establish an Incident
 Command and then the DOC, activated to Level 2, would take on the role similar to Area Command.
 As such, the DOC would coordinate Citywide personnel and resources to the areas with the highest
 priority.

    28. Information and Intelligence

 On May 25 and 26, 2020, members of the LAPD Major Crimes Division (MCD) reviewed the
 landscape that was unfolding in Minneapolis and as early as May 26, 2020, MCD anticipated public
 demonstrations in Los Angeles. Throughout the Civil Unrest, MCD continued intelligence gathering
 related to the Civil Unrest and put out safety bulletins advising that protesters were arming themselves
 with bottles of acid, so officers should be diligent and aware of their surroundings. The MCD sent out
 daily intelligence briefs to Command Staff informing them of potential protests and threats of violence.

 Despite gathering some intelligence, the Department did not have all the intelligence it would have
 liked to properly deploy and deter the violence that resulted from the Civil Unrest. For example, on
 May 28, 2020, the Department knew of two protests that were going to take place in the City – one in
 OCB and one in OWB. There was no verified estimate of the crowd size. An unverified source
 indicated about 100 people would be attending the Pan Pacific Park protest and the Department also
 received information that pallets of rocks and cinderblocks had been located in the Downtown Area,
 possibly staged by protesters or those who wanted to blend in with protesters and engage in violence.

 Imperfect intelligence can lead to imperfect responses. However, there are limits on what the
 Department can and should do to gain intelligence. While information may have been posted on some
 “publicly available” social media, one has to know where to look and the Department and City have
 always been mindful of casting too broad a net and balancing individual privacy and freedom of
 assembly with police intelligence.

        Recommendation Regarding Information and Intelligence

 The Department should continue to seek new technologies and capabilities to gather and analyze open
 source information and intelligence that can be quickly shared with the Operations Section Chief.

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  Best Practices

    1. Fire Extinguishers
        Some protesters set fire to garbage cans and other debris and then pushed them into the street
        causing delays in LAPD response to calls for service and violent demonstrations. The
        Department issued fire extinguishers to officers in the field to address small fires in the field.
        This reduced the need for LAFD to enter volatile scenes.

    2. Connectivity with Other Agencies
        Having other agency representatives at the CP was extremely important for the coordination of
        resources. Not only did this allow for timely information sharing but it allowed decision
        makers from those agencies to maintain an adequate level of situational awareness.

    3. ESD Assigned to DOC
        Emergency Services Division (ESD) personnel were assigned to the Logistics Section at the
        DOC for COVID-19. Having personnel at the DOC to assist with resource requests and to
        purchase needed items utilizing the Department credit cards proved beneficial.




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                                Chapter 9:
                                Detailed Chronology

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 DETAILED CHRONOLOGY
 The following timeline was compiled from several Department sources. This includes the lists of
 events from the Planning Section at the CP, each Bureau CP, firsthand accounts from Department
 personnel, videographers/photographers, and radio frequency broadcasts.


                               WEDNESDAY, MAY 27, 2020

                                  Operations-Central Bureau (OCB)

 1700 hours    Approximately 100 demonstrators congregated near the civic center.

 1730 hours    The group started to march in the streets around City Hall. As additional people joined
               the protest, the group started to overflow into the street. More people joined the march
               as it progressed along the streets of the Downtown Area. The demonstrators continued
               to the intersection of North Alameda Street and East Aliso Street, blocking traffic. At
               the intersection, a brief rally was held, which remained peaceful. At the end of the
               rally, the group marched north on Alameda Street and entered the off-ramp to the
               northbound 101 Freeway at Alameda Street. Commander 1B requested additional units
               to assist the bicycle unit.

 1800 hours    The demonstrators entered the 101 Freeway and blocked the north and southbound
               lanes of traffic. Two CHP units arrived in the southbound lanes of the 101 Freeway to
               clear a lane of traffic for the vehicles that were trapped by the sudden demonstration on
               the freeway. A demonstrator immediately vandalized one of the CHP cruisers by
               smashing its back window with a skateboard. Another demonstrator, who had jumped
               on the front of the vandalized CHP vehicle, was injured when he fell off as the CHP
               officers attempted to drive away. The demonstrators eventually left the freeway and
               most of them gathered on Aliso Street.

 1825 hours    The group of roughly 200 people made their way to Hope Street and Hope Place. Other
               protesters continued to arrive in the downtown Civic Center area. The new protesters
               joined in with other groups and began blocking multiple intersections.

               The demonstrators used an aerosol spray and flame to burn a United States Flag at Los
               Angeles Street and Aliso Street.

 1900 hours    The command post was established on the driveway of Fire Station 4, located at 450
               East Temple Street. Staging was located at Judge John Aiso and Los Angeles Street.
               This caused some confusion as people kept referring to the Staging Area as the
               command post.


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 1955 hours    Commander 1 requested a sound truck and jail bus to be deployed to the intersection of
               Aliso and Los Angeles Streets in preparation for a dispersal order. The Department
               Operations Center (DOC) advised that the jail bus request could not be filled. The DOC
               was unable to locate a certified bus driver. The DOC began actively searching for other
               available options to fulfill this request.

 2010 hours    Two main groups of protesters were established: one at the intersection of East Temple
               and Los Angeles Streets and one at the junction of Aliso and Los Angeles Streets. The
               group at the corner of East Temple and Los Angeles Streets blocked a LASD jail bus
               from traversing the intersection. The Operations Section Chief dispatched bicycle
               officers and officers on foot to assist in clearing the intersection.

 2015 hours    The protesters in the middle of the intersection at East Temple and Los Angeles Streets
               were given a dispersal order and provided five minutes to clear the intersection and
               disperse west on Temple Street. The group dispersed without incident.

 2025 Hours    A protest group was established at 1st and Main Streets, in front of the Police
               Administration Building (PAB). The DOC located two jail transport vans, and both
               responded to staging at Judge John Aiso and Los Angeles Street.

 2045Hours     The Air Unit gave a crowd estimate in front of PAB of approximately 50 to 75 people.
               The command post at Fire Station 4 continued to request additional resources and have
               them respond to staging for deployment.

 2050 hours    The Air Unit requested officers to block traffic at 1 st and Main Streets for protesters in
               the intersection.

 2055 hours    Officers assigned to PAB advised the CP that vandalism was taking place at PAB.
               Spray paint was used to vandalize the front of PAB with unknown graffiti. While
               officers were deployed to PAB, protesters started to throw rocks and bottles. Officers
               requested additional resources to provide defense to the PAB structure.

 2110 hours    The crowd started moving into the intersection of 1 st and Spring Streets. The crowd
               trapped several motorists in the streets.

 2120 hours    The B-Watch IC advised officers over radio transmission, if they observe criminal
               activity, they should effect arrests. As additional police resources arrived on scene, the
               protesters started moving south on Hill Street towards 2 nd Street.

 2135 Hours    A crowd of approximately 50 protesters walking in the streets was now contained in the
               intersection of 2nd and Hill Streets.

 2145 hours    Videographers were requested to respond to the intersection of 2 nd Street and Hill
               Street. A short time later, jail vans and OCB PM-watch detectives were requested to
               the same intersection.


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 2220 hours    Officers on scene gave a dispersal order to the protesters occupying the intersection at
               2nd and Hill Streets. They were given five minutes to leave the intersection and area by
               moving West on 2nd Street away from Hill Street. The crowd dispersed, and the night
               watch detectives responded to staging at Judge John Aiso and Los Angeles Street.

 2250 hours    The Department instituted a modified tactical alert for OCB only and released the CHP
               from the incident. The IC continued to have units respond to staging.

 2311 hours    The modified tactical alert was canceled, and resources continued to demobilize.

 2345 hours     The CP was demobilized for the night.



                               THURSDAY, MAY 28, 2020

                                  Operations-Central Bureau (OCB)

 1800 hours    Police resources started to arrive at staging (located on Judge John Aiso Street between
               East Temple and 1st Streets).

 1920 hours    Unit P120 requested plain clothes officers to Main and 2 nd Streets to monitor the
               vandalism occurring to police vehicles at the location.

 1930 hours    A protest group started to gather and march towards 2 nd Street and the 110 Freeway on-
               ramp. As the group continued to walk around several streets in the Downtown Area,
               the bicycle unit assisted in facilitating the march by intermittently blocking vehicle
               traffic so that marchers could peacefully demonstrate. Bicycle units are commonly used
               by the Department to facilitate the movement of large crowds, parades and
               demonstrations due to their ability to move quickly through densely populated crowds
               where officers in police vehicle would be inhibited by pedestrians and traffic.

 1950 hours    Plain clothes officers reported multiple acts of vandalism and vandalism suspects in the
               group as they moved south on Spring towards 5 th Street.

 1953 hours    Unit P160 reported that some of the protesters were gathering rocks and bottles as they
               walked in the direction of Central Community Police Station (251 East 6 th Street). The
               group then changed directions and went to 6 th Street and Broadway. The plain clothes
               officers reported the group were vandalizing businesses as they walked westbound on
               6th Street.

 2000 hours    The OCB declared a Tactical Alert for OCB. A protest group gathered in the
               intersection of 2nd Street and Grand Avenue. The LAPD established skirmish lines in
               the intersection and were confronted by protesters who pushed officers.

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 2030 hours    The sound truck gave a dispersal order at Grand Avenue and 2 nd Street. The group was
               given five minutes to disperse south on Grand Avenue from 2 nd Street. Some of the
               protesters left the location. However, other protesters arrived on the scene.
               Commander 1A requested all night watch detectives respond to staging at Judge John
               Aiso. Officers at the scene requested additional resources to assist with the group on
               Grand Avenue.

 2055 hours    A Citywide Tactical Alert was declared.

 2100 hours    The CP was moved to PAB and Commander 1A requested two jail transport vans at
               Grand Avenue and 3rd Street. The Air Unit assisted with the tactical movement and
               repositioning of resources. As the crowds were beginning to disperse, some protesters
               moved over to Hope and 3rd Street. Protesters started throwing rocks and bottles at the
               officers.

 2135 hours    A second dispersal order was given to the new group gathered at the intersection.

 2200 hours    A bottle of bleach was thrown from a window of a multi-story building, spraying a
               motor officer at Hope and 3rd Street. The Air Unit arrived at the location, the rest of the
               groups dispersed, and the Air Unit broadcast no additional groups of protesters.

 2250 hours    A large group of protesters began moving north on Flower Street at Olympic Boulevard.
               Officers saw some of the protesters attempting to break into a business. At 12 th Street
               and Grand Avenue, the group began throwing rocks at the windows of a Starbucks
               (1251 S Grand Ave). The crowd then dispersed, and additional units responded to the
               intersection at 7th and Hope Streets.

 2313 hours    A group of protesters started moving west on 5 th Street towards the 110 Freeway on-
               ramp. A CHP blocking force stopped the group before they could gain access to the
               freeway.

 2325 hours    An LAPD sound truck gave a dispersal order to the group of protesters that had
               gathered in the middle of the intersection of 5 th and Figueroa Streets. The group was
               given five minutes to disperse northbound on Figueroa. The group dispersed north on
               Figueroa Street.

 2345 hours    A small group remained in front of PAB, and the Citywide Tactical Alert was canceled.

 2358 hours    The OCB IC responded to the command post.

 0015 hours    The CP was demobilized.




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                                  FRIDAY, MAY 29, 2020

                                Department Operations Center (DOC)

 0940 hours    Chief Moore provided all senior command staff with his commander’s intent during the
               direct report meeting. Chief Moore identified objectives and strategies that included the
               following:

                      Facilitate demonstrations.
                      Do not allow violence or property damage.
                      Recognize that if officers are unable to accomplish targeted enforcement,
                       officers are to shift to declaring unlawful assemblies.
                      Outreach to community groups needs to be a focus to petition for peace. The
                       groups are to be made aware that violence and property damage will not be
                       tolerated.
                      Metropolitan platoons are to be put into TSEs to support operations.
                      Obtain a list of prohibited items during protests.
                      Use of tactical Air Unit.
                      All divisions were to have plans in place for station security. Chief Moore
                       advised that officers were not to post on station roofs with rifles.
                      Cancelling of days off and use of overtime.
                      DOC was to have a command officer on B watch.
                      Custody Services Division was to augment staffing.
                      GSD was placed on standby. Command were to make requests for needed
                       supplies as soon as possible.

 1300 hours    The CP advised OSB CP that its virtual MFF units were activated and requested
               additional resources. Responding units advised to stage at 142 W 75 th Street, 75th
               Elementary School by 1400 hours.

 1315 hours    An email from the DOC was sent to Department personnel regarding the Al Crespo v
               City of Los Angeles decision defining the freedom of press during demonstrations.
 1415 hours    A Citywide Tactical Alert was declared.


                                  Operations-Central Bureau (OCB)

 1245 hours    Hollenbeck requested additional resources, including 20 k-rail and 20 bicycle racks at
               Hollenbeck Community Police Station in preparation for a protest that was scheduled to
               take place there the next day, May 30, 2020.

 1654 hours    A small group that gathered and peacefully protested on the sidewalk in front of Los
               Angeles City Hall moved to occupy Spring Street north of 1 st Street and maintained
               their presence in front of City Hall.


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 1718 hours    As the Air Unit arrived overhead, they observed the crowd marching westbound
               Olympic Boulevard and requested that motor officers assist with traffic blocks at
               Olympic Boulevard and Hope Street. They also broadcast that vehicles had joined the
               crowd’s tail end and requested officers trail to deter this.

 1730 hours    While protesters marched on Figueroa Street, the CP requested two MFFs to the Staging
               Area. Officers assigned to force protection details met with the LAFD. They were
               briefed on their assignment as uniform protection for LAFD. At the same time, LAFD
               responded to fire and medical incidents in hostile crowds. Commander 1A requested
               CHP block the 110 Freeway on-ramp at Olympic.

 1736 hours    Bicycle 20 broadcasted that some protesters appeared to be heading to the Target,
               located at 735 South Figueroa Street. MQ30 advised that Target had anticipated
               possible looting crime due to the protests. The store had closed and barricaded the
               entrance doors.

 1830 hours    Several groups of protesters had formed in the Downtown Area and marched, including
               a crowd of 60 protesters that occupied 1st Street between Spring Street and Main Street
               on the northside of PAB.

 1900 hours    Several community members reported that the Starbucks on the corner of 6 th and Spring
               Streets had been looted.

 1904 hours    The large crowd that had continued southbound away from 5 th and Olive Streets at
               Pershing Square marched to 8th Street then turned westbound towards Figueroa Street.

 1904 hours    Mobile Field Force units requested 37mm approval. The OCB IC approved the use of
               37mm less-lethal rounds.

 1924 hours    As the majority of the crowd entered the freeway. Staff 2A directed the Air Unit, who
               estimated the crowd at 150, to coordinate containment of the crowd with MFF units and
               arrest protesters on the freeway.

 1955 hours    The IC advised that the freeway would be handled by the CHP. There were, however,
               two major groups in the area. One group was near Figueroa Street and Olympic
               Boulevard. The other group had exited the freeway and was contained by blocking
               forces at 7th and Figueroa Streets. Staff 2A then advised they intended to make a large-
               scale arrest of 100 protesters at 7th Street and Figueroa Streets and requested additional
               units to facilitate the arrest.

 2000 hours    As additional MFF units responded to 7 th and Figueroa Streets, protesters used electric
               scooters to block and delay their response. Officers parked their vehicles on 7 th Street
               and responded on foot, leaving five officers to protect approximately 100 vehicles. As
               this delay occurred, the crowd contained at Figueroa Street and 7th Street broke through
               a chain-link fence used to contain one side of the group. Containment was lost as the
               crowd entered the multi-level Target store parking structure near 945 W 8 th Street.

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               Protesters then entered the Target, and as reported by citizen radio calls, looted and
               vandalized the store.

               The Air Unit made ongoing attempts to coordinate the crowd’s containment by giving
               direction and assignments to MFFs responding to 7th and Figueroa Streets. However,
               confusion occurred when an unknown supervisor attempted to track unit deployment
               over the radio while the Air Unit was assigning resources. To avoid additional
               confusion the Air Unit advised all MFF to use their complete call signs when
               identifying themselves on the radio.

 2008 hours    Bicycle 20 requested additional units for a crowd of 50 at 5 th and Olive Streets. The
               crowd size continued to increase in numbers and violence as protesters began throwing
               fireworks towards the officers. Officers protecting the police vehicles on 7 th Street
               advised they needed additional units to protect vehicles from damage due to large
               groups forming at the location.

 2015 hours    The larger crowd that had broken through containment and looted the Target store
               marched southbound Figueroa Street and eastbound Olympic Boulevard to northbound
               Hope Street. The crowd continued marching through city streets occupied by vehicle
               traffic, causing gridlock. As the Air Unit monitored protester activity in Downtown
               Area, they contacted the CP requesting a plan of action. The CP advised the Air Unit to
               stay with the larger group and keep them from the parking structures

               A separate group of 300 protesters formed near 7 th and Figueroa Streets, where police
               vehicles were parked. The group quickly became hostile and threw bottles and
               launched fireworks at officers.

 2016 hours    Protesters continued to interfere with the response efforts of MFFs by leaving items
               such as electric scooters as roadblocks in the street.

 2020 hours    Two notable crowds continued to march downtown: one crowd near the western side of
               Downtown Area at 7th Street and Figueroa Street and the other towards the central area
               of Downtown Area near Hope Street and Grand Avenue. Protesters in both areas began
               to increase the level of violence and destruction.

               The crowd marching on Hope Street made its way to Grand Avenue. It began
               vandalizing businesses on Grand Avenue between 7th and 8th Streets. As this
               widespread vandalism occurred, a MFF supervisor set a blocking force across Grand
               Avenue between 7th and 8th Streets to block the crowd from moving northbound. The
               blocking force was quickly surrounded by violent protesters who attacked officers with
               items, including rocks and bottles. The squad requested assistance multiple times and
               eventually broadcasted they had officers down at that location as they were surrounded.
               The Air Unit attempted to guide responding MFFs to the officers who were surrounded
               and needing help. However, MFFs were delayed due to traffic gridlock.



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 2026 hours    Protesters at 7th Street and Grand Avenue damaged police vehicles, vandalized
               businesses, ignited trash cans, broke windows, and assaulted officers with rocks, bottles,
               and fireworks. As the violence and damage escalated, a small group split from the
               larger crowd. The smaller group re-entered and barricaded the 110 Freeway near 4 th
               Street.

               Transit Service Bureau (TSB) and MTA were advised by an unknown individual not to
               allow buses into the Downtown Area.

 2039 hours    Several “officer needs help” calls were broadcasted at Hope and 7 th Streets as officers
               were overwhelmed by hostile protesters. The Air Unit advised the CP that multiple
               crowds estimated at 250 protesters were moving towards PAB, and the CP needed a
               plan to address that crowd.

 2051 hours    Chief Moore organized resources and gave the Air Unit his priorities to coordinate. The
               Air Unit identified a crowd occupying the intersection of 7 th and Figueroa Streets.
               Chief Moore directed the Air Unit to coordinate the containment and arrest of the
               protesters at that location. Chief Moore advised multiple times throughout the night
               that containing and arresting violent protesters was a priority.

 2056 hours    The crowds marched towards PAB merged and surrounded officers in a police vehicle
               at Broadway and 1st Street as they marched towards PAB. Unable to move and pinned
               in, officers broadcasted an “officer needs help” call. As units responded, the crowd
               quickly dispersed and ran towards PAB and onto the property at PAB. The Air Unit
               requested all available MFF units to PAB and coordinated skirmish lines. As blocking
               forces were set to protect PAB, the crowd moved to the north side of the building on 1 st
               Street and then ran northbound on Spring Street from 1st Street to the front steps of City
               Hall. Multiple units were broadcasting while the Air Unit secured PAB, making it
               difficult for officers to hear assignments.

 2121 hours    As the crowd at City Hall was contained, Chief Moore directed any supervisor at City
               Hall to advise the crowd that they were under arrest, to sit down and submit to arrest.
               Chief Moore also directed officers to arrest protesters who attempted to evade arrest and
               break through the blocking forces. The CP then requested an arrestee transport van and
               the sound truck to respond to the location.

 2125 hours    The Air Unit reported that a green laser was being directed at them while they were in
               the area of Spring Street and 1st Street.

               Lasers and green lasers, specifically, are known to cause temporary blindness and, in
               some instances, permanent visual impairment when directed into a person’s eye. Law
               enforcement officers have been subject to attacks from lasers. Lasers directed at
               aircrafts in flight bring additional safety concern as they can brightly illuminate
               aircraft’s cockpit temporarily blinding the pilot. This leads to the visual loss of the
               pilot’s aircraft controls and the flightpath of the aircraft. The LAPD’s common practice
               while monitoring events such as protests is to orbit overhead at a distance that allows a

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               clear visual of the event and the surrounding area. This keeps the Air Unit near the
               general public since many events in the City occur in densely populated urban areas.
               Directing a laser at an aircraft in flight is also a violation of State and Federal Law.

 2127 hours    A crowd of 150 formed near the intersection of 1 st and Spring Streets. They broke
               windows and entered the police vehicles parked near PAB. The crowd grew to 500 and
               continued to throw bottles, rocks, and harmful items at officers set as blocking forces
               near the intersection. Two officers were injured, and an RA was requested to transport
               the officers to the hospital.

 2151 hours    Citizens reported that trash can fires were set and strategically placed by protesters at
               the intersection of 7th and Hope Streets to delay officers in MFF configuration from
               responding. Officers near 2nd and Spring Streets advised they were taking rocks,
               bottles, and fireworks. Those officers requested additional resources. Shortly after that,
               protesters surrounded officers at Broadway and 1st Street. Officers at that location
               broadcasted “officer needs help” and that they were being assaulted with rocks and
               bottles.

               While officers contained the arrestees at City Hall, separate groups of protesters started
               approaching the officers from the rear on Spring Street.

 2215 hours    The Air Unit made multiple attempts to contain violent groups by directing MFFs to
               block intersections and streets. Officers at Broadway and 1 st Street were surrounded
               and broadcasted “officer needs help.” However, protesters used the alleyways and side
               streets in downtown to double back and evade containment. Covering these alleys and
               side streets with blocking forces to support crowds’ containment on City streets proved
               difficult due to various items used as roadblocks interfering officers’ response.

 2225 hours    Chief Moore directed the Air Unit and ground units to keep moving protesters through
               the streets to keep the protesters off balance. Protesters broke the windows of the
               Starbucks and began looting the store as well.

 2230 hours    A Harbor unit assigned to a MFF broadcasted, on Harbor frequency, they needed an RA
               at 213 S. Spring Street for two officers with injured or broken arms.

 2233 hours    The Air Unit advised the CP of a problem crowd forming at Spring Street and 6 th Street
               that spread onto Spring Street between 6th Street and 4th Street. They added that there
               was also a radio call of arson suspects at that same location. As this occurred an
               unknown unit requested a back-up response nearby at 4 th and Spring Streets advising
               they had suspects in custody but were being surrounded by a large crowd. The crowd
               grew in hostility and began throwing rocks and bottles at officers at 4 th and Spring
               Streets.

               Violence and destruction increased in the area of Grand Avenue and 6 th Street as Staff
               E1B observed suspects inside the “California Bear Bank” breaking windows and


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               vandalizing the bank from inside. Protesters set fire to objects placed in the street as
               roadblocks.

               Suspects entered the multi-story apartment buildings in the area. Individuals from the
               top floors of those apartment buildings and protesters who had gained roof access began
               throwing bricks, bottles, and unknown liquids at officers on the street below. During
               this time, suspects also jumped onto parked cars and vandalized the area

 2243 hours    A crowd of 300 protesters stopped and surrounded an MTA bus at 6 th and S. Spring
               Streets. Four of the protesters armed with scooters assaulted the bus operator. No
               central units were available to respond.

 2252 hours    Chief Moore advised the Air Unit that the tactics he wanted to employ were to use
               blocking forces to contain the crowd and make arrests. The Air Unit set blocking forces
               and contained a group on 8th Street between Broadway and Main Street. The contained
               protesters responded by looting the businesses along 8 th Street between South Main
               Street and South Broadway while officers held the crowd’s perimeter as containment.
               Portions of the crowd used midblock alleys to move away from the crowd and evade
               containment. Around this time multiple jewelry stores nearby at Olive Street and 6 th
               Street reported being vandalized and looted.

 2305 hours    A MFF supervisor (Q710) at Broadway and 4th Street requested approval to use 37mm
               less-lethal. The OCB IC had approved its use and the CP broadcasted its approval.

 2330 hours    Twenty protesters near 7th and Figueroa Streets vandalized a police vehicle left
               unattended, then broke into and looted the Target store for a second time.

 2344hours     Protesters near 6th Street and Broadway threw bricks at officers in a vehicle who were
               responding to an unknown emergency radio call. Officers broadcasted a help call and
               were able to drive away to prevent further damage and injury before being completely
               blocked in. MFF units responded, deployed, and set blocking forces around the violent
               crowd at 6th Street and Broadway. Protesters vandalized and looted the jewelry stores
               in the same area. These groups continued to occupy the streets surrounding Pershing
               Square Park and continued to ignite and use rubbish and dumpster fires as roadblocks
               against responding units.

 2357 hours    The crowd at 7th and Figueroa Streets looted businesses. At this time the crowd began
               burning businesses as well. Approximately 100 people were protesting in the
               intersection of East 4th and South Main Street. Some of the protesters started to break
               windows of the Barclay Hotel and windows of parked vehicles in the area. Large scale
               destruction and lawlessness occurred in multiple areas of downtown Los Angeles.
               Limited resources, gridlocked traffic, and various make-shift barricades made it difficult
               to effectively deploy officers and prevent property destruction. The Air Unit, again,
               advised the CP that the crowds were moving too fast to set blocking forces and contain
               them.


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                                   Operations-South Bureau (OSB)

 1345 hours    The OSB notified all South Bureau Areas that A and B-Watch MFFs are to be activated
               and stand down in their respective areas.

 1525 hours    The OSB MFF formed up at the rally point and were directed to the Staging Area on
               Judge John Aiso, between 1st Street and East Temple Street.

 1930 hours    The OSB received a request from the DOC to establish a list of personnel volunteering
               to work on May 30, 2020, on their regular day off.

 2200 hours    The OSB CP received a DOC request that all unused less-lethal rounds (Beanbag,
               37mm and 40mm) be brought to the CP. The OSB collected all unused less-lethal
               rounds and delivered them to the CP.


                                   Operations-West Bureau (OWB)
 1335 hours    The OWB CP put a request in for a sound truck for Saturday which was denied due to
               both sound trucks already being deployed elsewhere in OCB.



                               SATURDAY, MAY 30, 2020

                                 Department Operations Center (DOC)

 0030hrs       Department Operations Center requested nine detectives from OSB to respond to the CP
               to complete a damage assessment of all City and private property.

 0600 hours    The OCB Operations Chief canceled the Citywide Tactical Alert and demobilized the
               Mobile Field Force.

 0700 hours    Briefing with the Chief.


                                  Operations-Central Bureau (OCB)

 0001 hours    The Air Unit set blocking forces to contain the crowd as they marched from the
               intersection of East 4th and South Main Streets to the intersection of Spring and 6 th
               Streets. Chief Moore advised that there were ample resources at 6 th Street and
               Broadway to redeploy at the Air Unit’s direction. Thirty protesters moved southbound
               Spring Street to the intersection of Spring and 6th Streets and were contained. Chief
               Moore directed officers containing the small group to repeatedly advise protesters that
               they were under arrest and to sit on the street. Some protesters from the smaller splinter
               groups broke through the containment and moved southbound Spring Street. A small
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               group of protesters looted businesses at 5 th Street and Spring Street. The Air Unit then
               coordinated a blocking force on Spring Street and 7 th Street with a Motor Strike team as
               reinforcement. Officers in the area of 5th Street and Main Street advised that they were
               taking rocks and bottles from protesters.

               Motor units requested resources to 7th Street and Broadway because protesters were
               vandalizing police vehicles. Shortly after that, officers advised they heard shots fired in
               the area. Officers reported that a police vehicle was on fire at Figueroa and 7 th Streets.

 0015 hours    Officers at Main and 5th Streets broadcasted a man with a gun, “shots fired.” According
               to the officers, the suspect wore a red long-sleeved shirt and a mask. The Air Unit
               responded and observed two possible suspects at Winston and Main Streets. Ground
               units located one suspect and took him into custody at 4th and Los Angeles Streets. The
               other suspect was located near the 5th and Los Angeles Streets, and a foot pursuit
               ensued. The foot pursuit ended at 5th and Wall Streets where the suspect was taken into
               custody.

               While officers were handling the man with a gun call, an additional radio call was
               broadcasted for shots fired at 7th and Figueroa Streets. Officers in the area observed
               protesters ignited a police vehicle at the location.

               Protesters at 5th and Main Streets threw bricks, bottles, and harmful items at officers.
               Protesters also gained roof access to the multi-level apartment building on each side of
               the officers near 5th and Main Streets. The officers who were just shot at also had items
               thrown at them including, bricks and rocks, from an elevated position. An ambulance
               was requested for an injured officer at Main and 5th Streets. The officer was not
               transported and instead was released to the CP.

 0035hours     Officers reported that beer bottles were being thrown at them by an unknown suspect
               from on top of the roof of a Whole Food Store located at 788 South Grand Avenue.

 0043hours     Communications Division received information of a group of approximately 80
               protesters looting jewelry stores in the area of 7th and Hill Streets.

 0045 hours    Two officers were reported injured at 7 th Street and Broadway.

 0103 hours    Communications Division received information that an unknown male suspect was
               throwing glass bottles from the roof of 215 6th Street. (Incident No. 0223)

 0125 hours    The Air Unit reported that approximately 50-60 protesters appeared to have liquid
               detergent or gasoline bottles congregating at Pershing Square.

 0127 hours    The Air Unit reported that approximately 60 protesters were attempting to enter the
               Jewelry District at 6th and Hill Streets.



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 0132 hours    Undercover officers requested LAFD to respond to 4 th and Winston Streets for a vehicle
               fire.

 0134 hours    Communications Division received several reports of looting throughout the jewelry
               district in the Downtown Area.

 0135 hours    Officers reported that they were being assaulted by protesters using fireworks and rocks
               at Pershing Square.

 0143 hours    Officers reported looting at various businesses on Spring Street between 5 th and 7th
               Streets.

 0150 hours    Uniformed officers were assigned to crowd control at 6 th Street and South Broadway.
               As officers were positioned in a skirmish line blocking the intersection, a suspect drove
               his vehicle eastbound on 6th Street towards the officers. Officers yelled for the vehicle
               driver to stop. An officer fired a 40mm less-lethal munition at the suspect driving the
               vehicle which broke through the side window and struck the driver in abdomen.
               However, the vehicle continued traveling in the direction of officers on the skirmish line
               which resulted in an officer-involved shooting. The vehicle continued in the direction
               of officers for a short distance then stopped. After the vehicle stopped the Suspect was
               taken into custody. It was determined that the suspect was struck by the 40mm less-
               lethal munition but not struck by gunfire. The suspect was arrested and received
               medical treatment.

 0216 hours    Officers reported that a group of approximately 30-40 protesters were setting trash on
               fire at the intersection of 5th and Hill Streets.

 0322 hours    Chief Moore requested MFF Leaders to respond to Spring and 8 th Streets to stop a large
               amount of looting.

 0405 hours    Unit 19L120 advised that a protester was shooting fireworks at officers.

 0410 hours    Chief Moore requested to have Watch Commanders call Watch 2 personnel and
               encourage them to voluntarily come into work (the Department did not mobilize yet).

 0930 hours    Twelve investigative reports for vandalism were taken at 5 th Street and Grand Avenue.

 1250 hours    A Citywide Tactical Alert was called (Incident No. 2129).

 1400 hours    Approximately 100 protesters gathered for the National Day of Protest at Mariachi
               Plaza (1831 East 1st Street, Incident No. 2032).

 1420 hours    A small group of protesters gathered at PAB. Approximately 150 vehicles were
               gathered in Chinatown. The vehicles were expected to drive to PAB.

 1530 hours    The number of protesters gathered at Mariachi Plaza increased to 200.

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 1600 hours    The Mariachi Plaza crowd began marching from the plaza to Hollenbeck Station (2111
               East 1st Street) then to East Los Angeles LASD’s Station (5019 East 3 rd Street).

 1620 hours    Between 50 and 100 protesters entered the 101 Freeway at East Temple Street. Staging
               for the downtown incident was located at 1st Street and Judge John Aiso.

 1645 hours    The CHP reported that the protesters had moved off the freeway and onto Virgil and
               East Temple Streets.

 1700 hours    Approximately 400-500 protesters from the Mariachi Plaza were now walking
               westbound 1st Street to northbound Spring Street. The CHP requested its resources to
               shut down the 101 Freeway.

 1750 hours    Protesters from the Mariachi Plaza continued west on Cesar Chavez Avenue and then
               south on Grand Avenue. The protesters then entered the freeway and vandalized police
               vehicles. The LAPD formed skirmish lines at Temple Street and Grand Avenue.

 1800 hours    Protesters continued east on East Temple Street from Grand Avenue and assaulted
               officers with rocks and bottles. Officers requested permission to use less-lethal 37mm.
               Staff 2 requested a dispersal order to be given.

 1805 hours    The 200 protesting vehicles arrived at East Temple Street and Grand Avenue. The
               Protesters continued marching through Grand Park and south on Hill Street.

 1915 hours    Officers were assaulted with rocks and bottles at Olympic Boulevard and Figueroa
               Street. Officers requested approval to use 37mm less-lethal. Officers were given
               authorization to use the 37mm by the IC. The CHP requested help at Figueroa Street
               and 5th Street. The CHP reported that they were being assaulted with rocks and bottles.

 1920 hours    Commander 15 requested a dispersal order at Figueroa Street and Olympic Boulevard.
               The dispersal order was given.

 1930 hours    Approximately 500-600 protesters were on Figueroa Street between 3 rd and 5th Streets,
               vandalizing and looting businesses as they continued to assault officers with rocks and
               bottles.

 2000 hours    Air 10 advised that a protester in the group currently at Figueroa and 4 th Streets was
               moving east toward PAB and was armed with a machete. Dispersal orders were given
               five times, and protesters did not disperse. Officers at Olympic Boulevard east of
               Flower Street were being assaulted with rocks and bottles.

 2015 hours    The OCB Operations Chief requested a tow truck for a vehicle filled with fireworks at
               4th and Hill Streets.

 2030 hours    Approximately 200-300 protesters were looting jewelry stores and other businesses in
               the Downtown Area.

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 2045 hours    Officers requested a rescue ambulance for two officers who had sustained injuries from
               protesters throwing items at 7th Street and Broadway.

 2120 hours    Groups of protesters continued to loot businesses in the Downtown Area as officers
               made multiple arrests.

 2145 hours    Officers reported that multiple vehicles were driving around dropping off looters then
               picking them up throughout the Downtown Area. Staff 7 advised to impound vehicles
               and make arrests for curfew violations.

 2235 hours    The CP was informed by Communications Division that approximately 1,000 National
               Guard were scheduled to arrive in the next hour.

 2300 hours    Commander 21 advised of 120 arrests, and 55 vehicle impounds at 8 th Street and
               Broadway. Transport buses and tow trucks were requested.

 2300-0000     Officers made numerous arrests for curfew violations throughout the Downtown Area.


                                    Operations-South Bureau (OSB)

 0030 hours    The DOC requested that OSB CP have nine detectives to respond to the CP by 0600
               hours to conduct a damage assessment. All OSB detective commanding officers were
               contacted and directed to provide two detectives each for the mission.

 0340 hours    An Assistant Chief requested OSB CP provide the same number of resources as they
               did on May 29, 2020, four MFFs.

 0410 hours    Chief Moore requested that all Watch Commanders contact off-duty Watch-2 personnel
               and encourage them to voluntarily come into work.


                                    Operations-West Bureau (OWB)

 0900 hours    The OWB CP was operational, and resources were checking in at the OWB staging
               location. Protesters arrived at Pan Pacific Park at 7600 Beverly Boulevard for the
               Breonna Taylor Rally. A small group formed but was peaceful at that time.

 1100 hours    The OWB Staging location reported that resources assigned to OWB were delayed and
               unable to be deployed to the field. Resources were not fully organized into strike
               teams, still checking in, or had not arrived at the staging location. Many of the officers
               assigned to the OWB event were held over due to the civil unrest that occurred in
               Downtown Area the day prior.
               Some officers assigned to the OWB CP had worked May 29, 2020 (the day prior) and
               were released on May 30, 2020 at 0700 hours causing delays in resource availability.

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 1130 hours    The groups of protesters at Pan Pacific Park had quickly grown to approximately 150
               participants. The OWB CP notified the staging area that resources checking in were
               requesting less-lethal munitions (beanbag, 37mm and 40mm) and flex cuffs.

 1200 hours    The OWB IC left the OWB CP to brief resources at 4801 Venice Boulevard and the
               Staging Location (7800 Beverly Boulevard).

 1230 hours    The OWB IC requested an Air Unit to respond to Pan Pacific Park and provide a crowd
               estimate. Air 18 responded and estimated the group to be approximately 1,500 and
               growing rapidly. A group of 300 protesters was forming at Beverly Boulevard and
               Gardner Street. This group planned to march in the area, but it was unclear what path
               they would take.

 1250 hours    A Tactical Alert was called (see Incident No. 2129).

 1300 hours    The group in Pan Pacific Park continued to gather and had grown to approximately
               2,500 participants. The IC did not return to the OWB CP. Instead, due to crowd size
               and her belief that she could not afford to take the time to travel back to OWB from the
               staging location, she decided to remain at the Staging Area and assumed IC
               responsibilities from there.

 1315 hours    A large portion of the group began moving southbound through the park towards 3 rd
               Street. At the same time, a smaller group began moving northbound through the park
               and onto Beverly Boulevard. The staging location advised the OWB CP that seven
               Strike Teams and two Metro TSEs were available at staging. The OWB CP advised
               staging that two additional Strike Teams arrived at the OWB CP and were standing by
               for deployment. Both the IC and the Operations Chief were deployed in the field.

               When the large group of protesters moved south through Pan Pacific Park, the
               Operations Chief facilitated their movement by deploying a Strike Team to stop
               westbound traffic at 3rd Street and Gardner. The group of approximately 2,500 took to
               the street and began moving westbound 3rd Street from Gardner. As the group
               continued westbound on 3rd Street, vehicle traffic was unable to flow due to the
               protesters in the streets. At 3rd Street and Fairfax Avenue an MTA bus was unable to
               move.

 1330 hours    The protesters continued to surround the bus and climbed onto the roof. While this was
               happening the driver and passengers remained in the bus. Local news networks were
               broadcasting this incident live, which allowed the OWB CP and the Staging Area to
               observe the group’s behavior.

 1345 hours    Air 18 was over the incident and reported the group’s size and behavior. The group of
               approximately 200 protesters on Beverly Boulevard north of Pan Pacific Park were
               confrontational and actively blocking police vehicles.



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               The larger group of approximately 2,500 protesters on 3rd Street south of Pan Pacific
               Park moved westbound toward La Cienega. Smaller groups were remaining at 3 rd
               Street and Fairfax Avenue and inside Pan Pacific Park.

 1350 hours    Staff 6 and Commander 7 arrived at the Staging location and had a briefing with the IC.

 1400 hours    The 3rd Street Group of protesters continued to vandalize the MTA bus endangering
               passengers still inside.

               The majority of the protesters continued moving westbound towards La Cienega
               Boulevard. A Strike Team was deployed from the Staging location to the MTA bus
               location to rescue the driver and passengers. The Air Unit directed the Strike Team
               from staging to 3rd Street west of the bus to avoid the group of protesters in the
               intersection at 3rd and Fairfax Avenue.

               The larger portion of the group continued moving west on 3 rd Street towards La Cienega
               Boulevard.

               When the Strike Team arrived at the bus, the protesters moving westbound observed the
               police vehicles on 3rd Street and began moving eastbound on 3rd Street back towards
               Fairfax Avenue, in the direction of the police vehicles. This group of protesters then
               surrounded the Strike Team and their vehicles. As this was occurring, the group of
               protesters at 3rd Street and Fairfax Avenue observed the officers and approached from
               the east. The Strike Team was then surrounded and unable to move.

               The Air Unit requested resources to respond Code 3 to assist the Strike Team, which
               was surrounded and being assaulted by protesters who were throwing items at the
               officers.

 1420 hours    The IC broadcasted that a Metropolitan TSE was launching from Staging to the bus and
               Strike Teams location.

 1430 hours    The TSE arrived and requested less-lethal approval before they began moving the
               crowd. The IC gave approval for less-lethal munitions.

 1435 hours    Officers reported protesters were surrounding them at 3 rd Street and Edinburgh Avenue.
               Officers were assaulted with thrown objects and numerous police vehicles were being
               vandalized. Furthermore, officers reported that protesters were attempting to break into
               buildings and set them on fire.

 1440 hours    Protestors at Beverly Boulevard surrounded officers conducting traffic control at
               Beverly Boulevard and Fairfax Avenue. Officers broadcasted that they were being
               assaulted by protesters who were throwing objects at them and vandalizing their police
               vehicles. Officers requested additional units to respond and bring less-lethal weapons
               to Beverly Boulevard and Crescent Heights Boulevard. During this encounter, an
               officer’s radio was taken by the protesters.

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               Protesters were scattered all over and lining the sides of the street. Officers had
               difficulties pushing the crowds of protesters because additional groups would flank the
               officers and come from behind the Strike Teams. Groups of protesters moved from the
               east and the west towards the Staging location at Genesee and Beverly Boulevards.
               Both groups of protesters were throwing items at the police and looting stores as they
               moved towards the Staging Area entrance.

 1535 hours    Four MFFs and two jail transport buses from LASD were requested to respond to OWB
               staging.

 1700 hours    Chief Moore directed a TSE unit to Beverly and Fairfax Boulevards in order to hold the
               southern edge of the intersection. He then directed the Air Unit to coordinate available
               resources and establish blocking forces at Beverly Boulevard and Fairfax Avenue on the
               east and westside of the intersection. Chief Moore advised that the TSE unit hold the
               northside of the intersection to contain the crowd as an MFF moved the crowd
               northbound on Fairfax Avenue from 3rd Street. Once the crowd was contained, a
               dispersal order would be given, ordering the crowd to disperse northbound Beverly
               from the intersection of Beverly and Fairfax Boulevards. The crowd would be allowed
               to disperse northbound only. If they did not disperse as required he directed that they
               be contained, ordered to sit and be placed under arrest. Chief Moore requested a sound
               truck to Fairfax Avenue and Beverly Boulevard in anticipation of a dispersal order.

               The Air Unit advised blocking forces on the east side of the intersection at Fairfax
               Avenue and Beverly Boulevard of a crowd approaching them from the rear, east of
               Fairfax Avenue on Beverly Boulevard. The Air Unit requested they redeploy and allow
               the crowd to move into the intersection, then reestablish containment.

               Unit 7P150 advised the OWB CP that police vehicles were being vandalized near 3 rd
               Street and Fairfax Avenue.

 1705 hours    Staff 8 advised the OWB CP that, per Chief Moore, they would be declaring the entire
               area closed. He directed the OWB CP to designate the area to be closed and advise him
               of the boundaries, so that the boundaries could be stated in the dispersal order.

               The OWB CP established the following boundaries: La Cienega Boulevard to the West,
               Melrose Avenue to the North, 6th Street to the South, La Brea Avenue to the East.

 1709 hours    Chief Moore requested LAFD to Fairfax Avenue south of Beverly Boulevard for a
               vehicle fire.

 1710 hours    An LASD unit advised they were at Spaulding and Beverly Boulevard holding that
               location.




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 1712 hours    Chief Moore advised Staff 8, and blocking forces, on the eastside of the intersection of
               Fairfax Avenue and Beverly Boulevard that a crowd had approached them from the rear
               and that they were surrounded.

 1718 hours    Large scale unrest had occurred in the Fairfax area as LAPD Command Staff, the Air
               Unit as well as MFF supervisors attempted to coordinate containment of multiple
               hostile crowds. At this time, numerous police vehicles parked in the area without
               protection from officers were vandalized or burned. The vandalism included, but was
               not limited to, broken windshields and windows, slashed tires, and spray-painted
               vandalism. Officers advised the Air Unit and OWB CP that individuals in the crowd
               had used Molotov Cocktails to burn police vehicles from the inside. Most of the spray-
               painted vandalism consisted of anti-police phrases and threats directed towards officers
               and law enforcement as a whole. Multiple businesses in the Fairfax area were looted
               and vandalized. Arson was committed as well as reports from officers stating that
               individuals in the crowd were in possession of Molotov Cocktails. Crowds split into
               small groups and were running through alleyways, uncontained streets, private property,
               and parking lots to avoid containment.

 1720 hours    Additional less-lethal munitions were delivered to the OWB Staging. Supervisors in the
               field were notified and sent officers back to OWB Staging to retrieve less-lethal
               munitions.

 1730 hours    Multiple protesters continued large scale violence that included, but was not limited to,
               throwing harmful items at uniform officers such as bricks, concrete and water bottles
               containing unknown substance; large scale looting; and, arson throughout the area.
               Some Strike Teams were instructed to be a blocking force as others attempted to move
               the crowds away from the area. Chief Moore requested all resources not assigned to
               OCB to respond Code 3 to OWB Staging. Numerous calls of armed (guns, crowbars
               and bats) suspects looting, and setting fire to multiple businesses in the area were
               broadcasted.

               The Air Unit advised that a crowd of 200 at Blackburn and Edinburgh Avenues moved
               eastbound Blackburn Avenue towards officers on Fairfax and Blackburn Avenues.
               Officers and the Air Unit advised that the crowd was using parking lots in the area to
               circle around officers at 3rd Street and Fairfax Avenue, approaching them from the rear.

               At the same time, the Air Unit requested three squads respond to 3 rd Street and Fairfax
               Avenue for the crowd that had dispersed but was now reforming and becoming more
               violent. The Air Unit addressed the squads just east of Fairfax Avenue on 3 rd Street,
               adding that officers just south of 3rd Street on Fairfax Avenue needed assistance
               immediately. The hostile crowd approaching officers from the east on Blackburn
               Avenue was too large for the small number of officers in the area. The two large
               crowds moved towards each other in an attempt to form one group.




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 1732 hours    Staff 6 advised all units that a dispersal order was given to the large crowd contained at
               Fairfax Avenue and Beverly Boulevard, ordering the crowd to disperse northbound on
               Fairfax Avenue.

               This occurred while officers near 3rd Street and Fairfax Avenue requested assistance.

               Two large hostile crowds occupied areas in close proximity to each other near 3 rd Street
               and Fairfax Avenue. One crowd was at 3rd Street and Edinburgh Avenue and the other
               was at 3rd Street east of Fairfax Avenue. Both crowds assaulted officers and vandalized
               the areas they occupied. The size and hostile demeanor of these two crowds proved
               difficult for the small number of officers in the area to manage. Officers in both areas
               continued to be assaulted by harmful items such as rocks, broken concrete, and water
               bottles containing an unknown substance. Officers in the area also advised that
               individuals in the crowd were in possession of prohibited items that could be used as
               weapons, such as golf clubs.

               At this time, resources were limited. Units had difficulty responding to assistance
               requests due to gridlocked traffic and protesters blocking the street.

 1743 hours    The two crowds near 3 rd Street and Fairfax Avenue continued their violence. Separate
               smaller crowds occupied Beverly Boulevard and Orange Grove Avenue, Ogden Drive
               and Genesee Avenues. Officers on these streets attempted to move the crowds
               northbound away from Beverly Boulevard.

               The Air Unit repeated that officers at 3rd Street and Fairfax Avenue and officers at
               Edinburgh Avenue needed assistance. Officers near Fairfax Avenue and Blackburn
               Avenue (just south of 3rd Street) advised that individuals in the crowd were committing
               arson in the area and throwing Molotov Cocktails.

 1746 hours    Units at 3rd Street and Fairfax Avenue asked the Air Unit if a dispersal order was given
               to the crowd at 3rd Street and Fairfax Avenue. Chief Moore directed the CP to order all
               supervisors to advise protesters that the area was closed and to leave the area. Chief
               Moore added that this was to be an ongoing advisement, prior to arrest and prior to
               containing the crowd. He then requested a sound truck to 3 rd Street and Fairfax Avenue
               to give a dispersal order to the crowd at that location. Staff 6 re-advised the parameters
               of the area closed by radio broadcast as a reminder for supervisors who were advising
               the crowd.

               As hostile crowds marched in multiple areas, the news media broadcasted that looting
               was occurring on Melrose Ave.

 1747 hours    The OWB CP advised that approximately 180 protesters occupied the intersection of
               Norton Avenue and Beverly Boulevard in Olympic area. Protesters were sitting in the
               intersection, causing traffic gridlock and refusing to leave.



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 1748 hours    Additional units arrived to assist with the hostile crowd at 3 rd Street and Edinburgh
               Avenue. As units arrived the crowd mobilized and moved northbound Edinburgh
               Avenue from 3rd Street.

               Units on Fairfax Avenue just south of 3rd Street advised they did not receive assistance,
               stating they had only 13 officers to manage a violent crowd of 150 protesters.

 1753 hours    An LASD unit advised that a violent crowd at Grove Drive and Beverly Boulevard were
               throwing rocks and bottles at them.

 1755 hours    The Air Unit repeated that officers at Hayworth Avenue and Beverly Boulevard needed
               assistance with a large hostile crowd that continued to grow.

               As command staff and supervisors broadcasted multiple requests, the Air Unit advised
               that units at 3rd Street and Fairfax Boulevard did not have enough resources and needed
               assistance.

 1756 hours    Staff 6 advised the Air Unit that all available units were to respond to 3 rd Street and
               Fairfax Avenue, contain protesters at that location, give a dispersal order directing them
               to disperse northbound, facilitate a safe dispersal, and if needed, effect a large-scale
               arrest.

 1759 hours    Units on Fairfax Avenue south of 3 rd advised that they needed assistance with a violent
               crowd and were deploying less-lethal munitions on the crowd.

 1810 hours    As the Air Unit identified available resources, they coordinated responses to Hayworth
               Avenue and Beverly Boulevard as well as 3rd Street and Fairfax Avenue. Response to
               each area was delayed due to traffic gridlock and protesters occupying the street.

 1813 hours    An officer was injured near Fairfax Avenue and 1 st Street. Unit P460 requested an RA
               for the injured officer.

 1820 hours    Officers at 3rd Street and Fairfax broadcasted that individuals in the crowd gained roof
               access on the buildings surrounding 3 rd Street and Fairfax Avenue, where officers were
               attempting to contain a large crowd. This officer safety issue required squads to break
               from containment assignments in order to enter the building and attempt to clear the
               roof.

               Individuals in the crowd continued to gain access to buildings overlooking areas where
               officers were set as blocking forces on the ground. This occurred at various locations
               along Fairfax Avenue between 4th Street and Beverly Boulevard.

               Units at Hayworth Avenue and Beverly Boulevard advised they were taking rocks and
               bottles from an extremely hostile crowd.



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 1822 hours    Unit 7P430, located at Beverly Boulevard and Spaulding Avenue along with LASD
               units, advised that some type of tear gas was used against officers by protesters.

 1824 hours    Units in the area of Beverly Boulevard and Fairfax Avenue advised that individuals in
               the crowd were lighting police vehicles on fire parked on Beverly Boulevard and
               Fairfax Avenue. Due to limited LAPD resources, LASD units responded to address
               arson attempts.

 1826 hours    Staff 1 directed the OWB CP to have the staging manger and/or assistant, drive the
               perimeter area to identify units not actively tasked with an assignment and reassign
               them to the Beverly Boulevard and Hayward Avenue. His direction identified that the
               request for additional units at Beverly Boulevard and Hayworth Avenue was a priority.

 1827 hours    A large number of looting incidents occurred at “The Grove” outside the shopping mall.

 1830 hours    Officers advised that individuals in the crowd at Beverly Boulevard and Stanley Avenue
               were throwing harmful items at them such as rocks, bottles and “M80” explosives.
               They added that individuals were also igniting dumpster fires in the area.

 1838 hours    The Air Unit advised the OWB CP that large groups were looting numerous stores at
               The Grove.

 1839 hours    An LASD unit requested LAFD respond to Grove Drive (which continues as Stanley
               Avenue) north of Beverly Boulevard. The LASD units broadcasted that individuals in
               the crowd had ignited dumpster fires and pushed them into officers on skirmish lines.

 1841 hours    Unit P280 requested an ambulance for an officer with a knee injury at Ogden Drive and
               3rd Street.

               The Air Unit advised that there were three dumpsters on fire and a crowd of 200 near
               Stanley Avenue and Beverly Boulevard, one block east of the entrance to the OWB CP.

 1846 hours    As looting continued at The Grove outdoor shopping center a small but hostile crowd
               approached the gated entrance to the OWB CP at Genesee Avenue and Beverly
               Boulevard. Commander 14D observed the safety issue while at the OWB CP and
               immediately directed a squad to the south side of Beverly Boulevard at Genesee
               Avenue. He then added that the OWB CP was completely open from the north and to
               get officers from the CP to respond to the entrance immediately.

               The Air Unit advised an additional crowd of 200, two blocks east of Genesee Avenue at
               Stanley Avenue and Beverly Boulevard. Unit P370 advised the crowd at Stanley
               Avenue and Beverly Boulevard were throwing “Molotov Cocktails” at officers and
               LASD units.

               Unit 25P460 requested eastbound traffic blocked at Fairfax Avenue and Beverly
               Boulevard to prevent vehicles from approaching the OWB CP.

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 1849 hours    The Air Unit advised the OWB CP to send additional MFFs to Stanley Avenue and
               Beverly Boulevard for a growing crowd.

               Officers at two locations 3rd Street and The Grove Drive and Stanley Avenue and
               Beverly Boulevard needed a resupply of less-lethal munitions and to have the request
               respond Code 3. The OWB CP confirmed they received each munitions request and
               organized resupply.

               While the Air Unit was overhead at the Grove he observed a structure fire near the
               Nordstrom Store. The Air Unit broadcasted to units on the ground and to the OWB CP
               for situational awareness. The structure fire was the substation for officers at the Grove.

 1854 hours    The Air Unit requested units to Stanley Avenue and Beverly Boulevard to assist officers
               with a large hostile crowd of 450 who were assaulting officers at that location. Multiple
               units at that location advised that individuals in the crowd were throwing rocks, bottles
               and fireworks at officers. Unit P430 advised the Air Unit, that officers at Stanley
               Avenue and Beverly Boulevard were unable to hold the crowd without additional
               resources.

 1903 hours    The Air Unit advised that the LAFD force protection detail (MQ20), who were blocked
               at Stanley Avenue north of Beverly Boulevard were being assaulted by rocks and
               bottles.

               Unit MQ20 and LAFD were able to leave the area before any officers were significantly
               injured and advised the Air Unit that Stanley Avenue and Beverly Boulevard was a
               problem location.

               The force protection detail and LAFD attempted different routes of travel as they
               responded to structure fires in the area, but the crowds blocked traffic and assaulted
               LAFD and officers.

               Officers at Beverly Boulevard and Stanley Avenue advised the OWB CP that they
               needed a less-lethal munitions resupply. The OWB CP advised they received the
               request and coordinated a response.

               Units TSE 1, TSE 2 and TSE 3 advised they were responding to Stanley Avenue and
               Beverly Boulevard to assist.

 1905 hours    Unit P810 advised they were assaulted with rocks and bottles at Beverly Boulevard and
               Edinburgh Avenue.

 1906 hours    Unit 7P210 advised that officers were taking rocks and bottles at Beverly Boulevard
               and Edinburgh Avenue. Minutes later, they re-broadcasted a request for additional
               resources to Edinburgh Avenue and Beverly Boulevard, adding they were assaulted by
               fireworks as well.


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 1907 hours    Unit Commander 14D arrived at Beverly Boulevard and Stanley Avenue and
               coordinated a response to address the violent crowd at that location. The Air Unit
               advised Commander 14D to move the crowd at Stanley Avenue and Beverly Boulevard
               eastbound from the location.

 1918 hours    Unit P628, had one arrestee in custody and requested assistance to Ogden Drive and 3 rd
               Street, stating they were being surrounded by a crowd.

 1921 hours    At this time, there were three main hostile crowds that occupied the Fairfax area.
               The crowds on Beverly Boulevard at Genesee Avenue and Stanley Avenue were moved
               by skirmish lines eastbound on Beverly Boulevard to Gardner Street. The Air Unit and
               Commander 14D had coordinated separate squads to move the crowds eastbound on
               Beverly Boulevard while simultaneously moving a squad eastbound through the parallel
               alley just north of Beverly Boulevard. Both squads moved simultaneously. This
               proved effective in moving the crowd and at the same time blocking the crowd’s tactic
               of splitting into smaller groups then doubling back around MFFs causing safety issues
               for officers.

               The crowd near 3rd Street and Fairfax Boulevard continued its violence as they were
               moved by MFFs to 3rd and Gardner Streets. The MFF addressing this crowd advised
               multiple times that they were low on less-lethal munitions and needed resupply.

               The crowd near Edinburgh Avenue and Beverly Boulevard maintained a violent and
               aggressive demeanor towards officers in the area. Supervisors at that location had
               requested additional resources multiple times.

               The crowds at all three of these locations were extremely hostile and assaulted officers
               on skirmish lines. Individuals in the crowd used dumpsters lit on fire as barricades and
               deterrents against MFF movements. Individuals in the crowd also, threw harmful items
               at the officers, some of the items were rocks and concrete and water bottles with an
               unknown substance.

               Individuals continued looting multiple businesses in the greater Fairfax area. The Air
               Unit requested and coordinated the response of additional units to each of the three
               locations.

 1930 hours    Unit P530 advised the OWB CP that they arrived to 3 rd Street and Ogden Drive but
               could not find the officers who requested an RA for an arrestee.

 1935 hours    As Commander 14D continued to move the crowd at Beverly Boulevard and Gardner
               Street eastbound on Beverly Boulevard the crowd size decreased to approximately 150.
               The crowd largely dispersed after reaching La Brea Avenue.

 1937 hours    The crowd at Edinburgh Avenue and Beverly Boulevard moved northbound to
               Oakwood Avenue and then to Rosewood Avenue. The Air Unit requested units to
               Fairfax Avenue near Oakwood Avenue for individuals looting businesses. The Air Unit

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               also advised that a violent crowd was forming at Rosewood Avenue near Hayworth
               Avenue.

               The IC requested the locations of the fires from the Air Unit. The Air Unit advised that
               the major fires were located at Rosewood Avenue and Fairfax Avenue, LAFD was
               responding.

 1944 hours    The OWB CP directed the Air Unit to assess the area (Fairfax area) and reassign units
               to locations that required assistance. The Air Unit conducted their assessment and
               requested TSE 1 and TSE 2, located at Beverly and La Brea Boulevards, to Oakwood
               Avenue and Fairfax Avenue.

               Individuals in the crowds near Oakwood and Fairfax Avenues continued to ignite fires
               in the area and loot businesses.

 1958 hours    Units at 4th Street and Fairfax Boulevard advised they were taking rocks, bottles and
               fireworks, and additional units responded to assist. Due to multiple dumpster fires in
               the roadways, the Air Unit guided additional units, attempting to provide an unblocked
               route of travel.

               Unit MQ20 requested additional units respond to the area of Melrose and Spaulding
               Avenues. He advised there were multiple structure fires and looting in the area.

 2000 hours    The Air Unit and ground units attempted to contain the crowd and numerous looting
               suspects on Fairfax Avenue near Rosewood and Oakwood Avenues. This was done by
               positioning units set in the alleys directedly east and west of Fairfax Avenue to prevent
               looting suspects from fleeing to the rear of businesses on either side of Fairfax Avenue.
               As looting occurred, hostile crowds continued to march in multiple areas. Units at 4th
               Street and Fairfax Avenue advised that individuals in the crowd near that location were
               removing items from dumpsters that could be harmful if thrown at officers. Officers
               advised that those individuals were attempting to gain access to the roof tops of the
               buildings surrounding them possibly positioning themselves to throw items at officers
               from an elevated position.

 2010 hours    A TSE unit arrived at Melrose and Genesee Avenues then moved eastbound on Melrose
               Avenue toward Spaulding. The Air Unit advised that looting crimes were occurring in
               area of Spaulding and Melrose Avenues but that the more significant crowd was further
               east on Melrose Avenue near Poinsettia Place.

               A unit at Beverly Boulevard and Gardner Street advised that a hostile crowd was
               forming in the area and they had only a small number of officers at that location.

 2011 hours    Unit TSE 4 advised the OWB CP to have a LASD jail transport bus respond to Fairfax
               Avenue and Oakwood Avenue. They advised a large crowd of 100 was about to be
               contained and taken into custody at Fairfax Avenue and Rosewood Avenue.


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 2017 hours    The Air Unit advised the OWB CP that a squad moving eastbound Melrose Avenue on
               Gardner Street was alone and needed an additional squad to protect its backside. The
               Air Unit further stated that the squad’s backs were currently exposed to vehicle traffic
               and hostile crowds.

 2019 hours    The Air Unit advised that numerous looting crimes were occurring around Melrose and
               Formosa Avenues. In order to contain those suspects the Air Unit requested officers
               respond to the alleys just north and south of Melrose Avenue. The Air Unit directed
               those units to move eastbound in at the same time as officers on Melrose Avenue
               moved eastbound.

               The IC directed the Air Unit to address the looting crimes at Melrose and Formosa
               Avenues. However, coordinating officers into an organized response proved difficult.
               There were numerous escape routes, included alleyways, for looting suspect to use. The
               Air Unit would advise throughout the night that suspects would flee each looting
               location, often to the rear, as they observed officers responding.

               Unit TSE 1 requested a jail transport van to Melrose and Fuller Avenues for looting
               suspects in custody.

               As looting occurred on Melrose Avenue, the crowd at 4 th Street and Fairfax Avenue
               continued its violence and hostility. Units at Colgate Avenue and Fairfax Avenue, just
               south of 4th Street and Fairfax Avenue requested additional 37mm less-lethal munitions.

 2024 hours    Chief Moore advised he was reassigning units from Fairfax Avenue and Rosewood
               Avenue and requested the Air Unit advise where they were needed. The Air Unit
               advised that those units should respond to Rosewood and Fuller Avenues.

               The Air Unit advised that a crowd of 100 had formed at Melrose Avenue and Alta Vista
               Boulevard and barricaded the street with items including dumpster fires.

 2028 hours    Units at 3rd Street and Edinburgh Avenue advised that a vehicle drove through a
               skirmish line, then collided with a light pole in the area.

 2034 hours    The Air Unit advised that numerous looting crimes continued on Melrose Avenue near
               Fuller Avenue. Three TSE units were in the area but unable to address the ongoing
               crimes due to those units having had multiple suspects contained and in custody.

 2036 hours    Multiple fires continued in the greater Fairfax area. The Air Unit advised that four
               LAFD fire engines, attempting to travel westbound, on Melrose Avenue were blocked
               by a barricade of dumpster fires at Alta Vista Boulevard. The LAFD engines were able
               to turn southbound Alta Vista Boulevard and responding units assigned to force
               protection cleared Alta Vista Boulevard allowing the LAFD engines a clear path out of
               the area.



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 2044 hours    Throughout the remainder of night, there were numerous looting and burglary radio
               calls generated for OWB. As a result of the enforcement taken by officers during these
               incidents, the jail vans could not handle all of the requests from patrol. This left several
               officers and arrestees waiting for significant periods of time for transport. Moreover,
               officers who had arrestees in their custody were unable to respond to the looting radio
               calls that were occurring around them.

 2055 hours    The Air Unit advised that individuals in the crowd near Melrose and La Brea Avenues
               were throwing rocks, bottles, and fireworks at officers.

 2105 hours    The LAFD force protection units at Melrose and Stanley Avenues advised that a large
               crowd had formed and was looting businesses in the area. Units also advised that an
               additional fire had started on the southwest corner of the location in the Urban
               Outfitters.

 2120 hours    The Air Unit organized containment of the Target store on La Brea Avenue between
               San Vicente and Pico Boulevards for additional looting suspects contained in the store.

               Chief Moore gave direction to transport arrestees at La Brea and Pico Boulevards by
               available patrol vehicles in the area. Arrestees were to be transported a short distance to
               Wilshire station and not wait for MTA buses for transport. However, 7L10 advised that
               Wilshire Station did not have the ability to process the arrestees and that they were to be
               transported to Van Nuys Station.

 2126 hours    The OWB CP requested an area assessment from the Air Unit.

 2128 hours    Commander 14D advised the OWB CP that widespread looting was occurring at
               multiple businesses in the Beverly Center Shopping Mall.

 2131 hours    Commander 6 requested additional units to the scene of multiple structure fires at
               Melrose and Spaulding Avenues. The force protection units, assigned to LAFD at same
               location, advised that the fires had been put out and that LAFD was leaving. Due to
               their assignment as force protection for LAFD they would be leaving the location as
               well.

 2137 hours    Commander 6 requested additional units to Melrose and Spaulding Avenues. Unit TSE
               5 and an LASD squad advised they would respond to Melrose and Spaulding Avenue to
               assist officers at that location.

 2140 hours    The OWB CP requested the Air Unit respond to Fairfax and Rosewood Avenues to
               assess activity in the area. As the Air Unit arrived they advised of suspects looting
               numerous businesses on Fairfax Avenue between Rosewood and Melrose Avenues.

 2142 hours    The Air Unit advised an agitated group was launching fireworks at Melrose and
               Spaulding. Additionally, at the same location, there was a fire with no fire personnel at


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               scene. The Air Unit advised fire personnel were at Stanley Avenue and Melrose
               Avenue handling the fire at that location.

 2144 hours    The Air Unit advised units at Melrose and Spaulding requested a backup response due
               to assaults with fireworks at location. Multiple units responded to assist.

 2145 hours    The DOC log indicated that 105 officers from mutual aid were being deployed to OWB
               (43 from Santa Barbara and 62 from Ventura County).

 2146 hours    The OWB CP advised they have approximately 60 Orange County Sheriffs ready to be
               deployed. The Air Unit suggested that they respond to Melrose Avenue and Gardner
               Street.

 2147 hours    The Air Unit advised of a fire at Genesee Avenue and Melrose Avenue. The LAFD
               was advised and the Air Unit requested the LASD to assist fire with the force protection
               at the location. The Orange County Sheriff’s responded to the location to assist with
               force protection and blocking forces.

 2153 hours    The OWB CP requested situational awareness from the Air Unit, Air Unit advised of a
               vehicle fire at Melrose Avenue and Formosa Avenue, there was a group forming at the
               location. The Air Unit advised LAFD was at the location but left, possibly due to do
               with the crowd around the vehicle fire.

 2157 hours    Commander 14D requested additional units at La Cienega Boulevard and 3 rd Street for
               several looting calls and active looting in the area.

 2158 hours    The OWB CP requested an update of the Grove, they received intelligence that the
               Grove was possibly being looted. The Air Unit went overhead and reported nothing
               abnormal. The Air Unit observed looting at the CVS located at Beverly Boulevard and
               La Cienega Boulevard. No LAPD personnel were in the area. The Air Unit advised
               they had to go downtown for another request and would return as soon as they could.

 2214 hours    The Air Unit advised of a dumpster fire at Fairfax Avenue and Waring Avenue.

 2220 hours    Units at Fairfax Avenue and Rosewood Avenue requested additional units for officers
               taking fireworks at the location. Additional units responded to the location for
               assistance.

 2222 hours    The OWB CP advised jail transport will be departing staging and to update locations of
               arrestee pickups.

 2230 hours    Officers requested bomb squad to Rosewood and Fairfax Avenues for an unexploded
               item. The OWB CP acknowledged and handled.

 2244 hours    The OWB CP advised officers of the commander’s intent to arrest as many looters as
               possible.

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 2249 hours    Officers broadcasted there were two vehicle fires at Beverly Boulevard and La Cienega
               Boulevard. The OWB CP acknowledged and would advise LAFD.

 2251 hours    The Air Unit advised the OWB CP of a vehicle fire at Alfred Street and Beverly
               Boulevard. The OWB CP advised LAFD.

 2255 hours    The Air Unit broadcasted possible looters at 3 rd Street and Kings Road; there were five
               vehicles at the location involved with the looting.

 2256 hours    Commander 7B requested units to respond to The Grove for possible looting at the
               location.

 2306 hours    Officers advised looting occurred at a 7-11 business at Gardner and 3 rd Streets. Officers
               requested the Air Unit to canvass the area for the looters that possibly entered a white
               Honda that was parked in the alley.

 2325 hours    Officers requested LAFD to Genesee and Beverly Boulevard for a dumpster fire.

 2330 hours    The OWB CP advised all personnel there are no jail transport vans available, only jail
               buses. If personnel are waiting for jail transport and have only a couple arrestees, move
               the arrestees to another location with a bigger group detained.

 2334 hours    The Air Unit informed personnel, the looting in the area of Poinsettia Place and Melrose
               Avenue have vehicles involved and are moving from store to store.

 2337 hours    Commander 6 advised personnel to begin vehicle enforcement and stop all vehicles in
               the area and arrest on curfew violations if not a looting investigation.

               Officers asked Commander 6 what to do with the vehicles of those arrested for curfew.
               Commander 6 advised to park the vehicles.

 2348 hours    Officers requested a jail transport van at La Brea Boulevard and San Vincente
               Boulevard. The Target continued to be looted and the pharmacy at the location as well.

 2354 hours    Officers at Beverly Boulevard and Crescent Heights requested the status of the jail
               transport van as they waited for over an hour with six arrestees. The OWB CP
               acknowledged and stated they were working on the request.

 2358 hours    Plain clothes officers reported looters inside starting fires at the Off-Broadway Shoe
               Store near Mansfield Avenue and Sunset Boulevard. They requested LAFD response.




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                                  SUNDAY, MAY 31, 2020

                                  Operations-Central Bureau (OCB)

 0004 hours    From midnight to 0100 hours, OCB had multiple requests for jail transport vehicles in
               the greater downtown Los Angeles area.

 0030 hours    Unit M30 requested Bomb Squad to respond to 1100 South Broadway for a container of
               nitrous oxide located inside a Cadillac Escalade. The Bomb Squad was not available,
               so the DOC contacted Los Angeles County Hazmat to respond.

 0142 hours    The OCB IC assigned a dedicated Air Unit to the CP for situational awareness.

 0220 hours    The OCB IC directed all units to handle their arrests and transports due to having no jail
               transport vehicles available to respond.

 0300 hours    A person reported looting at the jewelry store located at 624 South Broadway.

 0825 hours    All National Guard units deployed in OCB and OWB were directed to respond to
               Dodgers Stadium Parking Lot, Staging Area.

 0850 hours    An unknown motor unit requested back-up for an irate man with a gun in his right hand.
               The suspect was traveling East 5th Street from San Julian Street. Squad P130 units
               responded (Incident No. 1267). Although the incident was not related to the civil
               unrest, the situation needed resources, furthering depleting more resources for the City.

 1014 hours    Unit P740A advised there was a pallet of rocks located on Main Street, under the
               freeway, that could be used as projectiles.

 1035 hours    Unit P760A advised there were three to five pallets of cinder blocks located on the
               southeast corner of Flower Street and Pico Boulevard. The CP notified Street Services
               to remove the items from both locations

 1400 hours    The Santa Monica Police Department (SMPD) requested mutual aid from the
               Department. Two MFF packages were directed to the City of Santa Monica for mutual
               aid.

               The SMPD also advised of approximately 150-200 protesters were traveling south on
               Colorado Street in the City of Santa Monica possibly enroute to Pacific Area.

 1415 hours    An officer completed a burglary report at the Cathay Pharmacy, 711 West College
               Street, Suite 100. Approximately $400,000 in damage and property taken was reported.

 1443 hours    Over the following two hours, crowds at the different locations in the Downtown Area
               began marching and taking over the streets. Additional resources were called in to
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               assist in keeping the crowds from taking additional streets and blocking access to the
               freeways. The combined crowd size reached over 500 protesters.

               Chief Moore advised that if the protesters were peaceful and not committing any acts of
               vandalism or burglary, to allow them to walk and peacefully protest. The crowds did
               not stay together; new groups formed, groups combined and split, and continued to
               move throughout the Downtown Area.

 1510 hours    Unit Q130 advised the crowd at 5th and Hill Streets was throwing rocks and bottles at
               the officers.

 1515 hours    Commander 27 authorized the arrest of the suspects throwing rocks and bottles. At the
               same time, Staff 230 reported seeing a white sedan in the same area passing out
               fireworks to protesters in the crowd and a traffic stop was conducted within 15 minutes.
               The traffic stop was initiated at 4th and Hill Streets. Investigative Branch was notified
               and sent two detectives to assist with the traffic stop.

 1530 hours    The Air Unit advised 300-400 protesters were peacefully walking south on Flower
               Street, passing Wilshire Boulevard.

               Unit P750B responded and observed a male Black, with chains, in the group throwing
               objects. Upon their arrival, unit Q110A also observed the same suspect still with the
               group. The Air Unit requested an arrest team to the location. Unit TC1 (possibly
               TSE1) responded to the location to assist with extracting the suspect who was throwing
               objects.

 1550 hours    The Air Unit advised another group of 200-300 protesters in the intersection of
               Figueroa Street at 12th Street. The group was stopping a bus from moving and
               requested two MFFs to respond to assist the bus.

               A resource request was placed for four videographers.

 1615 hours    Commander 27 advised one of the protest groups traveling north on Flower Street had
               protesters that were carrying hammers and M80 explosives. The Air Unit advised that
               an additional group was traveling eastbound on 5th Street towards Pershing Square had
               protesters that were carrying military style back packs.

 1618 hours    An additional group of 600 protesters formed and was moving northbound on Grand
               Avenue towards 3rd Street.

 1630 hours    An unknown unit advised the protest group located at 1 st and Grand Streets had
               hammers and M80s and were walking towards City Hall.

               The Air Unit advised the group of 600 protesters on Grand Street were moving east
               through Grand Park and were approaching the west side of City Hall.


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 1645 hours    An unknown unit reported an additional group of 200 protesters walking north on Main
               from 2nd Streets and were going to join the group at City Hall on Spring Street.

 1652 hours    Additional resources were deployed to the area of City Hall.

 1713 hours    An unknown unit requested an additional MFF to the south side of PAB for protesters
               armed with hammers and M80 explosives.

 1715 hours    Motor Strike Team MX180 reported they observed two suspects with backpacks loaded
               with weapons, possible knives, M80 explosives, and hammers. Units P310 and P350
               contacted the two suspects and detained them without incident.

               An unknown unit advised a group of 100-200 protesters were armed with metal bats and
               rods were on Hill Street between 3rd and 4th Streets.

 1750 hours    Air Unit, Idaho 30, made a public announcement over City Hall with its loudspeaker
               mounted on the Air Unit. The announcement advised of the curfew that was in place
               for the evening.

 1914 hours    Chief Moore advised 100 National Guard Troops were deployed to the City of Santa
               Monica.

 2051 hours    Unknown unit advised 100 protesters heading towards the LAFD Fire Station located at
               6th and San Julian Streets. The LAFD advised they had closed and locked all the doors
               and the personnel inside had barricaded themselves in. The protesters moved past the
               LAFD station and ultimately went east on 5th Street from Wall Street.

 2130 hours    An unknown unit advised a group of 15-20 males were on Broadway between 6 th and
               7th Streets. They attempted to break wooden barricades at the Jordan Store (622 S.
               Broadway).

 2140 hours    An unknown plain clothes unit, driving a grey Honda Pilot, requested back up for an
               irate group of approximately 50 protesters walking south on Broadway from 6 th Street.
               They reported some of the members of the group had bats and were breaking windows
               of the building as they walked past.

 2304 hours    An unknown unit advised they observed persons throwing fireworks onto the street
               from the building located at the southwest corner of Olympic Boulevard and Main
               Street.




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                                   Operations-South Bureau (OSB)

 0715 hours    Southwest Area officers were sent to pick up less-lethal munitions.
 1225 hours    The OSB areas reported on the number of damaged Department vehicles related to the
               protests:

                       Southwest Area – five vehicles
                       Harbor Area – two vehicles
                       77th Area – three vehicles
                       Southeast Area – six vehicles


                                   Operations-West Bureau (OWB)

 National Guard resources were mission tasked to locations within West Los Angeles Area. Their
 mission was to conduct high visibility security to deter looting.

 0005 hours    There were multiple outstanding requests for the transport of suspects in custody from
               multiple locations. There was a large delay in the response of transport vehicles due to
               the level of looting, arson activity, and transport requests in the field. The multiple
               requests were due to looters returning to locations that were already looted.

               The Target located at 1302 South La Brea Avenue, was looted late in the evening on
               May 30, 2020. Metropolitan Division Lieutenant 10A advised his TSE had to return to
               the location due to continual looting each time they left the location. They advised they
               were clearing the Target again and had an additional four looting suspects in custody
               and needed transportation. They also requested board-up services to respond to secure
               the location. Per the OWB Command Post, there were no private board-up services
               available at the time. Lieutenant 10A was able to contact personnel from Target
               directly to secure the building so they could clear the scene.

 0115 hours    Unit 25P230 requested an Air Unit for an Assault with a Deadly Weapon on a Police
               Officer at Melrose and West Knoll. The Air Unit responded to the request. The
               suspects were last seen in a silver 4-door Hyundai Sonata with damage to the vehicle.
               Unit V20 advised he had the possible suspects detained at Detroit Street and Clinton
               Street and requested the primary officers respond.

 0125 hours    The DOC, Logistics Section, approved (400) Beanbag rounds and (240) 40mm rounds
               to be delivered to the OWB CP.

 1221 hours    A Pacific Area sergeant advised that a group of approximately 300 were enroute to
               Councilman Bonin’s residence for a protest and OWB dispatched personnel for
               security.

               A sergeant requested one lieutenant, one supervisor, and three officers for security at
               Councilman Bonin’s residence.
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 1230 hours    The OWB CP issued all available less-lethal munitions to the OWB geographic Areas.

 1250 hours    Commander 6A advised the OWB CP they had deployed one MFF at Venice Beach for
               the protesters that SMPD advised could be moving to the City of Los Angeles.

 1345 hours    A SMPD Lieutenant contacted an OWB sergeant and requested mutual aid from LAPD
               to respond to Santa Monica.

 1415 hours    Commander 8B advised he was enroute with two MFFs of LAPD resources, to the City
               of Santa Monica for the mutual aid request.

               Commander 8B responded to the 3rd Street Promenade Mall (1415 3rd Street
               Promenade) and met with an unidentified SMPD Captain. Commander 8B was tasked
               to assist SMPD with clearing the mall. After completing this mission with no issues,
               the SMPD requested Commander 8B to respond to the Santa Monica Pier and assist
               with crowd control.

 1417 hours    Two police officers returned to the OWB CP with the less-lethal munitions from the
               DOC.

 1430 hours    Commander 13B advised, per 14N10, there was approximately 200 protesters traveling
               southbound Pacific Street approaching Navy Street, and they were headed into LAPD’s
               Pacific Area from the City of Santa Monica.

 1515 hours    Commander 8B advised that he was being asked to push the crowd in coordination with
               the SMPD. He then asked if Santa Monica would give a dispersal order before any
               LAPD action was taken.

 1518 hours    Unit Q530 advised they observed “gas” being used by SMPD at Colorado Street and
               Main Street to disperse a large crowd. Air-10 discussed if the LAPD units near the
               location of the gas dispersal had gas masks. If not, he would direct them to areas that
               were not impacted by the gas. The units did not have gas masks and the Air Unit
               coordinated with SMPD to have the LAPD units avoid situations near gas dispersal
               areas.

 1545 hours    Air-10 advised the crowd size in Santa Monica was approximately 100 protesters.

 1548 hours    Unit 14N10 advised they were in the City of Santa Monica and the Walgreens located at
               Lincoln Avenue and Pico Street was being looted and requested units to respond.

               Unit 14N10 then advised that another group of people were confronting the looters and
               were armed with golf clubs.

 1610 hours    Commander 14A advised an officer was shot in the foot by a suspect in a car in Pacific
               Area. The injured officer was transported to Santa Monica Hospital.


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 1810 hours    The DOC ordered personnel from Metropolitan Division to respond to the City of Santa
               Monica, in the area of Ocean Front Walk and Park Street, to support other LAPD
               resources and the use of less-lethal force was approved.

 1832 hours    Unit 6P100 advised there were looters at the CVS store located at Main Street and Rose
               Street in Santa Monica and requested additional units to respond to assist.

               An unidentified unit advised she was sending an entire MFF to the Abbot Kinney
               location to assist. They were responding from Riviera and Windward, in the City of
               Santa Monica.

 1857 hours    Air 8 and Commander 13B discussed helping the City of Santa Monica with the tactical
               plan to detain the curfew violators while at the same time not pushing the crowd into the
               City of Los Angeles. Commander 13B advised he would meet with SMPD at Ocean
               Boulevard to assist.

 1900 hours    After discussions with the Chief Moore, Commander 13B advised that LAPD resources
               would respond to Ocean Boulevard, make arrests for curfew violations, and transport
               the suspects to the intersection 11th Street and Santa Monica Boulevard. At this
               location, the SMPD would then take custody of the suspects and handle the processing
               of the mass arrests.

 1920 hours    Air-8 directed the Metropolitan TSE to the area of 4 th and Main Streets, in the City of
               Santa Monica, to affect a mass arrest of curfew violators.

 1928 hours    Unit Q630 requested help for officers down due to having a hard time breathing at Civic
               Center and 4th Street, in the City of Santa Monica. An unknown unit advised it was
               “CS” gas.

               Commander 13B advised he had numerous people in custody and was coordinating with
               Santa Monica for transport.


                                   Operations-Valley Bureau (OVB)

 1000 hours    The OVB IC requested Tactical Channel 41 to be reserved for OVB and two MFFs to
               respond to OVB. One MFF was to respond to the Topanga Mall and one MFF was to
               respond to the Northridge Mall for high visibility patrol.

 1556 hours    Communications Division broadcasted a call of an ADW on a Police Officer. The
               ADW occurred at Victory Boulevard and Owensmouth Street (Incident No. 2396).

 2150 hours    North Hollywood officers advised there was a group of looters at the intersection of
               Whitsett Street and Ventura Boulevard. No arrests were made from the crowd.



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 2305 hours    An unidentified 9P unit reported the CVS store at Reseda and Ventura Boulevards
               (18441 Ventura Boulevard, Tarzana) was being looted. They also advised there were
               multiple groups of protesters on Ventura Boulevard between Reseda Boulevard and
               Louise Streets.

 2320 hours    One MFF was tasked to respond to the protesters on Ventura Boulevard between Louise
               Street and Reseda Boulevard.




                                 MONDAY, JUNE 1, 2020

                                 Department Operations Center (DOC)

 0630 hours    The Investigative Branch began setting up a field jail for a planned incident in
               Hollywood.

 0659 hours    A notice was sent advising that a copy of all completed and approved arrest reports
               related to “Safe LA” shall be forwarded to their respective Bureaus’ CPs.

               The DOC received a call from the OVB CP advising that they were out of less-lethal
               munitions.

 0715 hours    A lieutenant requested two additional LASD buses to transport any arrestees and two
               (LAPD) lieutenants to staff the buses.

 0800 hours    A briefing was conducted with a lieutenant from Custody Services Division regarding
               organization of the field jails.

 0910 hours    The Investigative Branch requested that each bureau provide an update of all felony
               arrests since Friday, May 30, 2020.

 1050 hours    The DOC sent a notice to all officers advising that any investigative run-up requests or
               social media analysis related to the civil unrest or VIP security, be directed to RHD.

 1110 hours    Investigative Branch made a request for an Internal Affairs Group team to respond to
               the MDC regarding complaints of missing property for arrestees.

 1119 hours    The DOC sent a notice advising that any investigative run-up requests or social media
               analysis related to the Civil Unrest or VIP security, should contact the Citywide CP.

 1221 hours    The DOC published a notice to all officers advising of Amendment Order No. 1 to a
               Los Angeles County Executive Order regarding the civil unrest. The curfew would be
               in place from 6:00 p.m. to 6:00 a.m., daily for everyone except the list of exemptions in

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               Amendment Order No. 1. The Department would use LACC Section 2.68.320 when
               processing violators.

 1256 hours    The DOC sent a notice rescinding the 12:21 p.m. email on the matter of Amendment
               Order No. 1.

 1354 hours    The DOC sent a notice to all officers advising of an Officer Safety Bulletin from RHD.
               The bulletin advised of organized rioters staging pallets of bricks on City streets for
               demonstrations. Officers were to notify the DOC if they observed any pallets.

 1445 hours    An Investigative Branch detective began to contact all arresting officers by cellular
               telephone so that they could provide a better narrative for arrest reports. The detective
               also began assisting in recovering evidence for the investigations, including video
               evidence.

 1615 hours    The DOC advised that all Areas had met their minimum patrol requirements with the
               exception of Hollywood and Pacific Areas. Command advised that moving forward all
               Areas shall meet their Office of Operations patrol requirements.

 1630 hours    The DOC sent two LASD buses to Hollywood station and two LASD buses to
               Devonshire Station. There were buses on standby for deployment should mass arrests
               be made and transport needed.

 1648 hours    The DOC sent a notice to all officers advising that the Mayor had amended his curfew
               order to reflect a curfew period of 6:00 p.m. to 6:00 a.m. Officers could enforce this
               order using Los Angeles Administrative Code 8.78 and need not rely on the county
               ordinance.

               This order shall not apply to persons experiencing homelessness who are without access
               to a viable shelter. The DOC attached the amended order signed June 1, 2020, 2:45
               p.m.

 1831 hours    The DOC sent a notice to all officers advising that board up material was transferred
               from Evidence and Property Management Division to the Department CP and directed
               all personnel to the DOC.

 1835 hours    The DOC sent a notice to all officers advising that effective immediately and until
               further notice, booked evidence in need of Forensic Science Division analysis or
               Technical Investigation Division latent fingerprint processing be transported and
               booked to Central Property or Valley Property Section.


                                   Operations-Central Bureau (OCB)

 0010-0200 hours
              Multiple radio calls were generated for looting and burglaries.

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 0018 hours    Officers broadcasted that they were in a foot pursuit of a man with gun northbound on
               Main from 7th Streets. The suspect was located and taken into custody without incident.

 0055 hours    A lieutenant advised of a labor protest on Alameda Street south of 7 th Street. Ten
               protesters were at the location and were described as peaceful.

 0132 hours    The Air Unit advised that was a portable toilet on fire at 6 th and San Julian Streets. The
               LAFD responded.

 0134 hours    Unit 320B advised that there was looting at the shoe store on 1 st and Central Streets.
               Officers took suspects into custody.

 0240 hours    Officers requested a jail van to respond to 218 South Spring Street for a felony arrest.
               Shortly thereafter, officers requested a jail van to respond to 8 th and Flower Streets for
               arrestees. A lieutenant, Investigative Branch, advised that there were no jail vans
               available and told officer that they would have to transport their arrestees to MDC
               themselves.

 0320 hours    The OCB IC requested that an additional lieutenant, four sergeants, and 40 officers be
               assigned to do force protection for Fire Station 4 starting the June 2, 2020, at 3:00 p.m.
               Due to the depleted Department resources, he requested this assignment be staffed by
               LAUSD personnel.

 1059 hours    Commander 16 advised that there were no protesters at PAB for the anticipated protest
               at 1100 hours.

 1250 hours    Commander 4 advised that there were approximately 15 protesters walking towards
               City Hall. Commander 1 deployed one plain clothes team to City Hall to monitor the
               crowd. Shortly thereafter, the crowd began to disrupt traffic on the West side of Spring
               Street and had grown to approximately 50 protesters.

 1330 hours    A community member informed Communications Division that seven to eight males
               were armed with hammers and other weapons preparing to loot the Ross located, at 510
               Alvarado Street. (Incident No. 1878)

 1418 hours    Plain clothes officers reported that there were vehicles driving on the bus lane,
               northbound Spring Street. The vehicles were honking and inciting protesters

 1456 hours    Per M20, the protesters at City Hall appeared to be peaceful. The Air Unit continued to
               monitor the crowd.

               A large portion of the crowd that was in front of City Hall separated into three groups.
               One group had walked towards PAB. The second group walked north towards the 101
               freeway. Both groups were walking in the middle of the street interfering with the flow
               of traffic. Commander 1 requested that traffic be shut down on Spring between 1 st and

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               Temple Streets in an effort to avoid a traffic collision with one of the protesters. Unit
               24MQ10 responded to traffic on 1st and Temple Streets to block traffic for the large
               group of protesters that was marching there. Based on the request from Commander 1,
               MTA stopped all its bus traffic that went through the intersection at 1 st and Temple
               Streets. The CHP deployed units to shut down all on and off ramps to the 101 Freeway
               in the area.

               Plain clothes officers advised Commander 1 that 350 protesters remained in front of
               City Hall and that they were developing plans to commit acts of violence. The
               protesters continued down Spring Street to PAB where they staged, taking up all lanes
               of traffic. Commander 1 deployed a Motor Strike team to shut down 1 st and Main
               Streets. An MFF was deployed to shut down the intersection at 1 st and Spring Streets.

 1548 hours    The Air Unit advised that the crowd in front of City Hall had grown to 400 protesters.

               Commander 1 directed that a jail van be staged two blocks away from PAB in order to
               facilitate transport of any arrests if needed.

 1630 hours    Motor officers reported a low flying drone being flown by one of the protesters in front
               City Hall.

 1650 hours    Plain clothes officers reported that they observed a male, White, with an axe hidden
               between his back and backpack. The suspect was also equipped to combat chemical
               agents.

 1700 hours    Protesters began to break up into small groups and march on 1 st Street between PAB
               and City Hall. These groups continuously split and regrouped with other groups
               without loyalty to the original larger group of protesters staged in front of City Hall. A
               group of 150-200 protesters marched to the intersection of 1 st and Spring Streets. They
               took over the intersection and refused to let traffic through.

               At the same time, a large group of protesters marched southbound on Spring Street
               towards 5th Street. This group of protesters was led by a small group of bicyclists that
               overtook intersections ahead of the protesters on foot. This elongated the group of
               protesters causing the officers that were monitoring the group to be overwhelmed. An
               additional MFF and plain clothes officers were requested. This request was denied.
               Officers were advised that there were no available MFF units to respond to their
               request. The group of protesters continued to march west 8 th from Spring Streets. The
               Air Unit requested a skirmish line for vehicle protection and to not allow the protesters
               to continue north on Broadway. The protesters continued to Grand Avenue and began
               to walk south towards 9th Street. The group was monitored by an MFF following in
               their vehicles towards the rear of those marching. An available plain clothes unit
               arrived to monitor the crowd of protesters from within the march. The group of
               protesters continued to disrupt traffic as they made it to 9 th Street and Grand Avenue.
               When the protesters arrived at the intersection of Grand Avenue and Olympic
               Boulevard they changed direction again and began walking east towards Hill Street.

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               The group of protesters continued to march until they were walking northbound on Hill
               Street passed 9th Street. The group eventually returned and reformed with the protesters
               who remained at City Hall.

               As the CP was monitoring the several different groups of protesters, they were advised
               by the LAFD that a trash fire had been started on Broadway north of 6 th Street. The
               LAFD Liaison also advised of reports of looters at the Rosslyn Hotel located at 451
               South Main Street.

 1823 hours    Communications Division received information that 200-300 looters were jumping the
               fence of Joe’s Parking Lot and actively vandalizing the vehicles in the lot (Incident No.
               2832).

 1928 hours    An unknown officer reported that protesters were throwing rocks and bottles at them at
               6th and Main Streets. Unit Q110 responded to support the officers and assist with the
               combative group of protesters.

 2044 hours    Commander 16 requested a unit with a fire extinguisher at 6 th and Central Streets for a
               small rubbish fire.


                                   Operations-South Bureau (OSB)

 0010 hours    During the hours of 0010-0210, several radio calls were generated for looting.

 1400 hours    Southwest Watch Commander was advised of a possible protest at Leimert Park. The
               OSB CP advised that it would monitor the protest and deploy units if needed.

 1420 hours    A Command Staff Officer requested one MFF to respond to the Shoe Warehouse
               located at 201 Pacific Coast Highway for a protest at Banning Park.

 1630 hours    The OSB IC ordered all area Community Relations Officers and Senior Lead Officers
               to make physical contact with community stakeholders, schools, and places of worship.

 2130 hours    A Southwest Narcotics Enforcement Detail saw a man with a gun at the Chevron gas
               station on Vermont Street and the 10 Freeway. An officer-involved shooting occurred
               as officers approached the suspects. One suspect sustained a non-life threating gunshot
               wound. No officers were seriously injured. Two of the suspects were arrested. The
               third suspect was released.

 2308 hours    Communications Division received information that five to six individuals armed with
               bats were standing in the middle of the intersection of South Western and West Gage
               Avenues. The suspects were attempting to stop passing vehicles and open their doors.




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                                   Operations-West Bureau (OWB)

 0000-0640 hours
              Communications Division received multiple radio calls for burglary and looting
              suspects all over the West Bureau region.

 0415 hours    The National Guard reported back to OWB CP staging area at CBS Studios. A
               Command Staff Officer requested that the National Guard maintain at least a company
               sized contingent.

 0925 hours    A detective contacted the DOC and requested two buses for West Los Angeles Area and
               one for Hollywood Area.

 1135 hours    The DOC advised that Department of Transportation (DOT) was unable to
               accommodate the OWB request for DOT units to conduct street closures.

 1350 hours    Communications Division received information that 50 protesters were at Nordstrom
               located on West 3rd Street and The Grove Drive. Plain clothes officers deployed to the
               area and reported that the crowd of protesters were walking towards 3 rd Street and
               Fairfax Avenue. The group was described as peaceful and obeying the law. No
               additional units were requested as the crowd dispersed to only 25 people.

               Communications Division received information of 30 protesters at West Sunset
               Boulevard and Gardner Street. The protesters were described as peaceful (Incident No.
               1970).

 1415 hours    The OWB CP was advised that 100-150 protesters were gathering at Wilshire Veterans
               parking lot (345 Sawtelle Boulevard) as a central location.

               An officer from the OWB CP contacted the DOC and requested less-lethal 40mm and
               Beanbag rounds. The DOC advised there was no more less-lethal munitions left. The
               DOC advised that they would contact each Bureau once there were less-lethal munitions
               to deploy.

 1445 hours    The OWB CP was contacted by the LASD – West Hollywood Station. The LASD
               advised that there were 60-100 protesters walking towards Fairfax Avenue and
               Willoughby Avenue.

 1538 hours    Communications Division advised that the Sketchers Shoe Store located at Hollywood
               Boulevard and Schrader Boulevard was being looted (Incident No. 2259).

 1545 hours    Commander 14 requested that all “Frank300” MFFs responded to the CVS on Beverly
               Boulevard and Genesee Avenue to stage.

               Commander 20A requested that one MFF be deployed to Ivar Avenue and Sunset
               Boulevard.

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 1605 hours    The Air Unit reported that there were 50-85 protesters on the 405 Freeway and Wilshire
               Boulevard.

               A shooting had occurred at Queen Ann Park. There were no confirmed hits, the suspect
               was described as a male, Black fleeing the scene in a silver Hyundai.

 1915 hours    The OWB CP reported over 100 protesters had been arrested in West Los Angeles
               Area. Ten MFFs were deployed to Hollywood Area with one plain clothes team. There
               were approximately 300 protesters in Hollywood Area.

 2010 hours    The OWB IC requested a less-lethal munitions count for all OWB Areas.

 2020 hours    An unknown unit requested a jail transport van for 30 arrestees at Wilcox Avenue and
               Hollywood Boulevard.

               A vehicle pursuit was initiated when a white SUV attempted to run over an officer in
               Hollywood Area. The SUV was stopped at Nadeau Street and Antwerp Street. Four
               suspects fled from the suspect vehicle. Three suspects were taken into custody without
               incident.

 2025 hours    The OWB CP was advised that approximately 100 protesters were looting at Sunset
               Boulevard and Orange Drive.

               Another group of 400 protesters were actively looting on Sunset Boulevard between
               Steward and Hudson Avenues. The responding MFF used their vehicles to contain the
               protesters and stop the looting. Numerous arrests were made.

               A request from OWB CP to the DOC was made for 500 flex cuffs.

 2055 hours    OWB CP requested jail transport vans at Vine Street and De Longpre Avenue for 200
               arrestees and at Jackie Robinson park for 100 arrestees.

               The OWB CP dispatched four MFFs to the above locations to handle the looting calls.
               Units created a perimeter around the looters and shut down all traffic on Hollywood
               Boulevard. Mass arrests were made.

 2124 hours    Unit 25MX80 requested a jail transport van at Olive and 12 th Streets for four arrestees.

 2200 hours    A jail van was requested to Hollywood Boulevard and Wilcox Avenue for 200
               arrestees.
 2230 hours    Four buses were sent to Hollywood Boulevard and Highland Avenue for arrestees that
               were waiting for transport.

               Throughout the remainder of night, there were numerous looting and burglary radio
               calls generated within OWB. As a result of the enforcement taken by officers during
               these incidents, the jail vans could not handle all of the requests from patrol. This left

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               several officers and arrestees waiting for significant periods of time for transport.
               Moreover, officers who had arrestees in their custody were unable to respond to the
               looting radio calls that were occurring around them.


                                   Operations-Valley Bureau (OVB)

 0019 hours    Per the OVB IC, protesters had staged five pallets of rocks at 14961 Ventura Boulevard
               in Van Nuys Area.

 0145 hours    The DOC requested that the jail vans be returned downtown from the valley.

 0800 hours    Commander 21A advised the OVB CP that she had received information that there was
               a planned protest at Topanga Station for 1400 hours. No resources were requested for
               the protest.

 0900 hours    A sergeant advised that 50 protesters congregated at the Van Nuys Courthouse.
               Officers requested a squad of officers to respond from the OVB CP. The OVB IC
               dispatched two Motor Strike Teams to Van Nuys Courthouse to provide security.

 1225 hours    The OVB CP was advised that the crowds at the Van Nuys courthouse grew to over 100
               protesters. The OVB IC deployed a plain clothes unit to monitor the protest.

 1252 hours    A citizen reported that they observed protesters drop off 30-40 cages of bricks and rocks
               next to the bus stop on Ventura Boulevard and Noble Avenue (Incident No. 1772).

 1300 hours    The Commander 21A requested an MFF for security at Topanga Mall. The OVB IC
               deployed one MFF to Topanga Mall and one to Sylmar and Tyrone. Additionally, the
               OVB IC deployed one MFF Zelzah Avenue and Chatsworth Avenue.

               Communications Division received calls of multiple vehicles with their license plates
               covered with trash bags. Suspect vehicles had multiple males in them and were driving
               around the Topanga Mall.

 1350 hours    Communications Division received calls of looting at the Sketchers Shoe Store and
               nearby pharmacy located at 6522 Van Nuys Boulevard. (Incident No. 1946)

 1355 hours    Communications Division received information that there were several vigilantes
               streaming on twitter. The vigilantes were driving around Topanga Area shopping areas,
               assaulting protesters who were looting in the area. (Incident No. 1968)
 1425 hours    The OVB IC deployed one MFF to the Church of Scientology at 11455 Burbank
               Boulevard.

 1533 hours    The LAFD advised that they were responding to Friar Street and Van Nuys Boulevard
               to reports of rubbish fires. The CHP reported looting in the area as well.


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               Communications Division received information that protesters were looting the Allied
               Health Pharmacy located at 14659 Victory (Incident No. 2308). Additional information
               was received advising that looters were smashing windows to businesses in the area
               (Incident No. 2347).

 1700 hours    The OVB CP was advised that four stores in Van Nuys had been looted. The OVB CP
               dispatched board up to the looted stores.

 1815 hours    The OVB IC deployed two MFFs to Victory Boulevard and Van Nuys Boulevard.
               Units were directed to arrest any looters in the area.

 1930 hours    Communications Division received information of looting occurring at the Fire Stone
               Auto Care located at 6530 Van Nuys Boulevard. (Incident No. 3090)

 1935 hours    The OVB CP deployed a partially formed MFF to Van Nuys Boulevard and Haynes
               Street to assist with looting calls.

               The CHP Communications received information of possible looting at the Target
               located at 14876 Keswick Street. (Incident No. 3125)

 1942 hours    An officer from the CP reported to the OVB CP that there was a large crowd of
               protesters at 15130 Ventura Boulevard. The protesters were reportedly armed with
               bricks.

 2005 hours    The National Guard was deployed to Sherman Oaks Galleria, Fashion Center, Topanga
               and Northridge Malls.

 2010 hours    A lieutenant advised the OVB CP that there was an officer-involved traffic collision at
               Ventura Boulevard and Whitsett Avenue. Four officers were involved in the collision
               and transported to Sherman Oaks Hospital with non-life-threatening injuries.

 2035 hours    The OVB CP was notified that a LASD bus was arriving to Van Nuys jail with 45
               arrestees from unknown location.



                                 TUESDAY, JUNE 2, 2020

                                Department Operations Center (DOC)

 0027 hours    The DOC sent out an Officer Safety Bulletin advising officers to be on the lookout for a
               Jeep which was seen at two separate incidents of officers being shot at in the Pacific
               Area that occurred on May 31, 2020.



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 0030 hours    The National Guard was demobilized. However, an unknown person from OVB
               directed 30 National Guard Officers to the Northridge Mall.

 0600 hours    The CP conducted a roll call and change of watch briefing for A-Watch personnel
               during which they discussed the planned protests for the day and incidents that occurred
               that night.

 0800 hours    Communications Division advised there were no officers available to respond to stolen
               vehicle calls and no detectives to release impounded vehicles. Thus, Communications
               Division had to close the calls without being handled despite the numerous calls for
               service. Investigative Branch advised they would handle the issue.

 0950 hours    Investigative Branch contacted all the Bureau CPs and reminded all Areas to staff
               detectives to release vehicle impounds. All Bureaus staffed detectives to support those
               needs at each Area.

 1130 hours    All Command Staff at the CP had a situational update briefing.

 1315 hours    Chief Moore wanted to determine if protestors were coming from outside the City to
               engage in violent protests and criminal activity. He requested the area of residence for
               those that were arrested. The Director of OCPP was researching the matter and no
               further inquiries were needed from the Investigative Branch or OSS.

 1430 hours    There was a CP briefing with the Command Staff.

 1504 hours    The DOC sent second email informing personnel the Mayor amended the Curfew Order
               at 1240 hours now exempting those community members traveling to and from work
               and those voting.

 1554 hours    A Department-wide message was sent out regarding the “Safe LA LAPD Booking
               Guide.” Based on recommendations from the Los Angeles County District Attorney’s
               Office, officers should review the booking guidelines/checklist before making arrests
               for looting or throwing items at a vehicle with intent to cause great bodily harm during
               the Safe LA protests.

 1600 hours    The DOC informed the OSB CP of intel related to pallets of bricks being dropped at
               56th and Figueroa Streets.
 1650 hours    A Department-wide message was sent out reviewing the MOU 24 for the Safe LA
               Mobilization.

 2120 hours    The DOC notified officers that the Metropolitan Detention Center (MDC) located at
               180 North Los Angeles Street MDC was closed, and officers should use the jails at 77 th
               or Van Nuys for bookings.

 2200 hours    A Department-wide notice was sent advising officers that Clara Shortridge Foltz
               Criminal Justice Center and Los Angeles Superior Court would be closed on

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               Wednesday, June 3, 2020. All other courts would remain open and subpoenas shall be
               honored.

 2225 hours    The MDC returned to normal operations and was available for bookings.


                                  Operations-Central Bureau (OCB)

 0012 hours    Officers made several requests for transport vans at 8 th and Hill Streets and 4th and
               Flower Streets. All transport vans acknowledged the request and picked up arrestees.
               Arrestees were transported to MDC.

 0051 hours    Officers requested a jail transport van for two juveniles detained at Main Street and
               Olympic Boulevard. Thereafter, the request was canceled since, per policy, jail
               transport vans are unable to transport juveniles.

 0158 hours    An unknown unit reported a dumpster fire located at Main Street and Alpine Street.
               The LAFD Engine 4 was dispatched.

 0211 hours    The CP sent a request for Los Angeles Port Police Department and LAUSD to assemble
               one MFF at 450 East Temple in front of Fire Station 4 for force protection.

 0959 hours    Commander 1 requested a Motor Strike Team respond to PAB for traffic control and
               street closures. Additionally, Commander 1 asked units stay ahead of the march on
               Main Street to block traffic and sent a unit to 1st and Spring Streets to shut down
               eastbound traffic on Spring Street.

 1006 hours    Protesters approached Main and 1st Streets. Officers at the scene received information
               that the group intended to head towards PAB and did not plan to go beyond Spring
               Street.

 1015 hours    The CP sent a request asking DOT to relieve officers at Main and 2 nd Streets. The DOT
               notified the CP they could not fulfill the request and advised they would not respond to
               any location near the protests.
 1147 hours    Commander 1 requested one MFF to stage at Judge John Aiso and Temple Streets.
               Staff 2B approved the movement of Commander 13B’s MFF from Dodgers Stadium
               Parking Lot, to Judge John Aiso and Temple Streets.
 1158 hours    Protesters continued movement towards Spring Street. Commander 1 requested a
               Motor Strike Team to block traffic only at Spring and Temple Streets and allow
               protesters to walk in the street.

 1210 hours    Commander 27 advised there was a peaceful crowd of approximately 200 protesters at
               Pershing Square.

 1220 hours    Metropolitan Division Armory put a request in for 400 flex cuffs.


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 SAFE LA AFTER ACTION REPORT

               Staff 2B at the CP directed Commander 4, Commander 1, and Commander 13B respond
               Code 3 to Hollywood.

               The Air Unit gave a crowd assessment and advised that there were approximately 2,000
               protesters at Grand Park. The crowd moved east on 1 st Street and stopped in front of
               PAB.

               Commander 4 requested additional units to block traffic at 1 st and Hill Streets, Spring
               and 1st Streets, and 1st Street and Broadway.

 1306 hours    The 2,000 protesters moved south on Spring Street to 1 st Street. A motor unit advised
               that the protesters went westbound on 1st Street to Broadway. Commander 4 informed
               officers that the Department would take a hands-off approach and directed units to the
               rear of the protesters and to parallel the march. Additionally, Commander 4 requested
               the Air Unit monitor for criminal activity in the area.

 1310 hours    The Air Unit advised a small group had split off from the crowd of 2,000 currently at
               2nd and Hill Streets and was lying on the ground. A motor unit requested additional
               units. The motor unit informed the Air Unit he was by himself at Broadway and 2 nd
               Streets. Additional motor units responded, and the Air Unit kept an eye on him until
               resources arrived.

 1317 hours    Commander 4 directed the CP to notify LASD of a group of 500 protesters gathered at
               the Family Courthouse (LASD jurisdiction) located at 1 st and Hill Streets. The group
               may go inside the courthouse and attempt to disrupt business inside.

 1320 hours    Commander 4 requested additional motor officers. No motor officers were available in
               the City. Commander 4 advised Commander 27 to have his units move south to Staples
               Center to block and protect the venue.

 1325 hours    Commander 36 advised that approximately 500 protesters were heading towards City
               Hall from the Red Line Station located near Grand Park.

 1336 hours    The Air Unit advised there was a group of an estimated 1,000 protesters on 8 th Street
               approaching Figueroa Street.

 1340 hours    Commander 27 advised the CP a group of approximately 1,000 protesters were walking
               north from 8th Street towards the 110 Freeway and could not be stopped due to limited
               resources. Commander 27 requested the CP notify CHP and LAPD resources stand
               down until there was coordination of resources between the departments.

               The crowd entered the 110 Freeway at 6th Street. Commander 27 requested one MFF at
               the northbound 110 Freeway and 6th Street off-ramp. The crowd exited the 110
               Freeway and continued marching throughout the Downtown Area.



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 1407 hours    The crowd went east on 1st Street and approached Broadway. Commander 36 requested
               a crowd assessment over Grand Park and the Air Unit estimated the group at 2,000.

 1422 hours    The front of the crowd stopped at the front of PAB. The crowd extended to Hill Street
               (over two full blocks).

 1445 hours    Officers broadcasted a drone was flying over 1 st and Spring Streets and the Air Unit was
               notified.

 1507 hours    The National Guard arrived at City Hall to help with security.

 1531 hours    The LAFD indicated there was an additional drone over City Hall.

 1535 hours    The Air Unit assessed the crowd size around City Hall to be approximately 5,000.
               There were no other visible groups in the Downtown Area.

 1611 hours    A crowd assessment was given and advised that the crowd had diminished significantly
               to approximately 2,000 protesters. The crowd appeared to be leaving southbound.

 1626 hours    Approximately 1,000 protesters moved from City Hall south on Spring Street to 2 nd
               Street.

 1643 hours    The group of 1,000 continued to move throughout the Downtown Area, and at this time,
               had an updated location of 8th and Spring Streets.

 1650 hours    The protesters continued to march throughout the Downtown Area. The Air Unit
               estimated the group had grown to approximately 3,000 protesters and were westbound
               on Olympic Boulevard from Hope Street. Commander 27 requested a blocking force on
               Olympic Boulevard and an additional MFF for Olympic Boulevard and Figueroa Street.

 1712 hours    P731 advised a brick was thrown at their vehicle from a rooftop located at 8 th Street and
               Grand Avenue. No injuries were sustained.

 1722 hours    Communications Division advised possible looting at Avenue 51 and Figueroa Street, at
               the Food 4 Less. When officers arrived at the location, there was no looting at the
               location, only peaceful protesting.

 1730 hours    The large crowd continued moved north on Main Street from 2 nd Street. MQ80
               informed the CP a crowd member advised the group intended to conduct a prayer in
               front of PAB to end the protest for the evening.

 1738 hours    The front of the group made it to City Hall and PAB. The end of the crowd was at 1 st
               and Main Streets.

 1752 hours    Commander 1 requested the Air Unit assist with a dispersal order every minute until
               1800 hours. Additionally, Commander 1 requested a videographer.

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 1800 hours    Unit 36Q40 made dispersal announcements with a bull horn. Commander 1 requested a
               sound truck to PAB.

 1814 hours    A DOT officer at 5th and Olive Street had an individual report he observed a male,
               Black, wearing a burgundy shirt with black or gray pants carrying a crow bar and a fuel
               can. The suspect was last seen walking westbound on 5 th Street from Olive Street. The
               DOT officer had a picture of the suspect and waited at the location for police arrival.

 1831 hours    The Air Unit and officers on the ground made announcements to disperse the area of the
               City Hall steps.

 1850 hours    The Air Unit advised that the crowd moved south on Spring Street and toward 1 st Street.
               Additionally, another part of the group was marching westbound 2 nd Street from Spring
               Street. The Air Unit requested a blocking force at 1st and Spring Streets to stop
               eastbound traffic.

 1857 hours    The Air Unit advised officers should stop the crowd at Broadway and 5 th Street and
               requested an MFF respond Code 3 to Broadway between 4th and 5th Streets. An
               unknown MFF supported this request.

 1910 hours    The Air Unit advised 50-60 protesters were contained on Broadway between 4 th and 5th
               Streets. An unknown unit requested a transport van respond to 3 rd and Main Streets.

 1915 hours    Commander 16 advised the CP that approximately 100 individuals were under arrest on
               Broadway between 4th and 5th Streets and requested two jail buses be dispatched to that
               location.

 1924 hours    Officers updated the jail bus request to three buses at Broadway and 4 th Street.
               Additionally, officers requested 15 tow trucks to Broadway between 3 rd and 4th Streets.

 2000 hours    One jail transport van indicated it was responding to the transport request at Grand
               Avenue and 17th Street. The CP received an additional request for a jail transport van
               for two individuals at Pico and Broadway.

 2009 hours    The CP began receiving multiple requests for jail transport buses and vans

               Commander 16 made another request for the transportation of 100-120 arrestees at
               Broadway and 4th Street. His first request at 1915 hours was unanswered.

 2012 hours    A jail transport van responded to 5 th and Los Angeles Streets. An additional jail
               transport van responded to 8th and Figueroa Streets.

 2022 hours    Communications Division broadcasted that there were possible looters at Montana
               Street and Echo Park Avenue. Officers arrived at the scene and requested the Air Unit
               conduct a roof check and search the surrounding area. Officers detained three suspects.


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               Due to no evidence of a burglary, all three individuals were cited for curfew violations
               and released at scene.

 2107 hours    Officers requested numerous jail transport vans throughout the hour. Detainees were
               taken to MDC until it reached capacity and could no longer process detainees.

 2205 hours    Requests for jail transport vans continued to be made throughout the Downtown Area.

 2235 hours    The Watch Commander at MDC broadcasted MDC was now open. Requests for jail
               transport vans continued to be made throughout the City.


                                   Operations-South Bureau (OSB)

 1120 hours    Office of Operations notified the OSB CP that every Area will need to compile and
               review all felony and misdemeanor arrest reports involving “Safe LA” and email the
               reports to RHD no later than June 4, 2020.

 1140 hours    Security Services Division advised of a protest in front of City Hall in Harbor Area
               located at 7th Street and Beacon Avenue. It was anticipated that the protest would move
               to Harbor Community Police Station.

 1530 hours    Major Crimes Division advised the OSB CP of social media chatter of protesters arming
               themselves with bottles of acid.

 1950 hours    The OSB CP assigned Southwest officers to the Crenshaw Mall and the Target Store
               located at Rodeo Road and La Cienega Boulevard.


                                   Operations-West Bureau (OWB)

 0005 hours    All arrestees that were transported to Jackie Robinson Stadium were cited and released.
               There were no additional bus transportations for the remainder of the night.

 0130 hours    The OWB CP contacted the DOC and requested CHP support for the 101 on and off-
               ramps at Hollywood Boulevard. The CHP was advised of the request.

               Communications Division advised of possible looting by people armed with bats
               attempting to break into the 7-11 at Wilton Place and Santa Monica Boulevard. Plain
               clothes units responded to the area.

 0835 hours    A Pacific Area lieutenant advised there were approximately 100 protesters at Abbott
               Kinney and Venice Boulevards.

 0910 hours    The OWB IC requested the DOC provide OWB with three additional MFFs and two
               additional TSE teams for Hollywood starting at 1100 hours.
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 1004 hours    A citizen reported the Walgreens located at 4009 Lincoln Boulevard was being looted.
               Officers responded to the location and took the suspect into custody for looting
               (Incident No. 1245).

 1205 hours    Officers at scene gave the OWB CP a crowd assessment. They indicated there were
               150-200 protesters in Hollywood and 100 protesters in Pacific Area at the location of
               Lincoln Boulevard and Rose Avenue. Both groups were peaceful.

 1224 hours    Downtown staging advised OWB CP two MFFs were enroute to Hollywood from
               Central.

 1231 hours    The Air Unit gave a crowd assessment of 1,000 protesters at Hollywood and Cahuenga
               Boulevards.

 1245 hours    Based on Air Unit estimates, the crowd in Hollywood had doubled in size and was
               approximately 2,000 protesters. The crowd was moving southbound on Bronson
               Avenue from Hollywood Boulevard.

 1250 hours    Communications Division advised the OWB CP they received numerous irate related
               calls on Hollywood Boulevard and Vine Street. The OWB CP advised
               Communications Division to broadcast on the tactical frequency.

 1313 hours    A unit on the perimeter of Hollywood Station requested authorization to use less-lethal
               munitions if rocks and bottles were being thrown at them. Commander 6 authorized
               less-lethal if they began to take rocks and bottles or if anyone breached the perimeter of
               the station.

 1340 hours    There were 90 National Guardsmen deployed on Hollywood Boulevard, Vine Street,
               and Sunset Boulevard. The crowd assessment in the area was approximately 2,000
               protesters.

 1350 hours    The crowd increased in size to approximately 7,000 protesters and was going north on
               Cahuenga Boulevard to Sunset Boulevard.

               Commander 14B directed officers assigned to the Pacific Area protest to respond to
               their designated staging locations for reassignment.
 1408 hours    The crowd continued south on Wilcox Avenue from Sunset Boulevard towards the
               Hollywood Station. Additionally, the crowd in the Pacific Area had grown to
               approximately 300 protesters. It was still at Abbot Kinney and Venice Boulevard.

 1422 hours    The OWB CP requested two MFFs to respond to all looting calls. Commander 14
               indicated his MFF would monitor Hollywood Base Frequency and respond to looting
               calls.



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 1430 hours    The DOC contacted OWB CP and directed all MFFs to account for all less-lethal
               munitions per Chief Moore. The intent was to locate any less-lethal munitions that
               could be redistributed based on necessity.

 1440 hours    Officers were hit with rocks and bottles on Hollywood Boulevard at Ivar Avenue as
               they were moving the crowd.

 1452 hours    The crowd continued northbound on Cahuenga Boulevard when part of the crowd
               separated and began marching on Ivar Avenue and Cahuenga Boulevard.

 1456 hours    A unit requested additional units to assist with looters in a vehicle located at El Cerrito
               Place and Hollywood Boulevard.

 1508 hours    A unit at Sunset and Highland Boulevards requested additional units for looters. Still,
               due to limited resources in the area, no one was able to respond.

 1510 hours    Communications Division advised OWB CP of a crowd of 200 protesters at Harold
               Henry Park (Incident No. 2085). The OWB CP passed the information to the Wilshire
               Watch Commander.

 1512 hours    At this time, two groups were moving throughout the Hollywood Area. A group of
               approximately 1,000 protesters were marching southbound on Cahuenga Boulevard at
               Fountain Avenue and a larger group was marching southbound Highland Avenue at
               Franklin Avenue.

 1520 hours    The IC reported she was enroute to monitor the crowd at Genesee Park.

 1526 hours    The Air Unit conducted a crowd assessment over the Hollywood Area. It estimated
               there were approximately 6,000 protesters with 20 vehicles heading northbound La Brea
               Avenue. The second group of roughly 500 protesters was at Hollywood Boulevard and
               Vine Street, and the third group of approximately 1,000 protesters was eastbound
               Sunset Boulevard at Olive Street.

 1530 hours    The Air Unit asked Commander 6 for his stance on the crowds in the Hollywood Area.
               Commander 6 advised all personnel to allow everyone to peacefully march and follow
               the group until curfew went into effect.

 1542 hours    The OWB CP were informed 100-200 protesters arrived at the Getty House (Los
               Angeles Mayor’s residence).

 1553 hours    The Air Unit assessed the size of the crowd at Hollywood Boulevard and Vine Street to
               be approximately 5000, and at Abbott Kinney and Venice Boulevard to be about 300.
               There were no issues at either location.




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 1600 hours    The CP downtown advised OWB CP that two MFFs from the OVB were enroute to
               OWB CP. Additionally, the OWB IC requested that two MTA buses be sent to the
               Getty House.

 1608 hours    The Air Unit advised that there were approximately 500 protesters southbound
               Highland Avenue at Santa Monica Boulevard. A larger group was eastbound at Sunset
               Boulevard at Western Avenue.

               Commander 6 advised that there were too many groups in the Hollywood Area and
               would deploy MFFs only to quell criminal activity such as looting or vandalism.

 1618 hours    The crowd of 1,000 protesters were at Beverly Boulevard walking eastbound past
               Poinsettia Place. The IC monitored the crowd and the demeanor was calm and
               peaceful. The Air Unit gave dispersal orders to the crowd at Melrose Avenue and La
               Brea Avenue and they dispersed.

 1636 hours    Units at Lexington and Western Avenues requested a back-up response for an irate
               group.

 1643 hours    A citizen reported that a silver compact car, possibly a Honda was full of rocks and
               bottles. An unknown unit requested an Air Unit to conduct a flyover in the area of
               Cahuenga and Hollywood Boulevards to try and locate the car. An Air Unit advised
               that the suspect’s vehicle was possibly looters as they were, carrying shoe boxes and
               clothing. The Air Unit requested a unit to respond to the possible looters at Cahuenga
               Boulevard and Selma Avenue. Officers responded to the location where four suspects
               were taken into custody without incident.

 1655 hours    One TSE Team was enroute to the Getty House.

 1700 hours    The Air Unit made a crowd assessment of 2,000 protesters walking eastbound 3 rd Street
               toward the Getty House.

 1705 hours    The OWB CP advised that an additional LASD bus was enroute to OWB, and one
               sergeant and two officers would be required for each bus.

               The group of 2,000 protesters were just north of the Getty House on 6 th Street.

 1714 hours    The Air Unit advised that there approximately 500 protesters at the intersection of Vine
               Street and Sunset Boulevard. A larger group had proceeded eastbound on Sunset
               Boulevard from Vine Street.

 1720 hours    A unit requested a squad for individuals in two vehicles looting at Schrader and
               Hollywood Boulevards. Vehicles were described as a silver Ford F-150 truck and a
               white Ford Flex.



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               The suspects proceeded south on Ivar Avenue from Hollywood Boulevard. The cars
               drove in tandem and the unit advised that both vehicles had potentially stolen
               merchandise inside the vehicle. As the vehicles approached Vine Street they began
               moving at a high rate of speed and going through traffic lights. An unmarked police
               vehicle and the Air Unit followed the two vehicles with the last updated location of
               south on Ivar Avenue.

 1722 hours    Communications Division advised the OWB CP of a burglary (Incident No. 2459),
               related to the incident at Schrader and Hollywood Boulevards, and a unit was handling
               the call.

 1726 hours    The two suspected vehicles involved in looting at Hollywood Boulevard and Ivar
               Avenue were northbound Vine Street from Hollywood Boulevard. Units stopped a
               Ford F-150 at Hollywood Boulevard and Gower Street, and requested an updated
               location on the white Ford Flex.

 1730 hours    The OWB CP did a resource assessment at the Getty House and identified one MFF
               from Olympic Area; one MFF from West Los Angeles Area; two MFFs from OVB; two
               MFFs from OCB; and, one TSE team.

 1810 hours    The Beverly Hills Police Department advised the OWB CP they received reports of
               shots being fired in the area of Wilshire Boulevard and Curson Avenue, but no gun was
               seen.

 1820 hours    The Air Unit conducted a crowd assessment and estimated 500 protesters were at
               Cahuenga and Sunset Boulevards. An additional 300 protesters were on Morningside
               Court and the 300 protesters joined the larger group.

 1822 hours    The Air Unit requested a unit to meet with CHP at the termination of the pursuit of the
               white Ford Flex from a looting incident. The Air Unit requested the unit to respond to
               48th Street and Vermont Avenue and 77th Street Station for CHP for the termination.

 1835 hours    The OWB CP deployed one sergeant and ten officers from A Watch with the LASD bus
               located at De Longpre Avenue and Cole Place.

 1850 hours    Five additional LASD buses were sent to Gower Street and Carlos Avenue.

 1900 hours    At this time there were no transport vans available.
 1920 hours    The OWB CP requested seven additional MFFs through the DOC.

 1925 hours    Commander 6 asked the Air Unit to estimate how many individuals George10 was
               trying to arrest. The Air Unit estimated 300 protesters and 150 vehicles in the area of
               Van Ness and Maplewood Avenues.

               The OWB IC requested the following be sent to Hollywood Station:
                   x Two MFFs;

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 SAFE LA AFTER ACTION REPORT


                    x   Two Motor Strike Teams; and,
                    x   Two Strike Forces.

 1928 hours    The Air Unit and George 10 were able to box in a significant amount of people and
               vehicles on Van Ness Avenue from Clinton Street to Elmwood Avenue and Maplewood
               Avenue to Van Ness Avenue and Wilton Place. George 10 advised everyone within the
               designated area was arrested for curfew violation and all vehicles would be impounded.

 1932 hours    In an effort to escape, some protesters ran through properties. The Air Unit advised
               officers who were taking a group into custody at Van Ness and Rosewood Avenues that
               approximately 40 protesters were on the roof of an apartment building and officers
               should watch their high ground. The Air Unit requested an arrest team enter the
               apartment complex to arrest the protesters stranded on top of the apartment building
               officers continue with the arrests on the ground.

 1940 hours    Communications Division advised officers were requesting a jail transport van to
               Bronson Avenue and Santa Monica Boulevard, but there were no vans available, so
               officers requested an LASD bus instead.

               The Air Unit requested jail transport vans to Wilton Place and Maplewood Avenue for
               approximately 200 detainees. In addition to the jail transport vans, the Air Unit
               requested tow trucks for approximately 30 vehicles.

 1950 hours    Officers requested an ETA on jail transport vans at Wilton Place and Maplewood
               Avenue. Staging advised they had five LASD buses that were enroute to Wilton Place
               and Maplewood Avenue.

 2008 hours    Plain clothes officers informed the Air Unit and officers that approximately 200
               protesters and 20 vehicles were headed westbound on Sunset Boulevard at Gower
               Street.

 2017 hours    The LASD buses arrived and were staged at Wilton Place and Rosewood Avenue. The
               LASD buses asked officers to walk individuals to the buses where they could then be
               transported to field jails.

 2020 hours    A sergeant advised OWB CP there was one LAPD bus standing by in the OVB, and
               they are attempting to locate the driver.

 2030 hours    Based on the request of the MFFs, the DOC conducted an assessment and confirmed
               that two of the seven MFFs sent to Hollywood Station checked-in at Staging.

 2048 hours    Approximately 40 protesters were on the roof of the apartment building at Van Ness
               and Rosewood Avenues. Officers entered the apartment complex to detain the
               protesters from the roof.



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 2050 hours       An OWB CP officer contacted the LASD for buses. They advised the buses were still
                  available until 2200 hours and to call back for an extension. Approximately 150 people
                  were arrested at the Getty House for violation of the curfew order.

 2059 hours       A unit requested a jail transport van for nine arrestees and one juvenile. In addition, the
                  unit requested, a tow truck for two vehicles located at Santa Monica Boulevard and
                  Western Avenue.

 2116 hours       The TSE team requested Valley Traffic Division Motors to respond to 8 th Street and
                  Crenshaw Boulevard to support them in 20 vehicle impounds.

 2200 hours       Officers who were with the LASD buses requested two police vehicles and one
                  supervisor to provide escorts for the buses located at Fountain and Cole Avenues.

 2210 hours       Commander 6 inquired if there were any A Watch personnel in the field. Several units
                  responded that they were still deployed awaiting jail transport vans, some for more than
                  one hour.

 2240 hours       A jail transport van responded to Santa Monica Boulevard and Western Avenue to
                  transport the arrestees to the field jail.


                                          Operations-Valley Bureau (OVB)

 0032 hours       Several radio calls were generated, indicating pallets of rocks and bricks were placed
                  across the way from 14961 Ventura Boulevard. When officers arrived at the scene, no
                  evidence of these items could be located.

 0150 hours       An MFF, 22P810, advised they were in pursuit of a possible stolen U-Haul Truck
                  (Arizona License Plate No. AJ61290). While in pursuit, the suspect hit officers with the
                  U-Haul vehicle. Officers advised they were now in pursuit of an ADW on a Police
                  Officer suspect. Communications Division advised, “officer needs help.” Unit 22P810
                  was still in pursuit of the suspect, although they were involved in a traffic collision with
                  the suspect. The IC for the pursuit was LP120.
                  The IC, LP120, advised the Air Unit will not go into tracking mode 47 due to the crime
                  being an ADW on a Police Officer.

 0215 hours       The pursuit continued throughout the area and onto the 210 Freeway, eastbound at La
                  Tuna Canyon. The IC notified the CHP.




 47
   In tracking mode, ground units continue their code 3 operation; however, officers reduce their speed and allow sufficient
 distance behind the suspect’s vehicle to remain out of sight. The Air Unit will monitor the distance between the vehicle and
 units and advise for situational awareness.
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 0219 hours    Officers initiated a spike strip at Foothill and Lowell Avenue. The suspect vehicle ran
               over the spike strip causing the loss of three tires and continued to drive.

               An additional spike strip was deployed at Foothill and Wheatland. The suspect
               continued driving and started losing control of the vehicle.

 0232 hours    The IC authorized the Pursuit Intervention Technique (PIT); the first attempt was
               unsuccessful. A second attempt was authorized and was initiated with success. Still,
               the suspect made a U-turn and continued driving until he stopped at De Haven Avenue
               and Garber Street where he was taken into custody without incident.

 0600 hours    The Investigative Branch advised OVB CP that a field jail location was needed by 0800
               hours.

 0605 hours    Department of Water and Power employees requested armed escorts while completing
               repairs throughout OVB.

 0810 hours    The CP advised OVB CP that the National Guard was sending 70 guardsmen to
               Topanga; 23 to Northridge Fashion Center; 15 to Sherman Oaks; and 25 to Westfield
               Fashion Square Mall. With an overall total of 133 National Guardsmen in the Valley
               Area.

 0920 hours    A lieutenant advised the field jail was operational at Grace Community Church (13248
               Roscoe Boulevard) with 80 jail personnel assigned.

 1015 hours    A decontamination center was established at Northridge Hospital (13248 Roscoe
               Boulevard) and was given an individual as the point of contact for the center.

 1045 hours    The OVB CP assigned two MFFs and one plain clothes team to the Devonshire Area for
               the California State University, Northridge (CSUN) demonstration that was expected to
               take place that afternoon. Additionally, one MFF was assigned to the North Hollywood
               Area for the anticipated protest at North Hollywood Park.

 1230 hours    An initial crowd assessment for the OVB protests were as follows: 250 in North
               Hollywood Park and 600 at CSUN.
 1300 hours    The crowd assessment update included the following: 600 protesters at CSUN began to
               move off campus to Nordhoff Street and Reseda Boulevard; 50 protesters were at
               Warner Park; and, the North Hollywood Park Protest began to disband.

 1730 hours    The crowd assessment in the Valley was 100 protesters at Warner Center Park and 200
               protesters at North Hollywood Park.

 1930 hours    A sergeant advised the MFF which they contemplated sending to replace A Watch field
               jail personnel was not needed and OVB would fulfill the needs of the field jail.



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 2035 hours    One MFF was deployed to Devonshire Street and Sepulveda Boulevard for looting at
               the Vons.




                               WEDNESDAY, JUNE 3, 2020

                                Department Operations Center (DOC)

 0340 hours    Major Crimes Division was notified that addresses for the primary residences of Chief
               Moore and Mayor Garcetti had been posted on social media sites frequented by
               individuals organizing protests.

 0620 hours    Investigative Branch noted that all 8.78 LAAC (Curfew) citations must be completed on
               an RFC form with a short narrative attached per the City Attorney’s Office. This
               information was relayed to all Department personnel by Director Office of
               Constitutional Policing and Policy.

               The DOC confirmed with all Bureau CPs of the planned protests for the day. The
               Department continued to monitor social media platforms and forums. The Department
               CP was notified of any impromptu protests or protests that were not made public.

               The major planned public protests included:
                  x 0800 hours - Hall of Justice (211 Temple Street);
                  x 0900 hours - Venice Pier to Santa Monica Pier;
                  x 1200 hours - The Laugh Factory (Sunset and Laurel Boulevard);
                  x 1200 hours - Los Angeles City Hall;
                  x 1200 hours - Northridge Recreation Center; and,
                  x 1400 hours -Tujunga & W. Magnolia.

 1406 hours    Director of OCPP informed all personnel of the necessary documentation to include on
               citations and/or arrest paperwork when enforcing the Citywide curfew on juveniles,
               adults, and all violators.

 1430 hours    Officer safety information was broadcasted to advise units that a handgun was staged
               near 1st Street and Broadway. Officers were advised to be on the lookout for makeshift
               tools staged in the area.

 1530 hours    Communications Division advised that the Department’s jail transport vans were now
               being handled by Logistics Section.

 1553 hours    The DOC distributed an email to all personnel on behalf of Director OCPP, informing
               of the amended City of Los Angeles Curfew Order. The “new curfew hours were from


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               9:00 p.m. to 5:00 a.m. Officers are to use discretion when enforcing, especially before
               10:00 p.m. All other details of the Order remain the same.”

               The DOC distributed an email notifying all personnel the Citywide curfew had
               limitations related to people temporarily experiencing homelessness.

 1643 hours    The DOC distributed an email informing all personnel to review California Vehicle
               Code Sections 22651(b) and 22651(h) authorizing vehicle impounds. The purpose was
               to clarify when to use each impound section.

 1911 hours    The DOC distributed an email on behalf of a sergeant working the CP informing
               personnel all courts would be open on June 4, 2020. Officers with subpoenas for court
               were required to honor the summons.

 1915 hours    The Investigative Branch conducted its change of watch briefing. Multiple follow-ups
               were conducted by detectives assigned to the Investigative Branch. They completed
               follow-up investigations on looting, theft, burglary, and vandalism crimes related to the
               civil unrest.


                                   Operations-Central Bureau (OCB)

 0005 - 1059 hours     Several radio calls were generated for vandalism and looting related crimes
                       within OCB.

 0800 hours    The CP conducted its morning staff briefing, including an update on arrests, crimes,
               crime locations, evidence seized, curfew citations, and vehicle impounds.

 0929 hours    Commander 13B advised an MFF was ready for deployment to Judge John Aiso Street.
               Commander 2 requested plain clothes officers respond to Judge John Aiso Street and
               Temple Street to monitor a crowd.

 1023 hours    A peaceful crowd of 30 formed at 1 st and Spring Streets between PAB and City Hall.
               No units were assigned to monitor the crowd.

 1114 hours    The National Guardsmen advised Communications Division they had posted at the Los
               Angeles Convention Center at Pico Boulevard and Figueroa Street.
 1125 hours    The CP requested a crowd estimate of the group at Perishing Square. The Air Unit
               advised a crowd of approximately 20 was marching near 6th and Olive Streets. An hour
               later, plain clothes officers advised the crowd appeared to be leaving the location.

 1329 hours    The Air Unit advised the crowd near PAB and City Hall were joined by vehicles and
               increased to 300 protesters. Plain clothes units monitored the crowd and traffic control
               was established to reroute north and southbound traffic on Spring Street north of 1 st
               Street at City Hall.


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 1338 hours    Commander 36 contacted the LASD liaison for the Jackie Lacey Protest scheduled for
               1500 hours.

 1357 hours    While monitoring the area of Broadway and Spring Street, officers located a handgun
               that appeared to be staged in a planter near a planned protest. Commander 2 requested
               an investigative unit to respond for canvassing and further follow up.

 1400 hours    Information was received that the crowd in front of City Hall East planned to stay at the
               location until 1500 hours.

 1439 hours    The crowd in front of City Hall grew to 400 and advanced onto the steps of City Hall.
               Commander 36 made requests for two MFFs to respond to the City Hall’s Main Street
               entrance. Unit 1P510A requested units to block traffic at the intersections of Main and
               Temple Streets; North Broadway and Temple Street; Judge John Aiso and Spring
               Street; and, North Broadway and Main Street.

 1457 hours    The Air Unit advised the crowd on the steps of City Hall was growing rapidly and
               reached approximately 5,000. Commander 2A and Commander 4 coordinated
               resources for traffic control and public safety considerations. The MTA bus routes were
               re-routed away from streets near City Hall. Additionally, MFFs and Motor Strike
               Teams controlled traffic on Temple Street. Additional Motor Strike Teams responded
               to Judge John Aiso Street north of 1st Street as plain clothes officers monitored the
               crowd.

               The Air Unit directed responding units to control traffic at North Broadway and Temple
               Street and stop all traffic northbound on Broadway and 1st Street as well as eastbound
               on Temple Street from Broadway. In addition, the Air Unit advised to stop all traffic
               eastbound on Temple and Hill Streets.

 1546 hours    Unit N50 advised the CP that the MTA Redline train was operational and was dropping
               off large crowds at Union Station every 10-15 minutes.

 1553 hours    The Air Unit estimated the crowd at 8,000 protestors. They also advised they observed
               privately owned drones monitoring the activity.

 1641 hours    National Guard Units broadcasted they saw a truck with broken concrete in its bed
               driving in the area of Broadway and 1st Street near the protest at City Hall. Prior to this
               day, officers had recovered staged weapons and items used to harm officers. Units
               investigated and determined the driver used the concrete for work. The truck then left
               the Downtown Area.

 1720 hours    Commander 2 advised 200 protesters mobilized and were marching southbound on
               Spring Street from Temple Street. Commander 2 and the Air Unit requested units block
               eastbound and westbound traffic at 1st and Spring Streets for protester safety.



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 1745 hours    As the protest continued, smaller groups broke away from the larger stationary crowd of
               8,000 at Spring and Temple Streets. They occupied the entire street and began to circle
               the area around City Hall and PAB. The crowd maintained its practice of breaking from
               the larger group and joining other groups with no loyalty to any certain group or
               location. This continued throughout the night.

               Multiple drones were identified observing crowd movement from the air. When
               officers located one drone operator, they advised the operator to bring the drone down
               due to public safety. Additional drones in the area continued to launch and monitor the
               event randomly.

               The large crowd of 8,000 mobilized and spread over four City blocks and encompassed
               both streets and sidewalks, as it marched southbound Spring Street from 1 st Street. As
               the crowd marched, the Air Unit and MFF supervisors noted the crowd appeared to be
               positioning itself to enter the freeway. To deter this action, the Air Unit and an
               unknown Commander in the area moved an MFF to 8th Street and the 110 Freeway then
               staged an additional MFF at 5th and Figueroa Streets to block access to the freeway on-
               ramps. The crowd continued northbound Hill Street and turned eastbound on 1 st Street
               returning to City Hall. The crowd maintained its presence around City Hall and PAB as
               they circled the area and congregated on the steps of City Hall.

               The Air Unit identified four privately-owned drones monitoring the crowd from the air
               and advised plain clothes officers in the area.

               Plain clothes units monitoring the crowd identified a possible crowd agitator
               suspiciously carrying three backpacks near 1st and Main Streets. Uniform officers
               detained the individual, but he refused a consent search of his backpack and was
               released.

 1845 hours    Vehicles joined the crowd at City Hall and PAB when officers identified two pickup
               trucks, one covered by a camper shell, that were circling the area. The truck with the
               camper shell parked in front of PAB and began unloading white boxes with green
               lettering from the truck bed. Protesters began opening the boxes, removed items, and
               placed them into backpacks before rejoining the crowd. As plain clothes units and
               motor strike teams responded to investigate, the truck moved to Los Angeles Street
               south of 1st Street. Items continued to be dispersed from the bed of the truck. The truck
               then left the area. The second truck eventually parked on Spring Street near 1 st Street
               where the driver parked and left it unattended. Plain clothes officers investigated the
               abandoned truck and determined there was no suspicious activity to be reported.

 1935 hours    The Air Unit conducted a crowd assessment over the Downtown Area. A crowd of
               7,000 at Spring and 1st Streets was joined by 10 vehicles. It maintained its position near
               City Hall. An additional crowd of approximately 100 was in front of PAB. The Air
               Unit requested units respond to 2nd and Main Streets as well as Broadway and 1st Streets
               to hold northbound and eastbound traffic, respectively, and address the vehicles that had
               joined the crowd.

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               The larger crowd of approximately 5,000 maintained its presence in front of City Hall
               on Spring Street just south of Temple Street. One group at City Hall grew to
               approximately 1,500 and marched southbound on Spring Street from 1 st Street. Another
               group broke off and marched eastbound on Temple Street towards Los Angeles Street.
               As smaller groups marched in the area, they joined and held stationary positions near
               Temple and Judge John Aiso Streets as well as at City Hall on Spring and Temple
               Streets. The groups continued to split, rejoin each other, and march in the same general
               area, which made coordinating containment of the unlawful groups difficult.

               As protesters stayed in front of City Hall, plain clothes units identified a man with what
               looked like a machete on the steps of City Hall. As plain clothes officers obtained a
               better view of the man, they observed that the machete was only a wooden sword and
               not an edged weapon. Plain clothes units continued to monitor the crowd in the area.

 2000 hours    Commander 21 broadcasted the Department would be responsible for facilitating the
               crowd’s movement.

 2005 hours    The large crowd’s size diminished to 2,500 but continued to march, eventually
               occupying Spring Street between 2nd and 6th Streets. An additional sizeable crowd of
               approximately 500 circled the area before returning to City Hall at Spring Street
               between 1st and Temple Streets. This smaller crowd became hostile and began throwing
               rocks, bottles, and harmful items at the MFFs. The crowd then broke through blocking
               forces set at Spring and Temple Streets. Additional MFFs were requested to the area to
               assist.

               Simultaneously, the larger group surrounded the National Guard Units near Spring and
               7th Streets. The National Guard requested assistance. As officers arrived, they were met
               by a hostile crowd who threw bottles, rocks, and other harmful items at the officers
               while a skirmish line was deployed. Additional MFFs were requested to assist with the
               skirmish line and provide protection to LAPD vehicles parked in the area.

 2024 hours    While officers attempted to contain the irate crowd at 6 th and Spring Streets, another
               crowd of 1,500 joined together and formed near 11th and Main Streets.
               Officers suspected that the hostile crowd occupying a large area of Spring Street
               between 2nd and 6th Streets were looting businesses on Spring Street. An unknown
               Commander attempted to curb possible looting crimes by directing a motor strike team
               to follow the tail end of the crowd.

               Commander 15 staged two squads on Broadway and advised they would attempt to
               contact the protest leader at Grand Avenue and 1 st Street.

 2051 hours    As the crowds marched throughout the Downtown Area, they were accompanied by
               protester vehicles that would break from and join different crowds marching in the area.
               Officers in the Downtown Area observed that one of the vehicles was a Jeep that
               matched the detailed description of a vehicle used in a May 30, 2020 crime against a
               police officer that occurred in Pacific Area. On that date, unknown suspects driving a

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               Jeep fired multiple rounds at officers conducting patrol duties. After the Air Unit was
               advised and located the Jeep, they coordinated a plan to separate the Jeep from the
               crowds and conduct a traffic stop. Additional units responded to the area as the Jeep
               traveled northbound Main Street approaching 6th Street. The Air Unit coordinated
               traffic blocks that directed the Jeep away from the pedestrian crowds. Units conducted
               a traffic stop, safely detaining the driver of the vehicle without incident.

               The nearby crowd observed the traffic stop of the Jeep and became aggressive towards
               the officers involved. As the hostility of the crowd grew, units requested additional
               resources. Units that staged in the area responded and set a skirmish line of three
               squads to assist and prevent disruption of the investigation. Over time the crowd
               dispersed. The RHD responded to handle the investigation and determined that the
               vehicle was used in the ADW on a Police Officer (shooting). The driver was taken into
               custody and the vehicle was taken into custody for evidence.

 2102 hours    The crowd in front of City Hall occupied Spring and Temple Streets and grew in
               hostility as smaller crowds near 7th and Main Streets dispersed. The Air Unit directed
               resources to contain the City Hall crowd to the north at Spring and Temple Streets and
               to the south at Spring and 1st Streets. The Air Unit also assisted in staging the area for
               additional assistance.

               As the night continued, the IC directed units to enforce the Citywide curfew and detain
               or move protesters out of the area.

               The Air Unit requested to stage units at Main and Temple Streets as well as Temple and
               Judge John Aiso Streets. The Air Unit also requested that the sound truck respond to
               assist with crowd dispersal. An unknown Commander requested that the Air Unit use
               its loudspeaker to advise, “Protesters have 30 minutes to vacate the area.” The Air Unit
               attempted to coordinate the crowd’s movement by advising ground units to push
               northbound on Spring Street, eastbound on Temple Street, then north on Alameda Street
               into Olvera Street. Protesters observed the ground unit’s response and broke away from
               larger crowd, fleeing the area. As the MFF responded, the crowd split, marched in
               different directions, and rejoined in other areas making containment difficult.

 2149 hours    Ground units set blocking forces but containing the crowds continued to prove
               problematic as they moved through the Downtown Area. The Air Unit was unable to
               coordinate with ground units to execute a mass arrest or detention for curfew.

               After the crowd marched throughout the Downtown Area, they orchestrated a stationary
               protest by sitting down in Grand Park where MFFs eventually contained them.

 2234 hours    Staff 7 requested the Air Unit broadcast, “The curfew is up, and they need to vacate the
               area.” After this broadcast, protesters slowly left the area. The group slowly decreased
               in size to an estimated 120 protesters. The Air Unit advised the CP that skirmish lines
               were established, and the crowd was contained. Jail transport buses were staged at
               scene, available for transport.

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 SAFE LA AFTER ACTION REPORT

                                    Operations-South Bureau (OSB)

 0020 hours    A citizen generated a radio call of shots fired in the area of Broadway and 86 th Place.
               When uniformed officers arrived, one officer observed an unknown male shooting in
               the officers’ direction which resulted in an officer-involved shooting. Additional
               officers, responding to the shooting, observed the vehicle fleeing the location and
               initiated a vehicle pursuit. The pursuit ended in a traffic collision with the driver taken
               into custody. The driver was later transported to a local hospital due to a gunshot
               wound he sustained to his face. Two additional suspects, who fled from the vehicle
               before the termination of the pursuit, were taken into custody with the assistance of
               various LAPD units. One vehicle, which contained a firearm and high capacity
               magazine, was detained at scene. Both the driver and passenger of that vehicle were
               taken into custody without incident.

 0046 hours    An MFF was requested to assist with a hostile crowd that formed at the scene of the
               Officer-involved Shooting (OIS) near Manchester Avenue and Broadway. An MFF
               responded to assist.

 0208 hours    A community member reported that they saw a crowd of approximately 30 people in the
               area of South Patton Ave and 22nd Street and heard the breaking of glass windows
               possibly from vehicles parked on the street.

 1025 hours    The CP notified the OSB CP Governor Gavin Newsom would be attending a planned
               protest at Leimert Park at Crenshaw Boulevard and West Vernon Avenue. The OSB IC
               attended the event and staged a Motor Strike Team in the area. Governor Gavin
               Newsom was interviewed by media at Leimert Park and later visited 2107 West Adams
               with no audience in attendance before leaving OSB.


                                    Operations-West Bureau (OWB)

 0001-1005 hours    Vandalism and looting related crimes continued to occur in OWB area.

 0900 hours    The OWB CP conducted a conference call with all OWB Command Staff regarding
               updated protests and locations, possible looting locations, National Guard assistance,
               concerns, and issues surrounding field jails.

 1010 hours    The OWB CP received a radio call of a suspicious package on the MTA’s
               Hollywood/Highland platform. Specialized bomb technicians responded, investigated
               the package, and determined that the package was not a bomb but possibly abandoned
               property.

 1215 hours    A crowd assessment conducted in Hollywood Area reported there were 1,000 protesters
               on Santa Monica Boulevard; 60 at Sunset Avenue and Gower Boulevard; and, 250 at
               Hollywood Boulevard and Vine Avenue.


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 SAFE LA AFTER ACTION REPORT

 1450 hours    A crowd assessment for OWB was given:

                   x   Approximately 2,500 protesters were occupying the intersection at Hollywood
                       and Highland Boulevards; and,
                   x   Approximately 250 protesters, along with 60 vehicles, were marching towards
                       the Getty House.

 1515 hours    The CP requested additional MFF squads to the OWB CP to assist with the protest
               marching towards the Getty House. Two additional OVB MFFs responded. The crowd
               was monitored until it began to disperse and reduce its hostility. A smaller group of
               peaceful protesters stayed until approximately 2045 hours.

 1800 hours    At the change of watch, there were multiple MFFs in OWB: four in Hollywood; one in
               Wilshire and one in West Los Angeles. Additionally, 173 National Guard were
               assigned to OWB. The Hollywood Area had approximately 1,000 protesters.

 1845 hours    An unknown unit requested a blocking force at Cole Avenue and La Mirada Boulevard
               in Hollywood Area and another unit advised that protesters were attempting to commit
               looting crimes at 8211 Melrose Avenue.

 1930 hours    A crowd of 1,000 protesters occupied the street at Hollywood and La Brea Boulevards.
               An LASD blocking force was set at Fairfax and Sunset Avenues as well as Fairfax
               Avenue and Hollywood Boulevard near the border of the City of West Hollywood,
               (LASD jurisdiction). The crowd moved into the area of Hollywood and Highland
               Boulevards, still occupying the public street.

               Between 1930 and 2040 hours, the crowd estimate fell from 1000 to approximately 80
               until it dispersed.

 1940 hours    An individual reported that possible looting suspects were seen near his/her apartment,
               unloading possible looted shoes from their vehicles’ trunk near 1738 4th Avenue.

 2100 hours    The Citywide Curfew was announced to the protesters still marching near Hollywood
               Boulevard and Vine Street. Protesters ignored the order and refused to disperse.

 2200 hours    Units were directed to Ivar Avenue and Hollywood Boulevard and then to Yucca Street
               and Vine Street direct vehicles that had joined the crowd out of the area. The OWB CP
               advised units were deployed and staged, ready to effect curfew arrests. Commander 7
               advised the CP they did not intend to make any arrests in Hollywood as long as the
               entire crowd remained peaceful.




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                                  Operations-Valley Bureau (OVB)

 0200-1021 hours In the early morning hours, OVB responded to multiple vandalism and looting
                 locations.

 0145 hours    The OVB mobile jail was closed per Commander 19A and squads were deployed to
               specific areas for crime control.

 0945 hours    A commander deployed one MFF and one plain clothes squad to the Sherman Oaks
               Galleria to support National Guard resources.

 1634 hours    An individual reported that there were 300 protesters near Mulholland Drive and
               Calabasas. The crowd marched, occupied city streets, and was accompanied by
               multiple vehicles.




                               THURSDAY, JUNE 4, 2020

                                Department Operations Center (DOC)

 0045 hours    The OCB IC authorized the field jail to demobilize.

 1205 hours    The Investigative Branch received intel that looted property from the previous nights
               was being sold online via TikTok and handled the investigation.

 1351 hours    The IC sent a notification advising that the National Guard would only be used as fixed
               post assignments.

 1430 hours    Command Staff at the CP conducted a briefing for situational awareness on current and
               planned events in the City.

 1721 hours    The DOC sent out a notice advising that the June 4, 2020, Mayor’s Directive for the
               necessity of a curfew in the City of Los Angeles no longer existed. All previous curfew
               orders were rescinded.

 1757 hours    Chief Moore invited personnel to a candlelight vigil to reaffirm community solidarity
               on Friday, June 5, 2020.




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 SAFE LA AFTER ACTION REPORT

                                  Operations-Central Bureau (OCB)

 0317 hours    Officers stood by with detained protesters at Grand Park. Protesters were sitting on the
               grass in a group waiting for transportation of the arrestees.

 0715 hours    An MTA driver advised there was a group throwing fireworks at passing busses
               (Incident No. 0578). When officers arrived at the location, they spoke with security in
               the area, but the suspect(s) and the MTA driver were gone.

 1053 hours    Approximately 50 protesters assembled at Slauson Avenue and Crenshaw Boulevard for
               the Newton March.

 1111 hours    The Newton March continued from Central Avenue and Jefferson Boulevard south of
               Newton Station with approximately 40 protesters. All protesters were peaceful.
               Officers previously positioned bike rail across Central Avenue south of 35 th Street to
               prevent protesters from coming to Newton Station.

 1115 hours    The Newton March moved south on Central Avenue with approximately 15-20
               protesters and one vehicle followed behind the crowd. All protesters remained
               peaceful.

 1139 hours    Approximately 40-50 protesters began to form at City Hall.

 1205 hours    The group at City Hall increased in size to approximately 75-100 protesters. It began to
               move from City Hall to Grand Park.

 1209 hours    The National Guard advised there was an irate man with a machete walking towards
               PAB. The suspect was described as a male, with an American Flag bandana, walking
               towards 1st Street from Spring Street. The suspect with the machete was seen getting
               into a white Honda, driving northbound on Los Angeles Street near 2 nd Street.
               Commander 2 requested the vehicle’s license plate number be given to the Investigative
               Branch.

 1305 hours    Grand Park (LASD jurisdiction) had approximately 200 more protesters, and LASD
               was notified of this observation. During this assessment, there were no protesters at the
               City Hall steps.

 1324 hours    The Hollenbeck protest began forming with approximately 300 protesters. Commander
               4 advised no additional resources were needed. They had one squad and one Motor
               Strike Team assigned to the event.

 1326 hours    A group of 35-40 protesters began to form on the City Hall steps.

 1355 hours    The Hollenbeck protest had an estimated 400 protesters on Huntington Drive and
               Portola Avenue.


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 1418 hours    The CP was advised the Hollenbeck protest crowd was estimated at 650 protesters at
               Huntington Drive and Eastern Avenue.

 1437 hours    Commander 1 requested a traffic break at Spring Street and Cesar Chavez Avenue for a
               group of 700 protesters. Additionally, Commander 2 requested the CHP respond to
               Spring Street and Aliso Street for 101 Freeway ramp security. An officer from CHP
               was notified.

 1440 hours    The Motor Strike Team responded to Main and 2 nd Streets at the request of Commander
               1. The Air Unit estimated the crowd at Main and 2nd Streets to be approximate 500
               protesters.

 1453 hours    A crowd assessment was given to the CP of 500 protesters at the Hollenbeck protest.

 1455 hours    Information was broadcasted that a male, Caucasian, bald, wearing a white shirt and
               blue pants was flying a drone in the area of 1st and Main Streets.

 1459 hours    Protesters returned to the front of City Hall.

 1507 hours    Information was broadcasted that a group of mothers were blocking traffic on Temple
               between Main Street and Broadway.

 1510 hours    The Hollenbeck protest ended without incident, and assigned officers returned to
               Staging for reassignment.

 1516 hours    Central Area conducted a crowd assessment and estimated approximately 250-300
               protesters within the area.

 1542 hours    A group of approximately 800 protesters were in front of PAB after marching from
               Spring Street. While the crowd was in front of PAB, two drones were flying overhead.

 1552 hours    The crowd in front of PAB separated into two groups. One group began marching
               south on Spring Street from Temple, and the other remained at City Hall with
               approximately 400 protesters.

 1616 hours    The crowd of approximately 400 protesters moving throughout downtown was now on
               Spring Street approaching 8th Street.
 1627 hours    The Air Unit was monitoring the crowd moving throughout the Downtown Area, which
               was now on 9th Street and Grand Avenue. The head of the group was at Hope Street
               with an estimation of 400-500 protesters.

 1636 hours    The Air Unit conducted a crowd assessment over the Downtown Area which included:
               75-100 protesters at City Hall, 200 protesters at PAB, and an additional group of 400-
               500 protesters moving from Figueroa and 5th Streets.



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 SAFE LA AFTER ACTION REPORT

 1710 hours    The crowd at City Hall was estimated at 600-700 protesters. An additional small group
               of 250 protesters continued southbound Hill Street from 1 st Street.

 1741 hours    Officers staged on Main Street south of 1 st Street encountered an irate protester yelling
               about racism to the officers who eventually walked away without further incident.

 1742 hours    A group of 700 protesters were on Spring Street and continued to 1 st Street towards
               Grand Park.

 1750 hours    A small group of 200 protesters were at 8 th Street and Santee Avenue.

 1802 hours    The crowd of 200 protesters at 8 th Street and Santee Avenue was followed by
               approximately 20 vehicles and headed towards Central Station. Central Station was
               advised to ensure all gates were secured and manned.

 1835 hours    A group of approximately 300 protesters traveling north on Broadway to 1 st Street
               stopped in the middle of the intersection, blocking all directions of traffic. Protesters
               took a knee at the intersection and started chanting. Officers at 1 st Street west of
               Broadway monitored the crowd.

 1847 hours    Protesters at 1st Street and Broadway continued moving east on 1st Street approaching
               Spring Street using all traffic lanes.

 1850 hours    The group that was stationary at City Hall began to march southbound on Spring Street
               to join with the group from 1st Street and Broadway. The groups rejoined at Main and
               1st Streets. Approximately 20 vehicles were with the crowd.

 1911 hours    The National Guard advised that four male, Blacks, with a rifle were in a silver Honda
               Accord. The suspects’ vehicle was following a blue convertible lowrider on Broadway
               from 6th Street.

 1927 hours    The crowd continued to move throughout Downtown and was at 7 th Street and Grand
               Avenue approaching Hope Street. Officers advised that the crowd was deploying
               smoke bombs. The group continued to move throughout Downtown.

 1931 hours    The blue convertible was last seen traveling on west 7 th Street from Spring Street. The
               silver Honda Accord was no longer with the blue vehicle. Officers found a silver
               Honda matching the description of the silver Honda with two male, Hispanics in the
               front seats and 1 female, Hispanic in the rear seat.

 1938 hours    The silver Honda was located at 7 th and Olive Streets. The suspects were detained
               pending an investigation.

 1947 hours    The crowd moved northbound on Figueroa Street, passing 3 rd Street. Officers were east
               of Figueroa at 3rd Streets blocking the crowd from going onto the 110 Freeway ramps


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               east from Figueroa on 3rd Street. The crowd continued north on Figueroa Street using
               all lanes of traffic.

 2004 hours    The crowd continued to maneuver throughout the City. The Air Unit gave an estimate
               of 4,000 protesters mixed with vehicles. The updated location of the crowd was 1 st and
               Spring Streets approaching City Hall.

 2015 hours    Officers were in a blocking force on Hill Street north of 1 st Street. Additionally, a
               Motor Strike Team was blocking the east lanes on 1st Street at Hill Street. No protesters
               were in the area at this moment.

 2034 hours    Motor officers requested additional units for a crowd throwing water bottles at them.

 2122 hours    The officers assessed the crowd at City Hall estimated at 300 peaceful protesters.
               Officers observed a suspect throw water bottles at officers.

 2126 hours    The suspect that threw the water bottles at officers was taken into custody. However,
               for an unknown reason, CSD did not accept the individual. He was released and
               rejoined the crowd.

 2138 hours    The Air Unit conducted a crowd assessment and concluded there were approximately
               200-225 protesters at City Hall. The protesters marched from City Hall onto Spring
               Street toward 4th Street.

 2308 hours    The crowd continued to Figueroa and 5th Streets and blocked all directions of traffic.

 2323 hours    The group blocking 5th and Figueroa Streets moved south on Figueroa Street towards 8 th
               Street.

 2337 hours    While the crowd approached 8th and Hope Streets, several protesters threw glass bottles
               at officers.

 2355 hours    During this time, the crowd split into two small groups. One went eastbound on 2 nd
               Street from Hill and the other went northbound on Hill from 1 st Street.


                                   Operations-South Bureau (OSB)

 1120 hours    The OSB CP discovered Harbor Area was not sending a sufficient amount of personnel
               to OSB Staging.

 1220 hours    Southwest advised the OSB CP that a peace march had started at Crenshaw High
               School and moved to Leimert Park with an unknown number of participants. No issues
               were reported.

 1400 hours    The Southwest peace march concluded with no issues.

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 2207 hours    The OSB CP was notified that an unknown number of protesters were at the residence
               of County Supervisor Mark Ridley Thomas. Units were sent to that location.


                                   Operations-West Bureau (OWB)

 0815 hours    The OWB received intel of a possible protest in Pacific Area.

 1120 hours    Communications Division advised it received information about a potential protest at
               5455 Wilshire Boulevard. The intelligence suggested protesters were bringing bricks
               and gasoline-filled coke bottles at an unknown time.

 1215 hours    Approximately 100 protesters were north of the Santa Monica Pier. They had walked
               northbound from Ocean Boulevard with no issues at the location.

 1251 hours    There were approximately 15-20 protesters at the intersection of Beverly and Arden
               Boulevards (Incident No.1561).

 1335 hours    A group of 300 protesters were at the Getty House and a group of 500 protesters were at
               UCLA. Both groups were peaceful.

 1431 hours    Approximately 300 protesters were at Wilshire Boulevard and Western Avenue.

 1520 hours    A crowd assessment update included: 200 protesters in Hollywood; 300 protesters at
               UCLA; and approximately 200 protesters were enroute to Central Area.

 1605 hours    The crowd assessment at this time was 300 in Hollywood Area heading westbound on
               Sunset Boulevard and 500 at UCLA. All remained calm and peaceful.
 1800 hours    While conducting an assessment in the Hollywood Area, the Air Unit observed
               approximately 100 protesters at Hollywood and Cahuenga Boulevards and another 100
               at Sunset Boulevard and Western Avenue.

 2009 hours    Communications Division advised that protesters in several vehicles were driving on
               the wrong side of the street at 6700 Sunset Boulevard (Incident No. 2790 related).

 2125 hours    Officers advised they were having bottles thrown at them around Melrose and La Brea
               Avenues. The suspects were gone when the Air Unit flew overhead.

 2135 hours    The National Guard advised approximately 20 vehicles were blocking traffic at the
               intersection of Sunset Boulevard and Vine Street.




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                                   Operations-Valley Bureau (OVB)

 1000 hours    Information was received of 50 peaceful protesters outside of North Hollywood Station.

 1130 hours    The OVB CP received intelligence of a possible protest at Zelzah Avenue and
               Chatsworth Street. No further information was received.

 1135 hours    Approximately 200-400 protesters were at Notre Dame High School in Van Nuys with
               no issues at the location. The OVB CP received intelligence via Crime Stoppers that
               looters were told to go to the Northridge Mall at 1400-0200 hours to loot the location.

 1300 hours    The protest that was at Zelzah Avenue and Chatsworth Street had only six to eight
               protesters.

 1505 hours    Information was received that approximately 10 vehicles were blocking the 170
               Freeway off-ramp at Burbank Boulevard. The CHP responded and handled.
               Additionally, five people were blocking the entrance to North Hollywood Station.

 1520 hours    Despite intelligence reports, the Northridge Mall had no activity.

               The crowd at Zelzah Avenue and Chatsworth Street had approximately 100 protesters.
               The protesters became aggressive and the business owners at the location advised
               Communications Division that if police did not arrive, they would take matters into
               their own hands as they were tired of the protesters damaging their businesses. Officers
               responded to the location and stood by until the crowd dispersed.

 1630 hours    The OVB CP received information that San Fernando Police Department would impose
               a curfew from 9:00 p.m.-0500 a.m.

 1912 hours    The OVB CP received a report of looting occurring at Devonshire Street and Zelzah
               Avenue; one MFF responded to the scene per Commander 19A (Incident No. 2567).
               Officers at the scene discovered no evidence of looting at the location. Additionally,
               officers met with a Rite Aid employee, who said that an irate man entered the store and
               took a bag of items without paying. The employee did not want to file a report.

 1916 hours    Approximately 100 protesters were in the street at Riverside Drive and Woodman
               Avenue (Incident No. 2595). Protesters stopped traffic and created a disturbance.
               Intelligence was received from plain clothes officers.




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                                  FRIDAY, JUNE 5, 2020

                                Department Operations Center (DOC)

 0830 hours    The Investigative Branch conducted a morning briefing to determine staffing at the
               Department’s jail and Staging locations. An MCD detective was assigned as the
               geographic Area liaison. A Commercial Crimes Division detective was assigned as the
               RHD task force liaison.

 1804 hours    A Department-wide email was sent advising personnel to review the Use of Force –
               Tactics Directive No. 11 on Crowd Management, Intervention, and Control.

 1818 hours    Communications Division received an anonymous tip through the citizen tip application
               that a protest would occur at Porter Ranch and Rinaldi at the Porter Ranch Town
               Center.


                                  Operations-Central Bureau (OCB)

 0053 hours    An individual reported that they were assaulted by protesters in the area of 7 th and
               Figueroa Streets. Patrol officers responded and completed a criminal battery report.
               The victim stated he had “live-streamed” the incident on social media (Incident No.
               0148).

 1139 hours    A plain clothes supervisor advised that a crowd of approximately 100 gathered at the
               Hall of Justice and was steadily increasing in size. They added that multiple vehicles
               were dropping protesters off with signs and flowers.

 1142 hours    Commander 2 arrived at the Hall of Justice to monitor the event. Commander 2
               requested DOT to respond and assist with traffic control for public safety, but DOT was
               unavailable. Six motor units and one sergeant responded to the area.

 1229 hours    Motor units conducted traffic control and asked for southbound traffic to be held at
               Spring Street between 1st and Temple Streets. The crowd at the Hall of Justice stayed
               stationary and grew to approximately 150.

 1240 hours    A crowd of approximately 1,000 protesters formed at 5 th and Hill Streets near Perishing
               Square and marched westbound on 6th Street from Perishing Square.

 1240 hours    Commander 2 coordinated with motor supervision to re-route traffic as the crowd
               continued to protest at the Hall of Justice.

 1434 hours    Commander 25 advised there were multiple plain clothes officers in the crowd at
               Perishing Square. Plain clothes officers monitored the event and advised the CP of
               crowd agitators and suspected safety issues, including airborne drones.
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 1524 hours    A protester near 1300 7th Street texted a written statement to 911, “We are the peace
               rally we are going to kill you.”

 1536 hours    Commander 2 designated a media area located on 1 st Street between Spring and Main
               Streets.

 1557 hours    An individual contacted officers near the crowd at 1 st and Spring Streets to report a
               protester within the crowd in possession of razor blades and possibly knives. Plain
               clothes officers identified the protester and directed a strike team into the crowd to
               detain the protester for possible criminal activity.

 1608 hours    The Air Unit and ground units identified and monitored many smaller groups marching
               near the Hall of Justice. Approximately 300 protesters broke away from the main
               crowd and traveled southbound on Spring Street towards 1 st Street.

               After the stationary crowd at the Hall of Justice grew to approximately 1,500, it
               marched from 1st Street south on Spring Street. The crowd occupied approximately
               three city blocks.

 1631 hours    Commander 27 redeployed units to 1 st and Spring Streets, at PAB to address a growing
               crowd at PAB for the vigil for George Floyd.

 1631 hours    The larger crowd at Pershing Square traveled south on Spring from 7 th Street before
               arriving at Hill and 8th Streets.

 1638 hours    Officers advised Communications Division that a large privately-owned military-grade
               people carrier was seen near Hill and 1st Streets. The rear of the vehicle was covered by
               a large pink tarp and was not associated with the National Guard. The vehicle circled in
               the area and then traveled north on 1st Street.

 1650 hours    A crowd assessment was conducted. Approximately 1,000 protesters were continuing
               to march near Pershing Square.

 1712 hours    Unit MQ10 advised all Motor Strike Team units to respond to PAB to secure the
               perimeter.

 1714 hours    Officers notified Communications Division of two individuals located at Grand Park
               with helmets dressed in white clothing attempting to conceal water bottles containing
               yellow liquid.

 1723 hours    Due to the vigil scheduled to begin at 6:00 p.m. at PAB, Commander 2 requested an
               additional tactical frequency and Motor Strike Teams to re-route traffic around PAB.
               The CP assigned Channel 36 as a separate tactical channel for the vigil.

 1726 hours    The larger crowd from Pershing Square, traveled west on 5 th Street through Grand
               Avenue towards the 110 Freeway and attempted to gain access to the freeway.

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               A large group of bicyclists joined the crowd as it reached 12th Street and South Grand
               Avenue.

 1800 hours    The Community Solidarity Vigil was held at PAB and attended by Chief Moore.

 1822 hours    A larger crowd of approximately 2,000 moved northbound through Broadway as it
               spread out occupying approximately four City blocks. A smaller crowd near City Hall
               and PAB occupied 1st Street between Main and Spring Streets. All groups were
               reported as peaceful at this time.

 1907 hours    Plain clothes officers in the crowd attempted to determine the motivation for the crowd
               staying stationary in front of City Hall but were unable to do so. They also advised that
               airborne drones were monitoring the protest. Plain clothes officers identified the
               location of the drone operators as they canvased the area and relayed the information to
               the CP and strike teams.

 1916 hours    A sergeant from Newton Station called the CP and advised there was a small crowd of
               15 peaceful protesters in front of the station. One squad was sent to the area. The
               crowd dissipated at approximately 8:12 p.m.

 1929 hours    An individual reported that protesters near Hope Street and Wilshire Boulevard threw
               objects that hit him in the head and caused an injury. He was treated at scene by LAFD
               and refused to make a police report.

 2008 hours    The crowd in front of City Hall continued to slowly disperse and the vehicles observed
               entering the crowd were now stationary.

 2058 hours    Both vehicle and pedestrian protesters traveled northbound on Spring Street through
               Temple Street. The crowd occupied the area of Spring Street near the 101 Freeway off-
               ramp. Protesters aimed green lasers at the Air Unit and continually attempted to gain
               access to the freeway by the on and off-ramps in the area. The Air Unit relayed these
               actions to CHP and coordinated a blocking force to on and off-ramps as well as
               additional access points of the 101 Freeway.

 2016 hours    The Air Unit observed a male suspect with a gun blocking traffic near Spring Street and
               Caesar Chavez Avenue. The suspect was accompanied by an additional male suspect.
               After being reported by the Air Unit, the man discarded the gun, and both suspects
               quickly fled. Both the Air Unit and plain clothes units identified the suspects’ direction
               of travel and guided six uniformed officers to safely detain the suspects in the area of
               Broadway and Caesar Chavez Avenue. The Air Unit also directed officers to location
               the guns were discarded by the suspects. Both suspects were arrested and transported to
               MDC.

 2239 hours    The Air Unit observed vehicles endangering the public’s safety by traveling northbound
               on Spring Street (one-way street with only southbound lanes) towards 1 st Street. The


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               Air Unit and Motor Strike Teams coordinated a response with marked police vehicles to
               act as a blocking force at Spring and Temple Streets and detain the vehicles.

 2246 hours    The Air Unit advised that the crowd accompanied by vehicles was stationary at Temple
               and Main Streets. The crowd circled the area, and eventually ended in front of City
               Hall on 1st and Spring Streets. A skirmish line was requested and blocking forces were
               formed on the street. The Motor Strike Teams set blocking forces near Spring and 1 st
               Streets deterring vehicles from the area. Approximately 50 protesters in Grand Park
               refused to disperse.

 2356 hours    The Air Unit advised the crowd of 50 was still stationary at Grand Park.


                                   Operations-South Bureau (OSB)

 1135 hours    The DOC called and informed OSB CP of a citizen who reported the staging of a large
               number of bricks delivered to the front yard of a residence at 544 W 9 th Street. Patrol
               officers spoke with the residents who explained the bricks were for a small residential
               construction project.

 1245 hours    A crowd of approximately 100-150 gathered on Western Avenue between Florence
               Avenue and 77th Street. Protesters were drinking and listening to loud music.

 1610 hours    Southwest Area advised the OSB CP a protest was planned for 6:00 p.m. at Obama
               Boulevard and Cloverdale Avenue. The estimated attendance for the event was under
               20 people. No notable occurrences came from the protest.


                                   Operations-West Bureau (OWB)

 1000 hours    The OWB IC conducted a conference call with all OWB Captains and disseminated
               updates and the status of upcoming planned protests.

 1405 hours    Over the next seven hours Communications Division advised of multiple peaceful
               protests and their locations within OWB.
 1555 hours    A community member reported a large crowd located near 3 rd Avenue and Hauser
               Boulevard was throwing items at passing vehicles. Commander 78 requested the Air
               Unit to check the area. As the Air Unit arrived, the vehicles were leaving the area.

 2135 hours    The OWB CP received an Event Action Plan for the “Breonna Taylor Rally” scheduled
               for June 6, 2020 at 9:00 a.m. The event was to take place at Pan Pacific Park. The
               Jewish Federation 6506 Wilshire Boulevard was the planned Staging Area.

               On May 30, 2020 a protest had occurred at the same location. In preparation for the
               “Breonna Taylor Rally,” OWB requested additional resources, established contact with

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               the event organizers, and changed the locations of its CP and Staging Area. The OWB
               IC established plans to respond to violence and protect property if needed.


                                  Operations-Valley Bureau (OVB)

 0745 hours    An individual reported that possible looting suspects were at the Walmart located at
               19821 Rinaldi Street in Porter Ranch. Communications Division notified the OVB CP.

 1010 hours    Communications Division notified the OVB CP a crowd of approximately 100 were at
               the Chatsworth Courthouse (9425 Penfield Avenue).

 1245 hours    Communications Division advised that a crowd of approximately 300 were at 18300
               Lamarsh Street. A crowd of approximately 400-500 who were protesting at Nordhoff
               Boulevard and Reseda Boulevard were now marching towards the Chatsworth
               Courthouse. Both protests were peaceful.

 1325 hours    The Air Unit gave a crowd assessment of 300 protesters arrived at Chatsworth
               Courthouse with media on scene.

 1420 hours    The OVB IC arrived at Chatsworth Court House and monitored the crowd. The crowd
               was peaceful at the time and no MFF units were deployed for crowd control.

 1525 hours    A citizen reported that two male suspects were looting alcohol from a Rite Aid near
               Saticoy Street and Van Nuys Boulevard. The suspects fled the area, and the employees
               fled as well in fear additional looting suspects would arrive and loot the store.

 1600 hours    An individual reported a large group had formed and was throwing items at passing
               vehicles in the area of protests.

 1615 hours    North Hollywood Area Watch Commander advised the OVB CP that a crowd of 300-
               350 was protesting at Lankershim Boulevard and Chandler Avenue. Plain clothes units
               were redirected to monitor the crowd.

 1730 hours    Plain clothes units advised the crowd of 300 protesters at Magnolia Avenue and
               Tujunga Boulevard were peaceful at the time.
 2230 hours    Commander 19A advised the OVB CP approximately 200 motorcycles were racing in
               the area of Devonshire Street and Topanga Canyon Boulevard had. Commander 19A
               deployed an MFF to monitor that area.




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 SAFE LA AFTER ACTION REPORT


                                SATURDAY, JUNE 6, 2020

                                Department Operations Center (DOC)

 0845 hours    The DOC was informed that officers were being followed home from their police
               stations. The DOC distributed an email to all personnel concerning officer safety when
               leaving work and travelling home.

 1450 hours    The RHD received a TikTok posting of an individual setting fire to a manikin dressed
               as a police officer. The individual commented he planned to bring an assault rifle to
               Los Angeles. The RHD detectives began an investigation into the threat.

 1810 hours    A Command Staff Officer tasked detectives and the military liaison to plan for security
               at the Convention Center after the National Guard demobilized at 2200 hours.

 1851 hours    The DOC sent out a notice to all officers advising that anti-governmental groups across
               the country were targeting the information technology systems of police departments.

  2114 hours   The DOC send out a notice on behalf of RHD advising officers RHD would be
               investigating all threats against LAPD officers and provided officer safety precautions.

 2200 hours.   The DOC was advised the National Guard would not be deployed to any locations
               unless there were further protest issues.


                                  Operations-Central Bureau (OCB)

 0826 hours    Communications Division received a radio call of a bomb threat at the Hall of Justice.
               The LASD responded and handled the situation without incident.

 0900 hours    Northeast Station reported a small group of approximately 20 protesters gathered at
               Northeast Station for a pre-planned protest. The protest was peaceful, and no additional
               resources were requested.

 0947 hours    It was reported that 100 protesters were gathered at the steps of City Hall. Commander
               1 requested a Motor Strike Team and provided additional security for City Hall.

 1000 hours    Chief Moore was briefed on the updated deployment of the National Guard.

 1045 hours    A crowd of 200 protesters began marching from Hill Street to the Staples Center.

 1100 hours    The National Guard was deployed and staged at its preplanned locations.

 1324 hours    Commander 36 advised that the crowd in front of PAB grew to over 3,000 protesters.
               Commander 1 reported an additional 3,000 protesters were marching from the Civic
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               Center and requested Motor Strike Teams. The Air Unit and Motor Strike Team
               assisted in facilitating the march.

 1335 hours    The CP received reports that two drones were flying over PAB. The drones’ operator
               was controlling them from the Joe’s Parking Lot roof.

 1430 hours    Air 10 reported there were 600-650 protesters in front of City Hall. An additional group
               of 100 bicyclists was reported traveling north on Broadway approaching 4 th Street.

 1444 hours    The CP received information that 75-100 protesters were gathered at Figueroa Street
               and Cesar Chavez Avenue.

 1520 hours    The CP received a report that there were several thousand protesters at 3 rd and Temple
               Streets. Officers advised there was a small group of 40 protesters that entered the 101
               Freeway from Temple and Hill Streets. The CHP responded, and the protesters
               dispersed from the freeway and joined the main group.

               Unit 24MQ10 reported there were 1,000 protesters at the intersection of 3 rd and Spring
               Streets.

 1530 hours    Commander 25 requested an additional MFF respond southbound on Grand Avenue
               from Temple Street for 2,000 protesters.

 1536 hours    An “officer help call” was generated at 3 rd Street and Central Avenue due to a traffic
               collision between a motor officer and another vehicle. The motor officer reported pain
               to his hip and leg. The LAFD responded and transported the officer to a nearby hospital
               (Incident No. 2140).

 1541 hours    Plain clothes officers advised 60-75 motorcycles were traveling on the wrong side of
               the roadway eastbound on 3rd Street from Broadway. Commander 1 ordered officers
               not to stop the motorcycles as they were traveling with the protesters.

 1622 hours    The Air Unit gave a crowd assessment of two groups merged together marching
               towards City Hall. The Air Unit estimated that the crowd was between 5,000-7,000. A
               second crowd of 1,000 protesters marched north on Hill Avenue from East 2 nd Street.
               An additional crowd of protesters was marching from the East 2 nd Street tunnel heading
               towards City Hall.

 1650 hours    An unknown unit requested a RA for a 20-25-year-old man who was conscious and
               breathing with a laceration to the top of his head (Incident No. 2256).

 1653 hours    Commander 2 advised there were 50 protesters marching on 6 th Street approaching
               Rampart Area. Commander 2 requested a Motor Strike Team to assist with protesters.

 1728 hours    The CP was notified that officers were escorting the 50 protesters who were traveling
               east on 6th Street from Rampart Station towards Downtown.

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 1802 hours    The National Guard advised a male, Black, armed with a mini bat “acting aggressively”
               was walking towards them. The individual refused to leave the area. Unit 24Q20
               responded and handled the incident.

 1804 hours    The CP advised there were 100 individuals peacefully protesting at Figueroa and York
               Streets. No additional resources were requested.

 1815 hours    Commander 36 requested a Central Area unit respond to MDC for a man who was
               video recording the license plates and shop numbers of police vehicles as they exited
               the facility from Los Angeles Street.

 1956 hours    The CP advised that 1,000-1,500 protesters were surrounding a vehicle on Figueroa
               Street between 2nd and 3rd Streets.

 2046 hours    The Air Unit advised a group of 150 protesters was marching northbound Broadway at
               4th Street.

 2107 hours    Commander 10 advised that the crowd around City Hall dispersed. A Motor Strike
               Team was requested to conduct traffic enforcement in front of PAB.

 2336 hours    The CP was advised that protesters were kneeling in the intersection of 7 th Street and
               Figueroa Streets. Skirmish lines were deployed north and south of 7 th and Figueroa
               Streets. The crowd dispersed leaving mainly on the Redline.


                                   Operations-South Bureau (OSB)

 1020 hours    Approximately 300-400 protesters were marching at USC. The protest was described
               as peaceful in nature.

 1050 hours    Harbor Area reported 300 protesters were marching to the City Hall in Harbor Area.
               The OSB CP deployed one MFF and one plain clothes team to standby. The protest
               was peaceful, and no additional resources were requested.

 1110 hours    The protest at USC had grown to 600 protesters. The protest was peaceful, and no
               additional resources were requested.

 1210 hours    The OSB CP was notified that 400 protesters were congregating at Leimert Park. The
               protesters were peaceful in nature. One Motor Strike Team and two MFFs were staged
               in the area.

 1245 hours    Harbor Area advised 60 protesters were gathering at Figueroa Street and Pacific Coast
               Highway. The protesters intended on marching to Harbor Regional Park. The Los
               Angeles Port Police Department advised they would provide assistance if requested.



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 1300 hours    Southwest Area advised OSB CP the protest at USC had grown to 1,000 protesters.
               The protest remained peaceful.

 1420 hours    Harbor Area advised a peaceful protest of approximately 350 protesters were at the
               Trump National Golf Club.

 1440 hours    The OSB CP requested the MFF and Motor Strike Teams staged at Leimert Park
               respond back to 75th Street Elementary.

 1515 hours    The OSB CP was advised the protests at USC, Harbor City Hall, and Harbor Regional
               Park were finished. All protesters had dispersed from the areas.

 1530 hours    The OSB CP received an update the protesters at Leimert Park were dispersing and only
               200 remained. The protest was peaceful, and no additional resources were requested.

 1600 hours    Southeast Area reported to the OSB CP that they were monitoring 100 protesters at
               107th Street and Budlong Avenue. The protesters marched northbound Vermont
               Avenue from Century Boulevard. The protest was described as peaceful and no
               additional resources were requested.

 1715 hours    The OSB CP was advised that the protest at Leimert Park had finished and the
               protesters dispersed from the area.


                                   Operations-West Bureau (OWB)

 0900 hours    Protesters arrived at Pan Pacific Park at 7600 Beverly Boulevard for the Breonna Taylor
               Rally. Plain clothes units monitored the crowd and observed no harmful items or
               prohibited items in the crowd as protesters arrived.

 1022 hours    Communications Division advised there were 80 peaceful protesters at Jefferson
               Boulevard and Beethoven Street (Incident No. 1223).

 1113 hours    The National Guard requested an additional 30 soldiers from a lieutenant at The Grove
               from the Bell Armory.

 1200 hours    Communications Division advised there were 50 peaceful protesters gathering at
               Lincoln Avenue and Loyola Marymount University (LMU) (Incident No. 1463).
 1350 hours    The protesters at Lincoln and LMU had grown to 250 protesters and were monitored by
               OWB officers. Officers closed vehicle traffic for the protesters as they approached the
               various intersections.

 1355 hours    The Breonna Taylor Rally at Pan Pacific Park grew to 1,500 protesters. Individuals in
               the crowd maintained a vocal but lawful demeanor.



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 1400 hours    The Breonna Taylor Rally crowd mobilized and marched northbound on Beverly
               Boulevard towards Hollywood Area.

 1440 hours    The OWB CP received a report that the crowd of 1,500 overtook the street as they
               marched westbound on Beverly Boulevard towards West Hollywood. As the crowd
               overtook multiple City streets but maintained a largely peaceful demeanor.

 1520 hours    The protest returned to Lincoln and LMU where the crowd decreased to approximately
               100 protesters and then dispersed.

 1805 hours    The OWB CP advised a crowd of 1,000 protesters was moving east from Santa Monica
               Boulevard towards Highland Avenue.

 1820 hours    The OWB CP received an update that the crowd of protesters continued to march
               northbound Highland Avenue approaching Hollywood Boulevard.

 1835 hours    The OWB CP advised peaceful protesters stopped at Beverly Boulevard and Sierra
               Bonita Avenue.

 1920 hours    The OWB CP advised that 100 protesters were sitting down in the intersection of La
               Brea and Oakwood Avenues. A small group of protesters separated and marched
               northbound on La Brea Avenue.


                                  Operations-Valley Bureau (OVB)

 0830 hours    One MFF was deployed at the Westfield Fashion Square and another MFF at the
               Sherman Oaks Galleria for security.

 1015 hours    A crowd of approximate 150 peaceful protesters began congregating in front of OVB
               Fire Headquarters, Station 83.

 1025 hours    The OVB CP received information thatthere were planned protests at Chief Moore’s
               residence. The OVB IC requested one MFF stage at Devonshire Station and one arrest
               bus be placed on standby at the OVB CP.

 1040 hours    The crowd at Fire Station 83 walked southbound on Balboa Boulevard towards Ventura
               Boulevard and grew to approximately 400 protesters. One MFF was deployed from
               West Valley Station and staged at 5353 Balboa Boulevard. Upon the MFF’s arrival,
               officers reported the protest grew to 600 protesters and remained peaceful. The Air
               Unit was at scene and monitored the protest.

 1055 hours    The OVB IC requested two MFFs deploy to Chief Moore’s residence.

 1120 hours    A sergeant advised there were protesters at Chief Moore’s residence. The protest was
               described as peaceful and no additional resources were requested.

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 1240 hours    Officers reported the protesters at Ventura Boulevard and Balboa Boulevard, as well as
               at Chief Moore’s residence were dispersing. Approximately 100 protesters remained in
               the area.

 1315 hours    The Foothill Area Watch Commander received information that there were
               approximately 150-200 protesters wearing backpacks and masks, gathering at an
               AutoZone at Laurel Canyon Boulevard and Osborne Street. Officers were advised the
               group planned to march to Foothill Station.

 1325 hours    Soldiers from the National Guard reported to the OVB CP that they observed pallets of
               rocks and bricks around the perimeter of the Westfield Fashion Square Mall. The OVB
               IC deployed two supervisors to assess the situation.

 1345 hours    Commander 16A reported the crowd at Laurel Canyon Boulevard and Osborne Street
               was preparing to march to Foothill Station.

 1445 hours    The OVB IC deployed one MFF to Lankershim and Chandler Boulevards for a crowd
               of 100 protesters.

 1500 hours    A sergeant advised OVB CP the 100 protesters on Lankershim Boulevard and Chandler
               Boulevard planned to march to Lankershim and Magnolia Boulevards with the intention
               to block the intersection.

 1545 hours    A sergeant advised protesters were blocking the intersection of Lankershim Boulevard
               and Magnolia Boulevard.

 1610 hours    The OVB CP was advised that a crowd of 100 protesters were gathering at Foothill
               Boulevard and Hubbard Street.

 1900 hours    The OVB CP was notified of a 40-person peaceful protest at Magnolia Boulevard and
               Tujunga Avenue.




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                                  SUNDAY, JUNE 7, 2020

                                 Department Operations Center (DOC)

 0630 hours    All National Guard soldiers were released from fixed post assignments. Per Commander
               6, the National Guard would no longer be deployed. All National Guard soldiers were
               to return to their bases throughout the region.

 1025 hours    The OWB CP requested the National Guard for fixed post assignments. There were 896
               National Guard soldiers at the Convention Center awaiting additional orders.

 1137 hours    Commander 6 advised the National Guard would no longer be deployed.

 1224 hours    The IC advised OWB CP their National Guard request was denied due to California
               State orders.

 1500 hours    All escort details previously scheduled for June 8, 2020, were directed to report to their
               respective Areas.


                                   Operations-Central Bureau (OCB)

 1340 hours    A Motor Strike Team reported there was a caravan of 300-400 vehicles traveling
               northbound on Manchester Boulevard passing Union Station. The caravan was peaceful
               and obeying traffic laws. The caravan drove around downtown and eventually parked
               in front PAB. After a few minutes, several of the vehicles in the protest began to
               disperse from the area.

 1956 hours    A Motor Strike Team advised that only eight to ten vehicles and approximately 50-75
               protesters remained in front of PAB.

 2100 hours    Officers advised that only 20 protesters remained in front of PAB.


                                    Operations-South Bureau (OSB)

 1150 hours    Southeast Area advised the OSB CP that BLM may possibly be protesting near Imperial
               Courts in Compton (Willowbrook Avenue and Tameron) at 1:00 p.m.

               Approximately, 3,000 protesters were expected. The LASD would oversee the protest
               and Southeast Area would monitor the situation.




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 1330 hours    Southeast Area advised OSB CP the peaceful Community Car Caravan was traveling
               from the City of Compton to PAB. There were approximately 200 - 250 cars in the
               caravan driving through 77th Street Area.

               Southeast Area continued to monitor the BLM protest at Imperial Courts estimated at
               only 40 protesters, far less that than expected 3,000 participants.


                                  Operations-West Bureau (OWB)

 1209 hours    Communications Division received information that a peaceful group of 20-25
               protesters congregated at Sunset Boulevard and Kenter Avenue.

 1600 hours    The OWB CP reported a crowd of 4,000 protesters gathering at Hollywood Area.

 1640 hours    The OWB CP reported the crowd in Hollywood Area grew to 12,000 protesters and was
               in the area of Ivar Avenue and Sunset Boulevard. The OWB CP requested a sound
               truck to respond to the protest.

 1746 hours    The protest in Hollywood grew to approximately 15,000 and remained peaceful.

 1905 hours    An additional crowd, approximately 500 protesters and 100 vehicles, was forming
               Hollywood Boulevard and Highland Avenue.

 1945 hours    Officers advised that the protest at Hollywood Boulevard and Highland Avenue was
               dispersing and only 300-400 protesters remained. The crowd at Hollywood Boulevard
               and Ivar Avenue was also dispersing and only 100 protesters remained. A peaceful
               group of approximately 100-150 protesters was forming in West Hollywood at Santa
               Monica and La Cienega Boulevards.

 2150 hours    A small crowd gathered at Hollywood Boulevard and Highland Avenue for a
               candlelight vigil.

 2305 hours    Approximately 30 protesters were loitering at the intersection of Hollywood Boulevard
               and Highland Avenue. The protest remained peaceful and with minimal police
               deployment.


                                  Operations-Valley Bureau (OVB)

 1103 hours    Communications Division received information of a peaceful group of 10 protesters at
               Ventura and Sepulveda Boulevards.




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                                      Chapter 10:
                                      Appendices

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 APPENDIX

                                     Appendix A: Resources Used

 While completing this After Action Report the Department dedicated countless hours to the
 research and review of approximately 9,935 hours of audio, 50 hours of video, 2,400 digital
 images and 13,862 pages of documents related to the Civil Unrest. It is important to note
 estimated total documents researched and reviewed varied based on format, layout and font size.
 Therefore, the number of pages totaled is an estimate only.

 The following list details the source information the after-action task force accumulated to
 complete this document:

    x   Radio broadcast communications from all four Bureaus from May 27, 2020, to
        June 7, 2020.
            o The task force was provided approximately 9,935 hours of radio broadcasts. Large
                portions and segments of the audio were reviewed to gain clarity of the events and
                occurrences during the Civil Unrest.
    x   Robbery Homicide Division Felony Arrest Write Up dated July 15, 2020 (17 pages)
    x   Misdemeanor Arrests Log dated September 11, 2020 (257 pages)
    x   Numerous Department emails from the DOC (132 pages)
    x   Chronological narration logs from each of the Bureaus and DOC (262 pages)
    x   ICS-211/214s logs (1,620 pages)
    x   Video and camera footage from May 27,2020, to June 7, 2020 (approximately 40 hours of
        footage and 2,400 photographs)
    x   Watch Commanders Logs from all 21 geographic Areas (8,000 pages)
    x   Investigative Reports from May 27, 2020, to June 7, 2020 (530 pages)
    x   DOC Minimum Operating Force Logs (84 pages)
    x   Injured on Duty Tracking Logs related to the Civil Unrest (8 pages)
    x   Office of Support Services Expenditure Log dated August 13, 2020 (3 pages)
    x   Building and Safety Division Inspection Log (31 pages)
    x   Fiscal Group Audit (1 page)
    x   Social Media/Media Outlets (approximately 10 hours)
    x   Motor Transport Division Audit Log related to the Civil Unrest (5 pages)
    x   Emergency Operations Center After Action for the 2020 Civil Unrest (37 pages)
    x   Training Bulletins, Notices, Memorandums, Administrative Order, Directives (130 pages)
    x   1992 Los Angeles Civil Unrest After Action Report (142 pages)
    x   Outside Agencies’ George Floyd After Action Reports (500 pages)
    x   Bureau Projects (5 complete projects)
    x   Intelligence Reports from RHD and MCD (543 pages)
    x   Event Action Plans of protests scheduled during the Civil Unrest (1,507 pages)
    x   Interviews with approximately 75 past and present commanding officers.
    x   Formal and Informal Interviews with sworn and civilian personnel of all ranks.
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    x   Crime Analysis Detail Reports (40 pages)
    x   Mayor Garcetti Declarations and Directives (16 pages)
    x   COVID-19 Personnel Logs (28 pages)




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                          Appendix B: Proclamation of a State of Emergency




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                               Appendix C: Declaration of Local Emergency




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                        Appendix D: Order and Revised Orders Setting Curfews




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                              Appendix E: Board of Commissions News Release
 News Release
 Wednesday, June 3, 2020




 Demands for Law Enforcement Reform
 The demonstrations of the last several days have been transformative for the people of Los Angeles, California, and
 Nation. The demands for law enforcement reform are being heard. Angelenos have been crying for a path forward,
 that doesn't repeat the mistakes of the past, and the Los Angeles Board of Police Commissioners is listening.

 Today this body, which is charged with the oversight of the Los Angeles Police Department is establishing an
 aggressive reform agenda, which continues the evolution of our commitment to 21st Century policing.

 This Department has made historic strides in our commitment to community engagement, meaningful partnerships
 and constitutional policing. These are the first steps in a long journey towards greater accountability, increased
 transparency, and a strengthening of public trust. These reforms include:

 Review and Revision of Police Department Budget

 A commitment to work with the City Administrative Officer, Chief Legislative Analyst and Mayor to identify $100-
 $150 million of cuts from the Los Angeles Police Department's Budget.

 Enhance Community Neighborhood Based Policing

 x   Commitment to expansion of Community Safety Partnership Sites
 x   Work with the community to accurately reflect and candidly describe the history of the department
     for the public, academy cadets, in-service training and at each community police station.

 Modification of Enforcement Strategies


 x   An immediate moratorium on new entries into the CalGang Database until the Board of Police Commissioners
     has completed a review of the entire gang entry/removal process.
 x   An expansion of the Juvenile Diversion Program to include all 21 geographic Areas and specialized divisions, to
     lessen incarceration of juveniles.

 Support Meaningful Reformative Legislation


 x   Advocate for a change to the City Charter regarding the discipline of officers.
 x   Publish new Department Policy that requires officers to intervene when another officer uses excessive force and
     requires officers to immediately report misconduct.
 x   Support the establishment of an independent prosecutor outside of the District Attorney's Office, for prosecution
     of police officers who engage in misconduct.


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 x   Support the legislation that improved juvenile diversion programs to ensure that juvenile diversion programs are
     widely available for youth.

 Enhancement of Police Training


 x   Expand Mental Health Intervention Training to train 900 officers in 2020 from 700 in 2019.
 x   Complete De-escalation and Crowd Control Training for the entire Department by end of 2020
 x   Deliver Procedural Justice Training to remainder of Department.
 x   Deliver Implicit Bias Update Course to Department and complete retraining by end of 2020.

 Broadening of Risk Management Assessments


 x   Review the process for Uses of Force to determine if the early warning system for problematic officer behavior is
     as effective as possible.
 x   Determine additional ways to enhance greater oversight of officers who have exhibited patterns of high-risk
     behavior.

 Expansion of Transparency and Accountability Efforts


 x   Creation of updated Department homepage for ease of access by the public when seeking information on uses of
     force, complaints, crime statistics, and Department policies and procedures.
 x   Continued development of Racial and Identity Profiling Act data analysis.

 Implementation of SB 230 Requirements


 x   In July 2020 the Commission will advance the implementation of the requirements of SB 230 which becomes
     effective January 1, 2021 which requires each law enforcement agency to maintain a policy that provides
     guidelines on the use of force, utilizing de-escalation techniques and other alternatives to force when feasible,
     specific guidelines for the application of deadly force, and factors for evaluating and reviewing all use of force
     incidents.

 On Tuesday June 9, 2020, 9:30AM at the next Police Commission meeting we look forward to hearing from the
 community on these proposed enhancements and look forward to their input. Input can be sent via email to
 policecommission@lapd.online.




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                      Appendix F: LAPD Organization Chart During Civil Unrest




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                      Appendix G: Incident Command System Organization Chart




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                                       Appendix F: Acronyms
         Acronym                                 Meaning
            AC           Assistant Chief
          BLM            Black Lives Matter
          BOPC           Board of Police Commissioners
           CHP           California Highway Patrol
           COP           Chief of Police
            CP           Command Post
           CSD           Custody Services Division
            DA           District Attorney
            DC           Deputy Chief
          DOC            Department Operations Center
          DOT            Department of Transportation
          DTLA           Downtown Los Angeles
           EOC           Emergency Operations Center
          EOW            End of Watch
           ETA           Estimated Time of Arrival
         FEMA            Federal Emergency Management Agency
           IAG           Internal Affairs Group
            IC           Incident Commander
           ICS           Incident Command System
            LA           Los Angeles
         LASAN           Los Angeles Sanitation
         LADBS           Los Angeles Department of Building and Safety
          LAFD           Los Angeles Fire Department
          LAPD           Los Angeles Police Department
         LAUSD           Los Angeles Unified School District
          LASD           Los Angeles Sheriff’s Departments
          LMU            Loyola Marymount University
          MCD            Major Crimes Division
          MDC            Metropolitan Detention Center
           MFF           Mobile Field Force
          MPD            Minneapolis Police Department
          MTA            Metropolitan Transit Authority
          OCB            Operations-Central Bureau
           OSB           Operations-South Bureau
           OSS           Office of Support Services

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         Acronym                                  Meaning
         OWB             Operations-West Bureau
          OVB            Operations-Valley Bureau
          PAB            Police Administration Building
           PR            Person Reporting
           RA            Rescue Ambulance
          RFC            Release from Field Custody
          RHD            Robbery Homicide Division
         SMPD            Santa Monica Police Department
          TSB            Transit Services Bureau
          TSE            Tactical Support Element
         UCLA            University of Los Angeles
          USC            University of Southern California




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                                     Appendix G: Glossary Terms

    x   Assistant Chief (AC): An Assistant Chief is the second highest rank in the Department. The
        AC commands one of the four organizational Offices and holds the title of “Director” of his or
        her Office. The AC is a member of the Chief of Police’s Direct Reports and Senior Staff.

    x   Blocking Force: Personnel deployed in an organized fashion to prevent access of an advancing
        crowd.

    x   Bureau: A Bureau is either a functional or geographical major segregation of specific
        Department activities such as Operations-Central Bureau. A Deputy Chief is the commanding
        officer of a Bureau.

    x   Captain: A captain is assigned to a geographic Area, detective division, or specialized
        division. There are three paygrade advancements: Captain I, II, and III. Each higher level
        assumes a more complex and difficult level of responsibility. This position is promoted from
        the rank of lieutenant and is a part of the COP’s General Staff.

    x   Civil Disobedience: An unlawful event involving a planned or spontaneous demonstration by a
        group of people.

    x   Commander: A commander acts as the Assistant Commanding Officer at the four geographic
        Bureaus or Commanding Officer of a specialized group within the Department. A commander
        is promoted from the rank of Captain and is a part of the COP’s Senior Staff.

    x   Crowd Control: Law enforcement response to a pre-planned or spontaneous event, activity or
        occurrence where there is a potential for unlawful activity or the threat of violence.

    x   Crowd Management: Strategies and tactics employed by law enforcement agencies to deal
        with lawful assemblies in an effort to prevent escalation of events into an unlawful assembly or
        riot.

    x   Deputy Chief (DC): A deputy chief is the third highest rank in the Department. The DC is
        assigned as the commanding officer of a major organizational component such as a geographic
        operations Bureau, Detective Bureau, or Professional Standards Bureau. This position may be
        promoted from a captain or commander and is a part of the COP’s Senior Staff.

    x   Division: A division is a functional subdivision within an Office, Bureau, or Group. There are
        21 geographic divisions, four traffic divisions, and 35 specialized divisions in the Department.
        A Captain or Police Administrator (civilian equivalent) is the commanding officer of a division.

    x   Incident Action Plan (IAP): Contains objectives reflecting the overall incident strategy and
        specific tactical actions and supporting information for the next operational period. The plan
        may be oral or written. When written, the Plan may have a number of forms as attachments
        (e.g. traffic plan, safety plan, communications plan, map, etc.).

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    x   Incident Command System (ICS): A standardized on-scene emergency management concept
        specifically designed to allow its user(s) to adopt an integrated organizational structure equal to
        the complexity and demands of single or multiple incidents, without being hindered by
        jurisdictional boundaries.

    x   Incident Commander (IC): The individual responsible for the management of all incident
        operations at the incident site.

    x   Less-Lethal Impact Munitions: Projectiles launched or otherwise deployed for the purpose of
        overcoming resistance, effecting arrest or addressing the threat of serious injury to an officer or
        suspect with less risk of causing death than the use of a firearm.

    x   Mobilization: The process and procedures used by all organizations federal, state, and local for
        activating, assembling, and transporting all resources that have been requested to respond to or
        support an incident.

    x   Mobile Field Force (MFF): A fast and effective method to assemble and deploy a platoon-
        sized, tactical forces from existing on-duty personnel. The MFF is adaptable to both pre-
        planned and spontaneous events, which require the rapid assembly of large numbers of officers.

    x   Office: The Department has four functional Offices under the direction of the Chief of Police:
        Office of Operations, Office of Special Operations, Office of Support Services, and the Office
        of Constitutional Policing and Policy. An Assistant Chief is the commanding officer of an
        Office.

    x   Senior Staff: The COP’s Senior Staff is comprised of Assistant Chiefs, Deputy Chiefs, and
        Commanders and civilian equivalents of the Department.

    x   Serious Bodily Injury: is defined by but not limited to loss of consciousness, concussion, bone
        fracture, protracted loss or impairment of function of any bodily member organ, a wound
        requiring extensive suturing, and serious disfigurement (California Penal Code Section
        243(f)(4)).

    x   Strike Team: Specified combinations of the same kind and type of resources, with common
        communications and a leader.

    x   Tactical Support Element (TSE): Is the primary service delivery package for the purposes of
        addressing preplanned or spontaneous demonstrations. This element consists of a MFF or
        Strike team of on-duty Metropolitan Division officers.




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